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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA
___________________________________
                                       )
LASHAWN JONES, ET AL,                  )
Plaintiffs; and                        )
UNITED STATES OF AMERICA,              )
Plaintiffs in Intervention             )
                                       )
v.                                     )
                                       )
                                       )
MARLIN N. GUSMAN, ET AL,               )
Defendants                             )          Civil Action No. 2:12-cv-00859
___________________________________ )             Section I, Division 1
                                       )          Judge Lance M. Africk
MARLIN N. GUSMAN,                      )          Magistrate Judge Michael North
Third-Party Plaintiff                  )
                                       )
v.                                     )
                                       )
THE CITY OF NEW ORLEANS,               )
Third-Party Defendant                  )
___________________________________ )

                               INITIAL REMEDIAL ACTION PLAN

       NOW INTO COURT comes Orleans Parish Jail’s Independent Compliance Director
Gary D. Maynard, and Sheriff Marlin N. Gusman, who respectfully submit the following
Supplemental Compliance Action Plan in accordance with the provisions of the Stipulated Order
for Appointment of Independent Jail Compliance Director (R. Doc. 1082).

                                         Introduction

On December 15, 2016, a draft of the initial remedial action plan was submitted to the Court in
accordance with the Stipulated Order for Appointment of Independent Jail Compliance Director.
After further review from the Parties and additional research performed by the Compliance
Director, this submission represents a completed version of the initial remedial action plan that
will bring Orleans Parish OPSO into compliance with the Consent Judgement by October 1,
2017. This initial remedial action plan contains strategies and frameworks to achieve sustainable
compliance with all Consent Judgment requirements. Pursuant to the Stipulated Order, this plan
will be updated every 60 days to incorporate any substantive changes that the Compliance
Director determines are appropriate. The following items respond to the various components
outlined in the Stipulated Order.




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A.)    Strategies to decrease the number of inmate-on-inmate and inmate-on-staff assaults

Intensive Data Analysis and Corrective Actions: A full listing of all assaults that have taken
place in the jail in the last 18 months will be generated with data points that identify the time of
day, day of week, location in the jail, the demographic information for the assailant(a) and
victim(s), whether the assailant (or deputy/staff member) has been involved in incidents before,
the deputy or staff member involved in the incident (if applicable),the floor supervisor on duty
when the incident occurred, shift supervisor on duty, the nature of the assault, and any item that
may have been used as a weapon during the assault. The Compliance Director has had extensive
experience in reducing serious inmate-on-inmate assaults and serious inmate-on-staff assaults.
On a previous assignment, in a state whose prison and jail was considered to be one of the more
violent in the country, using this data analysis and corrective action technique, he was able to
reduce serious inmate-on inmate assaults by 46% and serious inmate on staff assaults by over
50% in a period of 3 years. We are currently analyzing this data and making staff and
operational adjustments, and a full analysis of this data will be performed prior to March 1, 2017.
For example in the 4th quarter of 2016, the number of inmate on inmate assaults at OPSO has
decreased by 24% compared to the number of assaults in the 3rd quarter of 2016. The full
analysis will be used to determine patterns of behavior or frequency of incidents and what factors
they may be based on. After March 1, 2017, staff resources will then be redeployed to address
any areas of concern that are identified by this analysis and ensure proper training for deputies,
staff members, and supervisory staff involved in all incidents.

Review and Strengthening of the Classification System: While staffing shortages at OJC
result in a high incidence of assaults and violent behavior, continued incidents of violence in the
jail may also be a product of errors in the application of the inmate risk level instrument.
Lieutenant Michael Holliday will continue to work with Dr. Patricia Hardyman in the continuous
review of the Classification system used by the intake and processing staff and make adjustments
as needed to determine the proper factors for considering the appropriate risk level of inmates are
being considered. Lt. Holliday will also continue to review the information from the security
level separation audits on a weekly basis. With proper classification being applied on the front
end, inmates who at higher risk to be involved in assaults can be better supervised so that
incidents of violence and be better prevented.

Coordinate with Outside Stakeholders to Process High Risk Cases Faster: Although the
Compliance Director has had preliminary meetings with stakeholders, he will continue to meet
with the District Attorney, Public Defender, and the Judges of the Criminal District Court &
Municipal & Traffic Court to identify those inmates who have been involved in multiple
incidents of assault on other inmates. This is to determine if such cases in all categories can be
expeditiously adjudicated through the Orleans Parish Court system. A Jail Population Facilitator
(which is discussed later in this plan) will also be hired in the coming months that will report
regularly to the Compliance Director on the status of such high risk cases.

Coordinate with Parole and Probation to Expedite Revocations: Similarly with high risk
cases, those who violate parole or probation conditions being held in the Jail awaiting their
revocation hearings should be expedited. The Compliance Director and Jail Population
Facilitator will work continuously with the Parole and Probation Office to ensure that


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revocations are being processed as expeditiously as possible. Current population figures of the
jail show that this represents between 40-60 inmates at any given time that are only awaiting
revocation hearings and not awaiting other charges in Orleans Parish.

B.)    Strategies to accomplish sustainable hiring measures, including emergency
       measures if necessary

Hiring of an HR Professional to Manage Recruitment: The Director of Human Resources
(HR) position, which had been vacant, has now been filled as of January 3, 2017. The position
requires at least 6 years of experience in HR management, a bachelor’s degree in Human
Resources or related field, and an active membership in the Society for Human Resource
Management (SHRM). The HR Director will be under the supervision of the Compliance
Director and the Sheriff, and the person’s main focus will be to plan, direct, and manage the jail
personnel program and hiring strategy for the jail, while also handling agency wide
administrative functions. The HR Director will be responsible for development and
implementation of recruiting and retention strategies and programs and will work with the
current public relations firm that is under contract to promote recruitment, develop branding
strategies, and improve the image of the agency. The HR Director will also be responsible for
updating policies, procedures, and rules; as well as initiate corrective advice and/or disciplinary
measures when required. The HR Director will meet with other HR Directors in other Sheriffs’
offices to become acclimated to the HR Systems used by those jurisdictions, leverage completed
job descriptions, and research successful recruitment strategies. OPSO also has only one recruiter
on its administrative staff, and the goal will be to add one additional recruiter by April 1, 2017.

New Orleans Business Council Support: The New Orleans Business Council has agreed to
assist the Compliance Director with developing recruitment strategies that will be effective in the
Greater New Orleans area. They have been helpful to this point, of acquainting the Director with
resources and organizations in the City that have led to the utilization of the New Orleans Police
Department rosters of applicants for OJC recruitment of deputies and civilians, as well as making
available recruiting and personnel strategies that have been effective in their industries in the
Greater New Orleans area..

Recruitment from Civil Service Registry of NOPD Applicants: The New Orleans Police
Department (NOPD) has a registry of hundreds of applicants that have, at some point in the
process, indicated interest in being NOPD Recruits. The New Orleans Civil Service staff has
agreed to provide this list to the Compliance Director so that OPSO can reach out to those
applicants and determine if any would be interested in becoming deputies or civilian staff that
can work in the Jail. The HR Director and Compliance Director will work with the City to reach
to the appropriate applicants and maximize the available register by February 1, 2017.

Improved Use of Media Communication for Recruitment: Previously when job fairs were
organized by OPSO, there would be between 5-7 applicants who respond with interest. Recently,
a new strategy of using free television and radio public service announcements, combined with a
greater online presence, has resulted in more than 50 applicants from the most recent job fair that
was held. OPSO will continue to use this increased media profile throughout 2017 to generate
greater interest in filling deputy and civilian staff posts. In addition, the content and navigability


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of the OPSO website (www.opso.us) will be reviewed and by April 1, 2017, the website will
have web-based forms that can be filled out online to apply to become a deputy, rather than the
print out version that is currently being used. Finally, OPSO is currently under contract with
public relations firms whose scope of services will be re-tasked to become exclusively used for
promoting recruitment for the Jail. The new HR Director has been briefed on this strategy and
will begin work on this in the coming weeks.

Updated Pay Plans and Career Progression: Currently, hourly pay rates can vary across
individuals who share the same duties, tenure, and job title. Any proposed change to the pay
plan will impact not only new recruits to OPSO, but also current staff. Creating clear
expectations for job duties and career progression opportunities is essential to fostering a
professional working environment. Under the leadership of the HR Director, and in coordination
with the Financial Liaison from the City on jail budget matters, the pay plans for all staff will be
updated by April 2017.

C.)    Maintaining a positive, professionalized culture among all Jail staff

Change of the Mission Statement: The official mission for those working at the jail has been
changed to: protect the public, protect the employees, and protect the inmates. The key
component for the creation and maintenance of a positive, professional culture among all jail
staff is for all employees to fully understand what the mission is and how their role in the
organization helps to fulfill that mission. The employees and deputies that work in the Jail must
know that their safety is important, and rests in the middle of the mission statement. When the
deputies feel safe, they are in a position to provide more professional care and custody of the
inmate population. This mission statement will become socialized throughout the jail staff
beginning January 2017, and will become the cornerstone of all training efforts for new staff that
are recruited for the Jail.

Development of a new Vision Statement: Another main component of establishing a positive
culture is for those on the front lines to know what their leaders’ vision is for the future of the
organization. While obtaining compliance with the Consent Judgment is paramount, the vision
for where the OPSO can and should be in the coming years needs to be focused on more than
simple compliance. The Vision Statement of an organization is the sole responsibility of the
leader. It is not a statement that is staffed and must be agreed upon by the employees. It is the
Vision of the Director, in this case and must be formulated over time considering the history,
current status of the Jail, and what is determined to be possible by the Compliance Director. By
February 2017, the Compliance Director will have developed a new Vision Statement that will
also be socialized across the agency that will describe what high level of functioning is possible
for the organization.

Recruiting Goals Directed Above the Level of Minimally Required Positions: While there
will be many working for OPSO who will respond positively to the changes in culture that will
be introduced to the Jail, it should also be expected that there may be those who will not be able
to perform to the heightened professional standard that will be required of them. For this reason,
our recruitment goals will not be limited to simply filling vacant positions, but to hire above that
minimally required staff level, with the expectation that those who underperform will be


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terminated if they are not cooperative or effective, and replacement of staff will be needed. One
of the strategies that the HR Director will be responsible for developing by May 1, 2017, will be
to develop a performance assessment policy and implementation plan.

Emphasis on Community College Enrollment and Completion: A key strategy of improving
professionalism is increasing the educational attainment among the staff. The Compliance
Director has experience partnering with local community colleges and universities to encourage
staff to obtain their associates, bachelors, or masters degree in criminal justice. In addition to the
pay plan adjustment proposed above, tuition reimbursement programs and a pay incentive
program similar to what NOPD currently uses will also be explored. The Compliance Director
will make initial contact with the various educational entities by January 15, 2017, with the HR
Director following up to establish formal arrangement with those willing to participate.

D.)    Ensure adequate and effective staff presence and deployment throughout the jail,
       including systems of oversight for overtime, leave, off-duty details and reserve
       deputies

Fill Vacant Chief of Corrections Position: Currently, the Chief of Corrections position is
vacant and that role has been temporarily handled by Colonel Scott Colvin. However, that
position will be filled before the middle of February 2017. Once that position has been filled,
Col. Colvin will have the ability to develop improving training procedures for supervisors as it
relates to effective staff deployment throughout the Jail. The Compliance Director has met with
the newly selected HR Director to emphasize that hiring a Chief of Corrections is the top priority
and has established the goal for HR Director to have a candidate selected by February 1, 2017.
OPSO currently has multiple different shift schedules for various Jail operations, and the
incoming Chief of Corrections will research best practices to determine if changes to shift
schedules are needed by March 1, 2017.

Recruit to Staffing Levels Consistent with Best Practices: Staff levels that follow the
guidelines for determining shift relief factors as published by the National Institute of
Corrections (NIC) in Staffing Analysis – Workbook for Jail (2nd Edition) will be included in the
revised 2017 Jail Budget. Proper staffing will alleviate the need for excessive overtime hours,
which in addition to the financial cost, is an intangible cost of worker morale for continuously
have to work overtime each week. The appendix of this document outlines, for the first time, the
full time staff profiles for the various components of OPSO jail operations. This information has
been developed using NIC calculations and will be used to manage recruitment, staffing, and
training needs going forward. These analyses will be used for the purposes of determining
staffing for direct supervision facilities as well as all other facilities and operations that may be
applicable, including courts, transportation, etc. The staff numbers in the appendix are a
preliminary projection of staff requirement pending Rod Miller’s analysis, who is the OPSO’s
jail staffing consultant. This analysis began in September 2016 and Compliance Director has be
awaiting a report from the consultant to make comparisons and determine final staffing figures.

Systematic Review of Overtime Hours: By April 2017, the HR Manager of the OPSO will
complete a full review of all overtime hours incurred in 2016 and make recommendations to the
Compliance Director on how overtime hours can be reduced overall and to ensure that annual


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and sick leave are being used properly and that employees are not engaging in any “swap”
activities where employees collude to call in sick so that their co-worker can earn overtime time.
The Early Intervention System will be utilized to track, by individual deputy, the excessive use
and abuse of overtime hours.

Revision of Policy for Off Duty Details and Reserve Deputies: Previously, the policy was that
a reserve deputy who works an 8 hour shift during a month in the Jail made a reserve deputy
eligible for up to 4, 8 hour shifts during the same month. This was effectively a 1 to 4 ratio, and a
time when manpower is short, this policy is no longer acceptable. Effective November 2016, the
policy for reserve deputies who wish to continue working off-duty details must work an equal
number of volunteer hours in the OJC facility to the number off-duty detail hours that are
worked. Failure to adhere to this policy will result in reserve deputies losing eligibility in the off-
duty detail program. In addition to this policy change, a full review of the OPSO detail policy
will be conducted to determine if changes need to be made to improve the fairness of the system.

E.)    Timely completion of critical policies and procedures

Originally, there were 119 policies that were identified for revision or development at OPSO in
order to comply with the Consent Judgment. The work to complete revisions of these policies
will be led by Captain Bryan Peters, the primary point of contact for managing Policy &
Compliance documentation at OPSO. The graph below demonstrates the rate of past progress for
the completion or revision of policies and procedures at OPSO since 2014:


                        OPSO Policy Development Progress
                                  (2014 - 2016)
                140
                120
                100
                 80
                 60
                 40
                 20
                  0




                                     Total Number of Policies to Revise/Complete
                                     Cumulative Policies Approved or Under Revision
                                     Total Drafts Under Review or Awaiting Approval
                                     Total Policy Revisions Completed & Approved



As of December 2016, there have been 60 critical policies revised and approved, while 51
critical policies revisions are still in draft form either pending review or approval. There are 8
critical policies that have not begun the revision process. Over the next 3 months, all 8 of these

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remaining policies will begin the revision process. Over the next 9 months, OPSO staff and
contracted support staff will complete the revision process for all remaining critical policies
based on the projected plan below:


                     OPSO Policy Development Plan (2017)
            140
            120
            100
             80
             60
             40
             20
              0




                                    Total Number of Policies to Revise/Complete
                                    Total Drafts Under Review or Awaiting Approval
                                    Total Policy Revisions Completed & Approved



All critical policies identified for the Consent Judgment will be developed, revised, and fully
completed by October 1, 2017. The number of days to complete or revise a policy once its
development has been authorized by the Compliance Director will be no more than 60 days so
that all policies can be developed and approved according to schedule above.

In addition to these critical policies, OPSO has also identified an additional 45 non-critical
policies that have also been identified for revision. Of these, 4 have been completed, 26 are
currently under revision, and 15 have not begun the revision process. Over the next 3 months, all
15 of these remaining policies will begin the revision process. Over the next 9 months, OPSO
staff and contracted support staff will complete the revision process for all remaining policies
that have been identified.

F.)    Ensure staff receive adequate training on policies

Training Curriculum Development: Capt. Peters will review each policy or procedure that is
approved. Capt. Peters will work with Col. Colvin and Lt. Navarro to determine whether the
training required would take place in a classroom, during roll call, or if it can be part of required
annual online training. Training curriculum will developed by Lt. Navarro as policies are being
developed so that when policies are approved the training on those policies can be implemented.
By March 2017, an official policy will be implemented that sets the process for creating new
curriculum and will also achieve a 100% staff training rate in a timely fashion.



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Achieving POST Certifications for All Eligible Deputies: Deputies that serve in the Jail for
more than 1 year and receive Peace Officer Standards & Training (POST) certification are
eligible to receive a $6,000 annual supplement to his/her salary funded by the State of Louisiana.
There are 97 recruits who have been working in the jail for more than a year, but have yet to
complete POST certification and do not receive state supplemental pay. In addition to training on
policies and procedures of the Orleans Parish Jail, by July 2017, all deputies will receive POST
certification so that all will become eligible to receive state supplemental pay upon completing 1
year of service at OPSO. Once all deputies are certified, the hiring, academy process, and POST
certification will take place automatically in the proper time and sequence so that every deputy
hired will be certified at the end of the first year and be eligible for the state supplemental pay.

G.)    Ensure that direct supervision is consistently enforced throughout the jail, making
       certain that there are staff physically present on every tier in the jail;

Incremental Implementation of Direct Supervision Procedures: Currently, compliance with
direct supervision model is not possible in all units due to inadequate number of trained staff at
OJC. Training of staff on the appropriate methods of direct supervision must take place before
deputies can be expected to adhere to direct supervision standards. Before the end of July 2017,
all staff will be appropriately training on direct supervision procedures. As sufficient level of
staff become adequately trained enough to fill a given tier of the facility, that direct supervision
method will be applied for that tier, and inmates will be returned from out of parish. As more
staff is trained in direct supervision, the remaining tiers will come online, and the remaining
inmates will be returned, until the full force compliment of OPSO has been fully trained.

H.)    Prevent undue reliance on cell confinement/lockdown throughout the jail for all
       populations;

Enforcement of ACA Standards: OPSO follows the American Correctional Association (ACA)
defined standards on the number of hours per day that inmates are allowed to circulate outside of
cell confinement. Given space requirements and the security risk level of the inmates, however,
for medium-high and high security units allowing more than 30 inmates to circulate when there
is capacity for 60 inmates poses a risk to staff. Given the behavior of inmates and the “keep-
separate inmates” it may not be safe for all inmates of a given pod to circulate together. In units
of lower security it is possible for all inmates of a pod to circulate together. Use of the exercise
yards for additional circulation capacity has been a normal practice, however, inclement weather
can prevent the use of the exercise yards, which can result in populations in some tiers who were
originally scheduled for circulation not being released from confinement. The number of inmates
out at any given time is contingent on the unit and the situation; however, ACA standards on
confinement and recreation are being followed currently and will continued to be followed and
enforced going forward. OPSO will review its policies and procedures by March 2017 to ensure
all populations are circulated for equal amounts of time per ACA standards.

Appropriate Use of Lockdown Procedures: While lockdown procedures may be appropriate to
manage incidents of violence or disturbances in the Jail, OPSO Jail Management will use
lockdown procedures only when necessary, and will work to return to normal operations as soon
as possible so that inmate morale is not negatively impacted or inmate/staff relationships are not


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impaired by long or continuous periods of confinement. In addition, OPSO will not use
lockdown procedures as a punitive measure of class punishment for entire tiers or the entire OJC
facility.

I.)    Strategies to return inmates housed outside of Orleans Parish in a timely fashion

Hiring of a Jail Population Facilitator: The MacArthur Foundation has awarded a Safety &
Justice Challenge Grant for the City of New Orleans so that the OPSO can hire a Jail Facilitator
to assist with the management of the jail population. The Jail Population Facilitator will be hired
by the end of February 2017. The position will be responsible for reporting to the Compliance
Director the status of all inmates under the custody of the Orleans Parish Sheriff’s Office,
whether they are housed inside or outside of Orleans Parish. Among other responsibilities, the
Facilitator will ensure that inmates whose court dates are imminent are returned to Orleans
Parish promptly to be adjudicated.

Activation of TDC Facilities: The Temporary Detention Center (TDC) facilities can be
activated to house any overflow needs that may arise from insufficient space at OJC. Upon
review of the jail population projections provided by JFA Institute, approximately 200 beds
within the TDC facilities can be activated to house overflow of low and low-medium risk
inmates as an alternative to housing them out-of-parish. City engineers have assessed the facility
and agree that two of the four buildings can be brought online for this purpose, and are
evaluating the schedule and cost of completing such a project. As the population continues to
decrease over time, use of the TDC facilities will be incrementally discontinued; one building at
a time, until all TDC facilities are closed. If population trends continue on their current direction,
it will be possible to house all inmates under the custody of OPSO at facilities in Orleans Parish
and eliminate the need for out-of-parish facilities.

Youthful Inmates Moved out of OJC: At any given time, there are between 10-20 youthful
inmates that are being housed at OJC awaiting adjudication in the adult court system. These
youth are placed into a single pod with capacity for sixty 60 inmates, resulting in a loss of
capacity of between 40-50 beds. The long term plan for youthful inmates will be to move them
all to the Youth Study Center (YSC) after its expansion is completed. However, in the interim,
OPSO is coordinating with other jurisdictions in the immediate region to determine if they can
be moved to juvenile facilities instead of having them remain at OJC. If they are moved to other
parishes, it is imperative that an expert in youth housing, security and programs be retained by
February 1, 2017 who will follow and monitor the youth, ensure proper classification and
segregation within OJC, as well as maintain contact with them if they are housed in OJC or in
other facilities while awaiting the completion of the Youth Study Center modifications. This
expert will also coordinate with the Youth Study Center staff relative to determining which
programs that are provided to youth at YSC can be provided at OJC. If sufficient space for the
youthful inmates can be identified in out-of-parish juvenile facilities, it can free up the capacity
that is being lost due to housing the youth at OJC, and allow for more inmates who are being
housed out of parish to be returned to Orleans Parish.

Data Sharing and Adherence to Jail Population Reduction Strategies: OPSO will continue
to actively participate in the Criminal Justice Council and its Jail Population Management


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Subcommittee’s efforts to reduce the overall population of the Jail, which will free up capacity at
OJC and allow for out-of-parish inmates to return to Orleans Parish. The new Jail Management
System (JMS) that will be procured by OPSO will also have the ability to track the daily
populations and classifications of inmates. Data reporting from the JMS will be provided to the
Criminal Justice Coordinating Council to assist in their effort.

J.)    Ensure inmates placed on suicide precautions are adequately monitored, evaluated,
       and treated;

Oversight of Medical Contract: By the end of February 2017, OPSO will hire a professional
staff member with specialized experience as a medical professional to serve as a full time
performance and compliance monitor for the medical and mental health services provider. This
individual will report to the Compliance Director and ensure that performance of the vendor can
be adequately supervised and managed. Among the primary responsibilities of this individual
will be to establish and enforce and audit process to ensure inmates are being provided adequate
treatment to prevent suicides.

Implementation of a New JMS: OPSO is currently in the process of finalizing a contract for
procurement of a new jail management system (JMS) that will replace the current system that
was built on an antiquated AS/400 architecture. The current system is costly to maintain and
extracting data from it is labor intensive. Migrating over to a new JMS will give the OPSO a
much greater ability to manage the mental health and medical needs of the inmate population and
determine proper deployment of staff resources to monitor, evaluate and treat inmates. The JMS
will facilitate the medical contract monitor’s ability to perform medical audits with the goal of
ensuring inmates placed on suicide precautions are adequately monitored, evaluated, and treated.
OPSO will retain a project coordinator familiar with jail and prison operations to supervise the
installation and migration of historical data to the new JMS.

K.)    Strategies to reduce incidents of suicide and self-harm

Engagement of Expertise: There are experts in the country who work specifically with suicide
prevention and staff training relative to identifying potential inmates. The Compliance Director
has had experience with such experts and has been personally involved in reducing the number
of suicides in several jurisdictions. An expert will be retained no later than March 15, 2017 to
evaluate the current procedures and practices, and will recommend possible policy changes and
related training. Subsequent to the expert’s assessment and report, policy will be developed,
approved and trained to deal with this important issue.

Implementation of a New JMS: The new JMS will have the ability to track and follow up on
grievances filed by inmates on a current basis. Data reporting from the JMS can be generated
that will meet the criteria of the Consent Judgement and provide operational information that can
be acted upon by Jail Management.

L.)    Strategies to ensure that inmate grievances and incidents of harm to inmates and
       staff are thoroughly and fairly investigated in a timely manner



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Grievance Coordinator: OPSO currently has in place a grievance coordinator that uses an
electronic system of monitoring and tracking grievances that are filed by inmates. Data is
reported out to management staff and the Court Monitors on a regular, sometime daily, basis and
so that critical issues can be identified, thoroughly investigated, and oversight over the process
can be enforced.

M.)    Strategies to ensure that any staff use of force is appropriate and all uses of force
       are accurately recorded

Complete Training on Use of Force Policy: Over 95% of deputies and supervisors have
completed training in the updated use of force policy and procedures. Deputies are required to
report incidents to their supervisor, which are then reduced to writing to the Administrative
Warden of the facility for review. The Warden then gathers all required documentation and
submits it to the Force Investigative Team for Review. Training on this process will be
completed for all remaining staff by the end of January 2017. For all new staff that will be
recruited in 2017, the updated use of force policy will be part of their in-service curriculum for
initial training.

Use of Force Investigative Team (FIT) Review & Review Board: As part of the updated
policy on the use of force, OPSO has created a Review Board who meets on a monthly basis to
review all incidents and recommend actions to be taken. The Chair of the Board is the Asst.
Chief of Corrections (Col. Colvin). Additional voting members of the board are the Supervisor
for Policy (Capt. Peters), the Administrative Warden (Major Carlos Louque), Director of
Classification (Lt. Holliday), Director of Field Operations (Colonel Melvin Howard), and the
Director of Training (Lt. Navarro). In attendance, but not voting members are the Director of
Investigations, the ISB Commander, the IAD Supervisors and the Use of Force Supervisor.
Meetings of the Board are recorded and submitted to the Court Monitors for review on a monthly
basis. In addition, the incoming Chief of Corrections would also participate in Board
proceedings. The Compliance Director will review the membership of the Board to determine if
additional members may be needed.

N.)    A plan to ensure the Early Intervention System is effective

Development of Additional Metrics for Measurement: Currently the Early Intervention
System (EIS) only tracks a single metric, instances of use of force in a given time period. In
comparison, the NOPD recently launched its Insight program to monitor officer performance that
includes 18 different metrics for evaluation. By the end of May 2017, the OPSO will develop an
expanded use of the EIS to include additional metrics to track deputy performance in the Jail
beyond use of force instances, such as overtime use, detail hours worked, leave hours taken, etc.
The Administrative Warden of the Jail will review EIS data on a daily basis and provide
summary reports to the FIT Review Board, HR Director, and Compliance Director of any critical
issues as necessary.




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O.)    Strategies for maintaining acceptable sanitation and environmental conditions

Increase the Number of Trained Sanitation Deputies: Due to the shortage in available
security staff, the number of deputies assigned to Sanitation duties has been reduced
substantially. With a renewed focus on recruitment for the Jail, the number of deputies will
increase and more deputies will be trained to handle sanitation duties to maintain acceptable
sanitation and environmental conditions in the Jail. Emphasis in the training program will be
placed on using the correct chemical and or materials to maintain acceptable conditions and
preserve the useful life of the facilities, as well as the importance of securing chemicals so that
inmates do not have access to them.

Renovation of the Docks: The Docks represents a transfer and holding facility for inmates
awaiting court appearances. Given the current deteriorated conditions of the Docks, it is neither
safe nor does it allow for timely processing of inmates for their court appearances. A contract for
design of the Docks Renovation is now moving forward. Once the construction is complete, the
use of the Docks facility will be restored, with all life safety, security, and environmental
problems resolved. Design services for this project have been procured by the City design and
construction documents are expected to be delivered in the second quarter of 2017. The
Compliance Director is scheduled to meet with the City Facilities Manager to review project
requirements.

P.)    Strategies for ensuring the disciplinary system is effective and affords inmates due
       process

Updated Policies and Procedures on Discipline Have Been Implemented: OPSO now has a
full time Disciplinary Officer to handle all investigations and hearings involving inmate
misconduct in the Jail. Hearings are held and disciplinary actions are resolved within 72 hours of
incidents occurring. Inmate advocates or witness are available for the inmates to assist in
preparing a defense if requested. Data on hearings and disciplinary actions is used to reclassify
inmates as necessary, and to identify inmates with multiple disciplinary actions. Dr. Patricia
Hardyman and Lt. Holliday review classification summaries on a monthly basis to ensure that
time frames are being met and follow up on reclassification is completed.

Implementation of a New JMS: The new JMS will have the ability to track and follow up on
inmate disciplinary actions and proceedings. Data reporting from the JMS can be generated that
will meet the criteria of the Consent Judgement and provide operational information that can be
acted upon by Jail Management.

Q.)    Strategies to ensure the implementation of budget control measures and competition
       in procurement, including but not limited to a process to ensure regular
       communication between the CFO for the Jail and financial liaison for the City

Development of a Five Year Budget Model: The City has contracted with Public Financial
Management (PFM) to assist the Compliance Director, the Sheriff, and the CFO of the Jail with
the development of a 5 year budget model that will be used to develop future appropriation
requests from the City. The Financial Liaison for the City is directing the efforts of PFM and is


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in direct coordination with the CFO for the Jail and the Compliance Director to gather all
financial, operational, and personnel data that is required to develop realistic assumptions and
program goals so that future budget requests will be predictable, steady, and sufficient to provide
for all operations of the Jail without the need for mid-year supplemental appropriations.

City Attorney Review of Cases Requiring Legal Settlement: Beginning January 2017, all
legal counsel for OPSO will be required to either include the City Attorney’s office and the
Compliance Director in negotiations for legal settlements or submit all negotiated settlements to
the City Attorney for review and Compliance Director for approval prior to any settlement being
authorized.

Budget Working Group Quarterly Meetings: The Budget Working Group, chaired by
Tommie Vassel, will continue to meet every quarter during 2017 to ensure regular
communication on all budget issues among the members. The Budget Working Group which
consists of three representatives from OPSO, three representatives of the City, and the Chair. The
current Group Members that attend are Councilmember Jason Williams, CFO of the Jail Sean
Bruno; Comptroller of the Jail, Elizabeth Boyer; the Chief Administrative Officer of the City,
Jeffery Hebert; the Financial Liaison of the City, Eric Melancon, and the Compliance Director.
As part of these meetings, OPSO will provide to the Group detailed accounts of personnel costs
and spending on materials, supplies, professional services, etc. that have been incurred
throughout the year.

Review of Procurement Practices: By the end of April 2017, a full review of OPSO’s
procurement practices for all professional services will be completed by the Compliance Director
and recommendations on improved policies will be developed and implemented. In the latter half
of 2016, there have been two high value Requests for Proposals (RFPs) (for food services and for
a new Jail Management System) that have involved selection committees that bring together
stakeholders from within the user departments of OPSO and representatives from the City of
New Orleans. These procurements have been successful in providing transparency in the
procurement process and represent a sound policy that can be implemented for future
procurements above a certain dollar threshold. The current policy at OPSO for all purchasing of
goods and non-professional services is to conduct an Invitation for Bid Process to determine
technical compliance and assurance that the lowest price is awarded. OPSO follows both state
and federal law and regulations on purchasing, and when state and federal requirements conflict,
OPSO adheres to the more stringent policy.

Implementation of New Accounting System and Financial Audit of the Agency: By February
2017, a solicitation will be issued for a new accounting system for OPSO. During that migration
process, which will take 12-18 months, the agency will also undergo a full financial audit of all
revenues and expenditures to ensure proper accounting practices are being upheld and that
proper financial controls are put into practice under the new accounting system that will be
adopted. The audit will also include a review of the inventory of all materials, assets, equipment,
and vehicles, which are owned by OPSO and all policies surrounding their management. An
auditor will be put under contract for this work no later than April 1, 2017.




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Full Review and Cost Analysis of all Legal & Professional Services Contracts: By May
2017, the Compliance Director will have reviewed all legal and professional services agreements
at OPSO and make determinations on whether services are cost effective and provide appropriate
services for the agency.

R.)    A framework for comprehensive analysis of all individuals on OPSO's payroll and
       strategies to address the staffing deficiencies outlines by the Monitors' reports

Review and Update of Current Rates of Pay: By the end of February 2017, the Compliance
Director, in partnership with the CFO of the Jail, Financial Liaison of the City, and the team
from PFM developing the budget framework, will conduct a full review of all rates of pay for
current personnel. As previously mentioned, hourly pay rates can vary across individuals who
share the same duties, tenure, and job title. The recommendation will create clear expectations
for job duties and career progression opportunity which are essential to fostering a professional
working environment that is better able to retain staff. The Compliance Director will have
completed a full review of the current pay structure for deputies and recommend a feasible
update of the pay plan. Given budgetary constraints, it is most likely that any update of the pay
plan would need to be phased in over a 3 year period. In addition to the pay plan, a full review
over the operational shift schedules of the Jail will also be completed by March 1, 2017 by the
Chief of Corrections.

Achieving POST Certifications for All Eligible Deputies: As previously mentioned, there are
currently 97 recruit who have been working in the jail for more than a year, but have yet to
complete POST certification and do not receive State supplemental pay. Once certified, these
deputies will earn an additional $6,000 per year.

S.)    Maintaining an organization chart and job descriptions that reflect an organization
       structure that adequately support the jail.

Update of All Job Descriptions: By the end of May 2017, the HR Director will have completed
a full review and update of all job descriptions to coordinate with the updated pay plan for the
staff. Descriptions will be developed for general job titles and separate descriptions will be
developed for specific postings in various departments in Jail (such as OJC Security, Intake &
Processing, Transportation, Perimeter Security, etc.).

Maintenance of Organizational Chart during Service of the Compliance Director: While
the position of the Compliance Director is active at OPSO, the organizational structure of jail
operations will be as outlined in the appendix of this document.

Review of all Administrative Functions at OPSO: A full review of all positions that support
agency-wide administrative functions within OPSO will be conducted and completed by the HR
Manager no later than April 1, 2017, in order for the Compliance Director to make
determinations on whether certain administrative functions need to be consolidated.




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                                                                  Appendix:
                             Organizational Chart of the OPSO Criminal Division During Compliance Director Tenure


                    Orleans Parish
                                                               Compliance Director
                       Sheriff

              Administrative Functions                                                     Security Functions


      Chief           Director of
 Administrative                          General                  Chief of Corrections                                   Court Security   Director of
                       Human                                                                              Chief of
  Officer/Chief                          Counsel                                                                           & Field         Facility
                      Resources                                                                        Investigations
Financial Officer                                                                                                         Operations      Management

                                                    Chief of Security             Greviances
                                          Legal                                                           Internal
Comptroller             Payroll                                                                                                            Central
                                         Services                                                         Affairs           Docks
                                                                                Environmental                                             Maintenance
                                                        Administrative                                   Divisions
                        Admin                                                   Health Services
                                         Public           Warden
 Accounting            Support                                                                         Investigations    Subpoenas &
                                      Information                                                        Division           Capias
                       Services                                 Inmate             Reserves
Planning and                             Risk                  Services                                     Force
   Grants                             Management                                                         Investigation
                                                                                                                           Criminal
                                                                                                         Team (FIT)      District Court
                                                            Transportation         Kitchen
Purchasing &
Procurement                                                                                                              Municipal &
                                                         Operational                                    Intelligence
                                                                                   Intake &                              Traffic Court
    Admin                                                 Warden                  Processing
   Services                                                                                                                Mechanic
                                                           Orleans Justice                             Support Units
                                                                                  McDaniels                                 Shop
                                                            Center (OJC)
                                                                                   Center
                                                              Laundry                                                     Warehouse
                                                              Services            Temporary
                                                                                Detention Center
                                                          Training
                                                          Academy




                                                                                                                                             16 | P a g e
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                                                                        Summary of Current Staffing Levels by Facility:

                                                                                                                                                   Deputy /
                       Facility                            Colonel            Major            Captain          Lieutenant   Sergeant   Corporal   Recruit    Civilian    Totals

  Orleans Justice Center (OJC)                                 1                  2                 3                 9        12          1         165        42          235
  In-Take and Processing Center (IPC)                          0                  2                 1                 2         5          2          32        42           86
  Classifications                                              0                  0                 0                 0         2          0           1         7           10
  Transportation Division                                      0                  0                 0                 0         1          1          21         0           23
  Training Division                                            0                  0                 3                 3         7          0          66         0           79
  Kitchen & Warehouse / Outside Security                       0                  0                 0                 1         0          0          26         1           28
  Investigative Services Bureau (ISB)                          0                  1                 0                 5         4          0          37         2           49
  Warren McDaniels (MCD)                                       0                  1                 1                 0         3          1          14         0           20
  Temporary Detention Center (TDC)                                                                                           Closed
  Totals                                                       2                  6                 9                23        36          6         404        95          581
**Figures above do not account for staffing for administration, court security, subpoenas & capias, and the civil division




                                                                       Summary of Proposed Staffing Levels by Facility:

                                                                                                                                                   Deputy /
                       Facility                            Colonel            Major            Captain          Lieutenant   Sergeant   Corporal   Recruit    Civilian    Totals

  Orleans Justice Center (OJC)                                 1                  2                 4                 5        20          0         184         72         288
  In-Take and Processing Center (IPC)                          0                  1                 0                 5         3          0          30         64         103
  Classifications                                              0                  0                 1                 0         1          0           1         18          21
  Transportation Division                                      0                  0                 0                 0         1          0          23          0          24
  Training Division                                            0                  0                 1                 0         1          0           8          1          11
  Kitchen & Warehouse / Outside Security                       0                  0                 0                 2         0          0          17         13          32
  Investigative Services Bureau (ISB)                          0                  1                 0                 6         6          0          38          2          53
  Warren McDaniels (MCD)                                       0                  0                 0                 1         3          0          17          0          21
  Temporary Detention Center (TDC)                             0                  0                 0                 3         3          0          46          0          52
  Totals                                                       1                  4                 6                22        38          0         364        170         605
**Proposed Staffing levels are based on NIC standards
**Figures above do not account staffing for administration, court security, subpoenas & capias, and the civil division




                                                                                                                                                                         17 | P a g e
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                                           Proposed Deputy & Officer Staff Levels at Orleans Justice Center (OJC)

                                                                                          Total                #. of                                  Net
                                                                      Total     #. of     Hours      #. of    Hours    #. of Hours of               Annual   Total No.     Rounded
                                                Meal     # of Post    Hours    Post for    on      Days per    per     Coverage per     Is Relief   Work     of FTEs        No. of
Post                             Job Class      Relief   for Days    on Days   Nights     Nights    Week      Week          Year        Needed?     Hours     Needed        FTEs
Assistant Chief of Corrections    Colonel        No          1          8         0         0          5        40          2,086          No        1,722       1            1
Warden                             Major         No          1          8         0         0          5        40          2,086          No        1,722       1            1
Administrative Warden              Major         No          1          8         0         0          5        40          2,086          No        1,722       1            1
Administrative Assistant          Civilian       No          3          24        0         0          5       120          6,257          No        1,916       3            3
Shift Commander                   Captain        No          1          12        1         12         7       168          8,760          Yes       1,952       4            4
Shift Lieutenant                 Lieutenant      Yes         1          12        1         12         7       168          8,760          Yes       1,749     5.01           5
Floor Supervisor                  Sergeant       Yes         4          48        4         48         7       672         35,038          Yes       1,716     20.42         20

Pod 1-A                           Deputy         Yes        1          12        1         12         7        168        8,760           Yes       1,822      4.81
Pod 1-B                           Deputy         Yes        1          12        1         12         7        168        8,760           Yes       1,822      4.81
Pod 1-C                           Deputy         Yes        1          12        1         12         7        168        8,760           Yes       1,822      4.81
Pod 1-D                           Deputy         Yes        1          12        1         12         7        168        8,760           Yes       1,822      4.81
Pod 1-E                           Deputy         Yes        1          12        1         12         7        168        8,760           Yes       1,822      4.81
Pod 1-F                           Deputy         Yes        1          12        1         12         7        168        8,760           Yes       1,822      4.81
1st floor Rover                   Deputy         Yes        1          12        1         12         7        168        8,760           Yes       1,822      4.81
Pod 2-A                           Deputy         Yes        2          24        2         24         7        336        17,519          Yes       1,822      9.62
Pod 2-B                           Deputy         Yes        2          24        2         24         7        336        17,519          Yes       1,822      9.62
Pod 2-C                           Deputy         Yes        1          12        1         12         7        168        8,760           Yes       1,822      4.81
Pod 2-D                           Deputy         Yes        1          12        1         12         7        168        8,760           Yes       1,822      4.81
Pod 2-E                           Deputy         Yes        1          12        1         12         7        168        8,760           Yes       1,822      4.81
Pod 2-F                           Deputy         Yes        1          12        1         12         7        168        8,760           Yes       1,822      4.81
2nd floor Rover                   Deputy         Yes        1          12        1         12         7        168        8,760           Yes       1,822      4.81
Pod 3-A                           Deputy         Yes        1          12        1         12         7        168        8,760           Yes       1,822      4.81
Pod 3-B                           Deputy         Yes        1          12        1         12         7        168        8,760           Yes       1,822      4.81
Pod 3-C                           Deputy         Yes        1          12        1         12         7        168        8,760           Yes       1,822      4.81
Pod 3-D                           Deputy         Yes        1          12        1         12         7        168        8,760           Yes       1,822      4.81
Pod 3-E                           Deputy         Yes        1          12        1         12         7        168        8,760           Yes       1,822      4.81
Pod 3-F                           Deputy         Yes        1          12        1         12         7        168        8,760           Yes       1,822      4.81
3rd floor Rover                   Deputy         Yes        1          12        1         12         7        168        8,760           Yes       1,822      4.81
Pod 4-A                           Deputy         Yes        1          12        1         12         7        168        8,760           Yes       1,822      4.81
Pod 4-B                           Deputy         Yes        1          12        1         12         7        168        8,760           Yes       1,822      4.81
Pod 4-C                           Deputy         Yes        1          12        1         12         7        168        8,760           Yes       1,822      4.81
Pod 4-D                           Deputy         Yes        1          12        1         12         7        168        8,760           Yes       1,822      4.81
Pod 4-E                           Deputy         Yes        1          12        1         12         7        168        8,760           Yes       1,822      4.81
Pod 4-F                           Deputy         Yes        1          12        1         12         7        168        8,760           Yes       1,822      4.81
4th floor Rover                   Deputy         Yes        1          12        1         12         7        168        8,760           Yes       1,822      4.81
Sanitation Officer                Deputy         Yes        2          24        2         24         7        336        17,519          Yes       1,822      9.62
Medical Clinic                    Deputy         No         2          24        0         0          6        144        7,508           Yes       1,822      4.12
Disciplinary Officer              Deputy         Yes        1          12        0         0          5        60         3,128           No        1,822       1
Jail Entrance                     Deputy         Yes        2          24        2         24         7        336        17,519          Yes       1,822      9.62
Transport/Holding Area            Deputy         Yes        2          24        1         12         7        252        13,139          Yes       1,822      7.21
Laundry                           Deputy         Yes        2          24        0         0          5        120        6,257           Yes       1,822      3.27
Programming                       Deputy         Yes        1          12        0         0          5        60         3,128           Yes       1,822      1.72
Attorney Visitation               Deputy         Yes        1          12        0         0          7        84         4,380           Yes       1,822      2.4
Liaison                           Deputy         No         1          12        0         0          5        60         3,128           No        1,822       1            184
Total Staff:                                                44                   35                                                                                          219
                                                                                                                                                                         18 | P a g e
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                                 Proposed Civilian/Correctional Monitoring Technicians (CMTs) for OJC

                                               # of    Total   #. of   Total   # of    Total
                                               Post    Hours   Post    Hours   Post    Hours                                              Net
                                                for     for     for      for    for     for    Days   Hours     Hours of                 Annual   Total No.     Rounded
                                      Meal      1st.    1st.   2nd.     2nd.   3rd.     3rd.   per     per    Coverage per   Is Relief   Work     of FTEs        No. of
Post                      Job Class   Relief   Shift   Shift   Shift   Shift   Shift   Shift   Week   Week       Year        Needed ?    Hours     Needed        FTEs

Central Control           Civilian     Yes      3       24      3       24      3       24      7      504       26,279        Yes       1,890     13.9
1st floor Pod Control 1   Civilian     Yes      1       8       1       8       1       8       7      168       8,760         Yes       1,890     4.63
1st floor Pod Control 2   Civilian     Yes      1       8       1       8       1       8       7      168       8,760         Yes       1,890     4.63
1st floor Pod Control 3   Civilian     Yes      1       8       1       8       1       8       7      168       8,760         Yes       1,890     4.63
2nd floor Pod Control 1   Civilian     Yes      1       8       1       8       1       8       7      168       8,760         Yes       1,890     4.63
2nd floor Pod Control 2   Civilian     Yes      1       8       1       8       1       8       7      168       8,760         Yes       1,890     4.63
2nd floor Pod Control 3   Civilian     Yes      1       8       1       8       1       8       7      168       8,760         Yes       1,890     4.63
3th floor Pod Control 1   Civilian     Yes      1       8       1       8       1       8       7      168       8,760         Yes       1,890     4.63
3th floor Pod Control 2   Civilian     Yes      1       8       1       8       1       8       7      168       8,760         Yes       1,890     4.63
3th floor Pod Control 3   Civilian     Yes      1       8       1       8       1       8       7      168       8,760         Yes       1,890     4.63
4th floor Pod Control 1   Civilian     Yes      1       8       1       8       1       8       7      168       8,760         Yes       1,890     4.63
4th floor Pod Control 2   Civilian     Yes      1       8       1       8       1       8       7      168       8,760         Yes       1,890     4.63
4th floor Pod Control 3   Civilian     Yes      1       8       1       8       1       8       7      168       8,760         Yes       1,890     4.63
Totals:                                         15              15              15                                                                 69.46           69




                                                                                                                                                              19 | P a g e
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                                             Proposed Staffing of Intake and Processing Center (IPC)

                                                                                                                                                            Net
                                                        No. of     Total        No. of      Total                      Hours      Hours of                Annual   Total No.     Rounded
                                          Meal         Post for   Hours on     Post for    Hours on      Days per       per       Coverage    Is Relief   Work     of FTEs        No. of
Post                       Job Class      Relief        Days       Days        Nights       Nights        Week         Week       per Year    Needed?     Hours     Needed        FTEs
Director                     Major         No             1          8            0           0             5           40         2,086         No        1,722       1            1
Shift Commander            Lieutenant      Yes            1         12            1           12            7           168        8,760         Yes       2,685     3.26           3
Shift Supervisor            Sergeant       Yes            1         12            1           12            7           168        8,760         Yes       2,652      3.3           3
Record Room                Lieutenant      Yes            1         12            0           0             7           84         4,380         Yes       2,685     1.63           2

Deputy Post:
Acceptance Area             Deputy         Yes            2           24          1           12            7           252         13,139      Yes       2,757     4.77
B of I Area                 Deputy         Yes            1           12          0           0             7           84          4,380       Yes       2,757     1.59
DOC Classifications         Deputy         Yes            1           12          0           0             7           84          4,380       Yes       2,757     1.59
Floor                       Deputy         Yes            2           24          2           24            7           336         17,519      Yes       2,757     6.35
Warrants                    Deputy         Yes            1           12          0           0             7           84          4,380       Yes       2,757     1.59
Release Area Security       Deputy         Yes            2           24          2           24            7           336         17,519      Yes       2,757     6.35
Municipal Court Security    Deputy         Yes            4           48          0           0             5           240         12,314      Yes       2,757     4.47
Sanitation Officer          Deputy         No             1           12          1           12            7           168         8,760       Yes       2,757     3.18
                                                                                                                                                                    29.89           30
Civilian Post:
Lobby                       Civilian       Yes            1           14          0           0             7           98          5,110       Yes       1,988     2.57
Control                     Civilian       Yes            1           12          1           12            7           168         8,760       Yes       1,988     4.41
Record Room                 Civilian       Yes            5           60          0           0             7           420         21,899      Yes       1,988     11.02
Release Window              Civilian       Yes            1           12          1           12            7           168         8,760       Yes       1,988     4.41
CINTAP                      Civilian       Yes            1           12          2           24            7           252         13,139      Yes       1,988     6.61
Booking                     Civilian       Yes            3           36          3           36            7           504         26,279      Yes       1,988     13.22
Property Room               Civilian       Yes            3           36          3           36            7           504         26,279      Yes       1,988     13.22
Bond Window                 Civilian       Yes            2           24          2           24            7           336         17,519      Yes       1,988     8.81
                                                                                                                                                                    64.27          64
Total Staff                                               35                      20                                                                                               103


                                                         Proposed Staffing of Classification Division

                                                                                          Total                                                             Net
                                                                   Total      No. of      Hours                     Hours        Hours of                 Annual   Total No.     Rounded
                                        Meal       No. of Post     Hours     Post for      on         Days per       per       Coverage per   Is Relief   Work     of FTEs        No. of
Post                       Job Class    Relief      for Days      on Days    Nights       Nights       Week         Week           Year       Needed?     Hours     Needed        FTEs
Director                    Captain      No             1            8          0           0            5           40           2,086          No        1,722       1            1
Supervisor                 Sergeant.     Yes            1            12         0           0            5           60           3,128          No        2,652       1            1
Auditor                     Deputy       No             1            12         0           0            5           60           3,128          No        2,757       1            1
Specialist                  Civilian     Yes            3            36         3           36           7           672          35,038         Yes       1,988     17.62         18
Total Staff                                             6                       3                                                                                    20.62         21




                                                                                                                                                                               20 | P a g e
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                                                     Proposed Staffing for Transportation

                                                                                                                                                    Net
                                              No. of     Total        No. of      Total                      Hours        Hours of                Annual   Total No.     Rounded
                                    Meal     Post for   Hours on     Post for    Hours on      Days per       per         Coverage    Is Relief   Work     of FTEs        No. of
                       Job Class    Relief    Days       Days        Nights       Nights        Week         Week         per Year    Needed?     Hours     Needed        FTEs
Supervisor              Sergeant     No         1         12            0           0             5           60           3,128         No        2,652       1            1
Medical                  Deputy      Yes        6         72            0           0             5           360          18,770        Yes       2,757     6.81
Transportation           Deputy      Yes        6         72            4           48            7           840          43,798        Yes       2,757     15.89
                                                                                                                                                             22.7           23
Total Staff                                     13                        4                                                                                                 24


                                                    Proposed Staffing for Training Division

                                                                                                                                                    Net
                                              No. of     Total        No. of      Total                      Hours        Hours of                Annual   Total No.     Rounded
                                    Meal     Post for   Hours on     Post for    Hours on      Days per       per         Coverage    Is Relief   Work     of FTEs        No. of
                       Job Class    Relief    Days       Days        Nights       Nights        Week         Week         per Year    Needed?     Hours     Needed        FTEs
Director                Captain      No         1         10            0           0             5           50           2,607         No        2,396       1            1
Admin. Assistant        Civilian     No         1          8            0           0             5           40           2,086         No        1,890       1            1

Training Coordinator    Sergeant     No         1          10             0           0            5             50         2,607        No       2,259       1             1
Pre-Service              Deputy      No         2          20             0           0            5             100        5,214        No       2,365       2             2
Range                    Deputy      No         2          20             0           0            5             100        5,214        No       2,365       2             2
POST Academy             Deputy      No         2          20             0           0            5             100        5,214        No       2,365       2             2
Annual In-Service        Deputy      No         2          20             0           0            5             100        5,214        No       2,365       2             2
Total Staff:                                    11                        0                                                                                   11            11


                                     Proposed Staffing of Kitchen/Warehouse & Outside Security

                                                                                Total                                                              Net
                                              No. of     Total      No. of      Hours                     Hours          Hours of                 Annual   Total No.     Rounded
                                    Meal     Post for    Hours     Post for      on         Days per       per         Coverage per   Is Relief   Work     of FTEs        No. of
                       Job Class    Relief    Days      on Days    Nights       Nights       Week         Week            Year        Needed?     Hours     Needed        FTEs
Warehouse:
                       Sergeant.     No         1         10          0           0            5           50             2,607          No       2,339       1             1
                        Deputy       No         3         10          0           0            5           150            7,821          No       2,757       3             3
                       Civilian      No         1         10          0           0            5           50             2,607          No       1,988       1             1
Kitchen:
Supervior              Lieutenant    Yes        1         12          0           0            7           84             4,380         Yes       2,685     1.63            2
                        Deputy       Yes        8         96          0           0            7           672            35,038        Yes       2,757     12.71           13

Outside Security:
Central Control         Civilian     Yes       2          24          2          24            7           336            17,519        Yes       1,988     8.81            9
Scanner                 Deputy       Yes       1          12          1          12            7           168            8,760         Yes       2,757     3.18            3
Gate House              Civilian     Yes       1          12          1          12            7           168            8,760         Yes       1,988     4.41            4
Visitation              Deputy       Yes       1          10          0          0             5           50             2,607         No        2,757       1             1
Total Staff                                    19                     4                                                                                     36.74           37


                                                                                                                                                                       21 | P a g e
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                                                  Proposed Staffing of Investigations and Support Bureau (ISB)

                                                                              Total                    Total                            Hours of               Net Annual Total No. of
                                                               No. of Post   Hours on   No. of Post   Hours on   Days per   Hours per   Coverage   Is Relief     Work        FTEs      Rounded
                                   Job Class     Meal Relief    for Days      Days      for Nights     Nights     Week       Week       per Year   Needed?       Hours      Needed No. of FTEs
Commander                            Major          No              1           8            0           0          5          40         2,086       No         1,722         1          1
Administrative Assistant            Civilian        No              1           8            0           0          5          40         2,086       No         1,890         1          1

Support Units:
Lieutenant K-9                     Lieutenant        No            1            12          0            0          5          60        3,128        No         2,685       1
Sergeant K-9                        Sergeant         No            1            12          0            0          5          60        3,128        No         2,652       1
Mounted                              Deputy          No            1            12          0            0          5          60        3,128        No         2,757       1
Westbank Major Crimes Task Force     Deputy          No            1            8           0            0          5          40        2,086        No         1,822       1
Multi-Agency Intelligence Unit      Sergeant         No            1            8           0            0          5          40        2,086        No         1,716       1
A-case Officer                      Sergeant         No            1            12          0            0          5          60        3,128        No         2,860       1
Admin. Supervisor                   Sergeant         No            1            12          0            0          5          60        3,128        No         2,652       1
PREA Coordinator                    Sergeant         No            1            8           0            0          5          40        2,086        No         2,652       1
Investigations:
Lieutenant                         Lieutenant.       No            2           24           0            0          5         120        6,257        No         2,685       2
Investigators                        Deputy          No            10          120          4            48         5         840        43,798       No         2,757       14
Force Investigation Team:
Lieutenant                         Lieutenant        No            1            8           0            0          5         40         2,086        No         1,722       1
Investigators                       Deputy           No            6            48          0            0          5         240        12,514       No         1,818       6
IAD Criminal:
Lieutenant                         Lieutenant        No            1            8           0            0          5         40         2,086        No         1,722       1
Investigators                       Agents           No            4            32          0            0          5         160        8,342        No         1,818       4
IAD - Admin. Division:
Lieutenant                         Lieutenant        No            1            8           0            0          5         40         2,086        No         1,722       1
Administrative Assistant            Civilian         No            1            8           0            0          5         40         2,086        No         1,890       1
Investigators                       Agents           No            6            48          0            0          5         240        12,514       No         2,757       6
Intelligence Division:
Sergeant                            Sergeant         No            1            12          0            0          5         60         3,128        No         2,652       1
Investigators                        Agents          No            4            48          2            24         5         360        18,770       No         2,757       6
Total Staff:                                                       47                       6                                                                                53        53




                                                                                                                                                                                  22 | P a g e
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                                                        Proposed Staffing of Warren McDaniels Center

                                                                                                                                                Net
                                                         No. of     Total      No. of     Total                Hours   Hours of               Annual   Total No.     Rounded
                                               Meal     Post for   Hours on   Post for   Hours on   Days per    per    Coverage   Is Relief   Work     of FTEs        No. of
 Post                             Job Class    Relief    Days       Days      Nights      Nights     Week      Week    per Year   Needed?     Hours     Needed        FTEs
Director                          Lieutenant    No         1          8          0          0          5        40      2,086        No        2,685       1            1
Watch Commander                    Sergeant     Yes        1         12          1          12         7        168     8,760        Yes       2,652      3.3           3

First Floor                         Dep.        Yes        1          12         1          12         7        168     8,760       Yes       2,757      3.18
Second Floor                      CLOSED
Job Delivery and Pick-Up           Deputy       Yes        3          36         2          24         7        420     21,899      Yes       2,757      7.94
Community Service                  Deputy       Yes        6          72         0          0          5        360     18,770      No        2,757        6
                                                                                                                                                         17.12          17
Total Staff                                                12                    4                                                                                      21


                                                  Proposed Staffing of Temporary Detention Center (TDC)

                                                                                                                                                Net
                                                         No. of     Total      No. of     Total                Hours   Hours of               Annual   Total No.     Rounded
                                               Meal     Post for   Hours on   Post for   Hours on   Days per    per    Coverage   Is Relief   Work     of FTEs        No. of
 Post                             Job Class    Relief    Days       Days      Nights      Nights     Week      Week    per Year   Needed?     Hours     Needed        FTEs
Watch Commander                   Lieutenant    Yes        1         12          1          12         7        168     8,760        Yes       2,685     3.26           3
Assistant Watch Commander          Sergeant     Yes        1         12          1          12         7        168     8,760        Yes       2,652      3.3           3
Bldg. 1 East Pod                    Deputy      Yes        1         12          1          12         7        168     8,760        Yes       1,822     4.81
Bldg. 1 West Pod                    Deputy      Yes        1         12          1          12         7        168     8,760        Yes       1,822     4.81
Bldg. 1 East & West Pod Control     Deputy      Yes        1         12          1          12         7        168     8,760        Yes       1,822     4.81
Bldg. 2 East Pod                    Deputy      Yes        1         12          1          12         7        168     8,760        Yes       1,822     4.81
Bldg. 2 West Pod                    Deputy      Yes        1         12          1          12         7        168     8,760        Yes       1,822     4.81
Bldg. 2 East & West Pod Control     Deputy      Yes        1         12          1          12         7        168     8,760        Yes       1,822     4.81
Sanitation Officer                  Deputy      Yes        1         12          1          12         7        168     8,760        Yes       1,822     4.81
Rover                               Deputy      Yes        1         12          2          12         7        168     8,760        Yes       1,822     4.81
Control Deputy                      Deputy      Yes        1         12          1          12         7        168     8,760        Yes       1,822     4.81
Front Desk                          Deputy      Yes        1         12          0          0          7        84      4,380        Yes       1,822      2.4
                                                                                                                                                         45.69          46
Totals                                                    12                    12                                                                                      52




                                                                                                                                                                   23 | P a g e
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                                                                  REMEDIAL ACTION PLAN – (12/15/2016)

                          Section                              C          P         N                               Measures                                    OPSO Compliance Plan
IV. A. Protection from Harm - Consistent with constitutional standards, Defendant shall provide prisoners with a safe and secure environment and
ensure their reasonable safety from harm. OPSO shall take all reasonable measures to ensure that during the course of incarceration, prisoners are not
subjected to unnecessary or excessive force by OPSO staff and are protected from violence by other prisoners.
IV.A. 1. Use of Force Policies and Procedures
IV. A. 1.a. OPSO shall develop, implement, and maintain                   ✔                  1.   Written policies and procedures; table of contents     Responsible Party: Captain Peters
comprehensive policies and procedures (in accordance                                              developed in collaboration with monitors
with generally accepted correctional standards) relating to                                       governing use of force/response to resistance,         General Information:
the use of force with particular emphasis regarding                                               training, data collection and analysis, reporting,
permissible and impermissible uses of force.                                                      supervisory and leadership review of uses of force.    All use of force policies have been
                                                                                                  See also IV.A.5.a,IV.A.2., IV.A.3.                     completed and approved by all
                                                                                                     Summary page from use of force reports.
                                                                                                                                                         parties to the Consent Judgment.
                                                                                                                                                         The only issue we are currently
                                                                                                                                                         facing in reference to the training
                                                                                                                                                         process is low staffing levels. This
                                                                                                                                                         should be alleviated by Director
                                                                                                                                                         Maynard’s plan to temporarily
                                                                                                                                                         close several housing units so that
                                                                                                                                                         OPSO can focus on training for
                                                                                                                                                         several months.

                                                                                                                                                         Compliance Tasks to be Completed:

                                                                                                                                                         Task #1: Complete policy
                                                                                                                                                         training.

                                                                                                                                                         Necessary Resources:

                                                                                                                                                         No additional resources required.

                                                                                                                                                         Benchmark Dates:

                                                                                                                                                         We are already well over halfway
                                                                                                                                                         through the training process.

                                                                                                                                                         Substantial Compliance Date:

                                                                                                                                                         We expect to complete the
                                                                                                                                                         training and dissemination



                                                                                                                                                                                1
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                          Section                                C   P   N                          Measures                                  OPSO Compliance Plan
                                                                                                                                       process by 12/31/2016.

IV. A. 1.b. OPSO shall develop and implement a single,               ✔       1.   See IV.A.1.a. and IV.A.7.a. Written                  Responsible Party: Captain Peters
uniform reporting system under a Use of Force Reporting                           policy/procedure governing uses of force/response
policy. OPSO reportable force shall be divided into two                           to resistance Level 1 and Level 2.                   General Information:
levels, as further specified in policy: Level 1 uses of                      2.   Medical/mental health corresponding written
force will include all serious uses of force (i.e., the use of                    policy/procedure.                                    All use of force policies have been
force leads to injuries that are extensive, serious or visible               3.   Review of use of force reports; review of incident   completed and approved by all
in nature, including black eyes, lacerations, injuries to the                     reports; review of inmate medical files.
mouth or head, multiple bruises, injuries to the genitals,
                                                                                                                                       parties to the Consent Judgment.
                                                                             4.   Review of hospital transports.
etc.), injuries requiring hospitalization, staff misconduct,                 5.   Inmate interviews.                                   The only issue we are currently
and occasions when use of force reports are inconsistent,                    6.   Review of use of force investigations (IAD or        facing in reference to the training
conflicting, or otherwise suspicious. Level 2 uses of force                       SOD); referrals for prosecution.                     process is low staffing levels. This
will include all escort or control holds used to overcome                                                                              should be alleviated by Director
resistance that are not covered by the definition of Level 1                                                                           Maynard’s plan to temporarily
uses of force.                                                                                                                         close several housing units so that
                                                                                                                                       OPSO can focus on training for
                                                                                                                                       several months.

                                                                                                                                       Compliance Tasks to be Completed:

                                                                                                                                       Task #1: Complete policy
                                                                                                                                       training.

                                                                                                                                       Necessary Resources:

                                                                                                                                       No additional resources required.

                                                                                                                                       Benchmark Dates:

                                                                                                                                       We are already well over halfway
                                                                                                                                       through the training process.

                                                                                                                                       Substantial Compliance Date:

                                                                                                                                       We expect to complete the
                                                                                                                                       training and dissemination
                                                                                                                                       process by 12/31/2016.

IV. A. 1.c. OPSO shall assess, annually, all data collected              ✔   1.   See also IV.A.1.a.                                   Responsible Party: Chief Laughlin
regarding uses of force and make any necessary changes                       2.   Annual report; recommendations, plans of action.
to use of force policies or procedures to ensure that                                                EIS data.



                                                                                                                                                              2
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                        Section                             C   P   N            Measures                   OPSO Compliance Plan
unnecessary or excessive use of force is not used in OPP.                                             General Information: Ensuring the
The review and recommendations will be documented                                                     initial use of force incidents are
and provided to the Monitor, DOJ, and SPLC.
                                                                                                      documented and investigated in
                                                                                                      the timeframe set by OPSO policy.
                                                                                                      Completed use of force
                                                                                                      investigations are reviewed and
                                                                                                      approved by OPSO Division
                                                                                                      commanders. The
                                                                                                      completed/approved
                                                                                                      investigations are forwarded to
                                                                                                      the Force Investigation Team for
                                                                                                      review. The Force Investigation
                                                                                                      Team receives the completed UOF
                                                                                                      report, conducts the review to
                                                                                                      ensure all required information is
                                                                                                      contained, and forwards the final
                                                                                                      report to the FIT Commander for
                                                                                                      approval. The approved use of
                                                                                                      force investigation is then
                                                                                                      forwarded to the Use of Force
                                                                                                      review board (UFRB). The UFRB
                                                                                                      decides if the case is justified, if
                                                                                                      additional training is needed, or
                                                                                                      policy changes are required.

                                                                                                      Compliance Tasks to be Completed:

                                                                                                      Task #1: Provide all deputies
                                                                                                      with use of force training and
                                                                                                      ensure that every deputy
                                                                                                      understands what constitutes a
                                                                                                      use of force. Ensure that first line
                                                                                                      supervisors understand what
                                                                                                      information is needed to complete



                                                                                                                           3
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                          Section                              C   P   N                           Measures                                   OPSO Compliance Plan
                                                                                                                                       a use of force investigation.
                                                                                                                                       Completion date of 12/31/2016.

                                                                                                                                       Necessary Resources:

                                                                                                                                       N/A

                                                                                                                                       Substantial Compliance Date:

                                                                                                                                       12/31/2016

IV.A.2. Use of Force Training

IV. A. 2. a. OPSO shall ensure that all correctional               ✔       1.    See also IV.A.1.a                                     Responsible Party: Lt. Navarro
officers are knowledgeable of and have the knowledge,                      2.    Lesson plans, training materials, evidence of
skills, and abilities to comply with use of force policies                       knowledge gained. Qualification of instructors.       General Information:
and procedures. At a minimum, OPSO shall provide                           3. Training schedule. List of attendees.
correctional officers with      pre-service and annual in-                 4. Observation of training.                                 All use of force policies have been
service training in use of force, defensive tactics, and use               5. Interviews with trainers.                                completed and approved by all
of force policies and procedures. The training will                        6. Interviews with trainees.
include the following:
                                                                                                                                       parties to the Consent Judgment.
                                                                           7. Review of use of force incident reports.
(1) instruction on what constitutes excessive force;                           Schedule of pre-service, in-service and specialized
                                                                                                                                       The only issue we are currently
(2) de-escalation tactics; and                                               training for two year forward, including topics, dates,   facing in reference to the training
(3) management of prisoners with mental illness to limit                                           instructors.                        process is low staffing levels. This
      the need for using force.                                                                                                        should be alleviated by Director
                                                                                                                                       Maynard’s plan to temporarily
                                                                                                                                       close several housing units so that
                                                                                                                                       OPSO can focus on training for
                                                                                                                                       several months.

                                                                                                                                       Compliance Tasks to be Completed:

                                                                                                                                       Task #1: Complete policy
                                                                                                                                       training.

                                                                                                                                       Necessary Resources:

                                                                                                                                       No additional resources required.

                                                                                                                                       Benchmark Dates:




                                                                                                                                                              4
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                          Section                              C   P   N                          Measures                                    OPSO Compliance Plan
                                                                                                                                       We are already well over halfway
                                                                                                                                       through the training process.

                                                                                                                                       Substantial Compliance Date:

                                                                                                                                       We expect to complete the
                                                                                                                                       training and dissemination
                                                                                                                                       process by 12/31/2016.

IV. A. 2. b. OPSO shall ensure that officers are aware of              ✔   1.   Written policies/procedures governing: written         Responsible Party: Captain Peters
any change to policies and practices throughout their                           directive system development and maintenance;
employment with OPP. At a minimum, OPSO shall                                   notification of changes to agency policy; training –   General Information:
provide pre-service and annual in-service use of force                          annual, pre-service, specialized, remedial.
training that prohibits:                                                   2.   Review of incident reports.                            All use of force policies have been
(1) use of force as a response to verbal insults or                        3.   Review of IAD/SOD investigations; referrals for        completed and approved by all
      prisoner threats where there is no immediate threat to                    prosecution
      the safety or security of the institution, prisoners,
                                                                                                                                       parties to the Consent Judgment.
                                                                           4.   Interviews with inmates.
      staff, or visitors;                                                  5.   Review of inmate medical records.                      The only issue we are currently
(2) use of force as a response to prisoners’ failure to                                            EIS data.                           facing in reference to the training
      follow instructions where there is no immediate                                                                                  process is low staffing levels. This
      threat to the safety or security of the institution,                                                                             should be alleviated by Director
      prisoners, staff, or visitors;                                                                                                   Maynard’s plan to temporarily
(3) use of force against a prisoner after the prisoner has                                                                             close several housing units so that
      ceased to offer resistance and is under control;
                                                                                                                                       OPSO can focus on training for
(4) use of force as punishment or retaliation; and
(5) use of force involving kicking, striking, hitting, or                                                                              several months.
      punching a non-combative prisoner.
                                                                                                                                       Compliance Tasks to be Completed:

                                                                                                                                       Task #1: Complete policy
                                                                                                                                       training.

                                                                                                                                       Necessary Resources:

                                                                                                                                       No additional resources required.

                                                                                                                                       Benchmark Dates:

                                                                                                                                       We are already well over halfway
                                                                                                                                       through the training process.

                                                                                                                                       Substantial Compliance Date:




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                         Section                             C   P   N                        Measures                                  OPSO Compliance Plan
                                                                                                                                 We expect to complete the
                                                                                                                                 training and dissemination
                                                                                                                                 process by 12/31/2016.

IV. A. 2. c. OPSO shall randomly test five percent of the            ✔   1. See also IV.A.1., 2., 3                              Responsible Party: Lt. Navarro
correctional officer staff on an annual basis to determine               2. Review of testing instrument; review of testing
their knowledge of the use of force policies and                            procedures; report of testing.                       General Information:
procedures. The testing instrument and policies shall be                 Report of outcome of annual testing, recommendations,
approved by the Monitor. The results of these                                               plans of action.                     Currently do not have an
assessments shall be evaluated to determine the need for                                                                         instrument to test the retention of
changes in training practices. The review and conclusions
will be documented and provided to the Monitor.
                                                                                                                                 5 % of the personnel on the
                                                                                                                                 knowledge they received from the
                                                                                                                                 Use of Force policy class.

                                                                                                                                 Desired Outcome: Create a testing
                                                                                                                                 instrument to test the retention
                                                                                                                                 level of 5 % of the OJC personnel
                                                                                                                                 on an annual basis.

                                                                                                                                 Compliance Tasks to be Completed:

                                                                                                                                 Task #1: Create testing
                                                                                                                                 Instrument and submit for
                                                                                                                                 approval to the monitors.

                                                                                                                                 Task #2: Test 5 % of the OJC
                                                                                                                                 personnel on the retention of the
                                                                                                                                 Use of Force Policy.

                                                                                                                                 Necessary Resources:

                                                                                                                                 No additional resources required.

                                                                                                                                 Benchmark Dates:

                                                                                                                                 Development of testing instrument by
                                                                                                                                 01/15/2017 for submission to Monitors.

                                                                                                                                 Substantial Compliance Date:

                                                                                                                                 Complete 5% testing by 02/15/2017.



                                                                                                                                                        6
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                          Section                             C   P   N                         Measures                                OPSO Compliance Plan

IV.A.3. Use of Force Reporting

IV. A.3 a. Failure to report a use of force incident by any           ✔   1.   See also IV.A.7.b., e.                            Responsible Party: Chief Laughlin
staff member engaging in the use of force or witnessing                   2.   Review of IAD/SOD investigations; referrals for
the use of force shall be grounds for discipline, up to and                    prosecution; inmate and employee interviews, as   General Information:
including termination.                                                         necessary.
                                                                                       Review of employee discipline.            Ensuring that all use of force data
                                                                                                                                 is collected within the timelines
                                                                                                                                 set forth by OPSO policy.

                                                                                                                                 Holding staff members who fail to
                                                                                                                                 report any use of force incident
                                                                                                                                 accountable for their actions.

                                                                                                                                 Desired Outcome: Continue to
                                                                                                                                 ensure that all use of force
                                                                                                                                 incidents are documented,
                                                                                                                                 reviewed by a supervisor, and
                                                                                                                                 forwarded through the chain of
                                                                                                                                 command.

                                                                                                                                 Compliance Tasks to be Completed:

                                                                                                                                 OJC command staff and ISB
                                                                                                                                 personnel monitor the Vantos
                                                                                                                                 reporting system, reviewing all
                                                                                                                                 incident reports and checking for
                                                                                                                                 any discrepancies. Any reports
                                                                                                                                 listed as a non-use of force with
                                                                                                                                 use of force overtones are sent to
                                                                                                                                 FIT for investigation.

                                                                                                                                 Necessary Resources:

                                                                                                                                 No additional resources required.

                                                                                                                                 Benchmark Dates:



                                                                                                                                                        7
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                          Section                               C   P   N                          Measures                                  OPSO Compliance Plan

                                                                                                                                      This provision is already in partial
                                                                                                                                      compliance.

                                                                                                                                      Substantial Compliance Date:

                                                                                                                                      OJC staff and FIT must continue to
                                                                                                                                      communicate together and work
                                                                                                                                      well when submitting reports and
                                                                                                                                      identifying any issues. The
                                                                                                                                      anticipated full compliance date is
                                                                                                                                      August 2017.

                                                                                                                                      A good measurement would be to
                                                                                                                                      see a steady decline in use of force
                                                                                                                                      incidents. Also, for FIT to see a
                                                                                                                                      continual submission of detailed
                                                                                                                                      completed reports. Lastly, a decline
                                                                                                                                      in the number of days it takes FIT to
                                                                                                                                      review a case.

IV. A.3 b. OPSO shall ensure that sufficient information                ✔   1.  See also IV.A.7.                                      Responsible Party: Chief Laughlin
is collected on uses of force to assess whether staff                       2.  Review of use of force reports.
members complied with policy; whether corrective action                     3.  Review of inmate medical records; review of           General Information:
is necessary including training or discipline; the                              transport and hospital log.
effectiveness of training and policies; and whether the                     4. Review of IAD/SOD investigations; referrals for
conditions in OPP comply with this Agreement. At a
                                                                                                                                      Ensuring the initial use of force
                                                                                prosecution.
minimum, OPSO will ensure that officers using or                            5. Review staff disciplinary records.                     incidents are documented and
observing a Level 1 use of force shall complete a use of                    6. Review workers’ compensation.                          investigated in the timeframe set
force report that will:                                                     7. Review inmate disciplinary reports.                    by OPSO policy. Provide deputies
(1) include the names of all staff, prisoner(s), or other                   8. Interviews with medical staff
     visual or oral witness(es);                                            9. Interviews with employees                              with use of force training; explain
(2) contain an accurate and specific account of the                         10. Interviews with inmates.                              what constitutes a use of force,
     events leading to the use of force;                                      Review of inmate classification pre-and-post incident   and what information is needed
(3) describe the level of resistance and the type and level
     of force used, consistent with OPP use of force                                                                                  to properly document a UOF
     policy and procedure, as well as the precise actions                                                                             incident.
     taken by OPSO staff in response to the incident;
(4) describe the weapon or instrument(s) of restraint, if
     any, and the manner of such use;                                                                                                 Completed use of force
(5) be accompanied by a prisoner disciplinary report, if                                                                              investigations are reviewed and
     it exists, pertaining to the events or prisoner activity



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                            Section                             C   P   N          Measures                    OPSO Compliance Plan
       that prompted the use of force incident;                                                         approved by OPSO Division
(6)    describe the nature and extent of injuries sustained                                             commanders. The Force
       by anyone involved in the incident;
(7)    contain the date and time when medical attention, if                                             Investigation Team receives the
       any, was requested and actually provided;                                                        completed/approved use of force
(8)    describe any attempts the staff took to de-escalate                                              from the originating division. The
       prior to the use of force;
(9)    include an individual written account of the use of                                              FIT Commander forwards the
       force from every staff member who witnessed the                                                  completed investigations to the
       use of force;                                                                                    UFRB for review, dissemination,
(10)   include photographs taken promptly, but no later
       than two hours after a use of force incident, of all
                                                                                                        and recommendation of each
       injuries sustained, or as evidence that no injuries                                              investigation.
       were sustained, by prisoners and staff involved in the
       use of force incident;                                                                           Compliance Tasks to be Completed:
(11)   document whether the use of force was digitally or
       otherwise recorded. If the use of force is not                                                   Task #1: The required
       digitally or otherwise recorded, the reporting officer
                                                                                                        information pertaining to level 1
       and/or watch commander will provide an explanation
       as to why it was not recorded; and                                                               use of force investigations are
(12)   include a statement about the incident from the                                                  provided and contained in the
       prisoner(s) against whom force was used.                                                         Force Investigation Team use of
                                                                                                        force quarterly spreadsheets. All
                                                                                                        completed investigations along
                                                                                                        with video recorded statements
                                                                                                        are available for review. By March
                                                                                                        2017, all OPSO staff will have been
                                                                                                        trained in the UoF policy. Upon the
                                                                                                        completion of the policy training
                                                                                                        coupled with the Administrative
                                                                                                        Warden review all UoF reports, FIT
                                                                                                        should be receiving completed report
                                                                                                        with less “boiler point” language.

                                                                                                        Necessary Resources:

                                                                                                        N/A

                                                                                                        Substantial Compliance Date:




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IV. A.3 c. All officers using a Level 2 use of force shall              ✔   1.   See IV.A.3.b. (1) – (12) – all measures of   Responsible Party: Chief Laughlin
complete a use of force report that will:                                        compliance.
(1) include the names of staff, prisoner(s), or other                                                                         General Information:
     visual or oral witness(es);
(2) contain an accurate and specific account of the                                                                           Ensuring the initial use of force
     events leading to the use of force;
(3) describe the level of resistance and the type and level
                                                                                                                              incidents are documented and
     of force used, consistent with OPP use of force                                                                          investigated in the timeframe set
     policy and procedure, as well as the precise actions                                                                     by OPSO policy. Provide deputies
     taken by OPSO staff in response to the incident;
                                                                                                                              with use of force training; explain
(4) describe the weapon or instrument(s) of restraint, if
     any, and the manner of such use;                                                                                         what constitutes a use of force,
(5) be accompanied by a prisoner disciplinary report, if                                                                      and what information is needed
     it exists, pertaining to the events or prisoner activity                                                                 to properly document a UOF
     that prompted the use of force incident;
(6) describe the nature and extent of injuries sustained                                                                      incident.
     by anyone involved in the incident;
(7) contain the date and time when medical attention, if                                                                      Completed use of force
     any, was requested and actually provided; and
(8) describe any attempts the staff took to de-escalate                                                                       investigations are reviewed and
     prior to the use of force.                                                                                               approved by OPSO Division
                                                                                                                              commanders. The Force
                                                                                                                              Investigation Team receives the
                                                                                                                              completed/approved use of force
                                                                                                                              from the originating division. The
                                                                                                                              FIT Commander forwards the
                                                                                                                              completed investigations to the
                                                                                                                              UFRB for review, dissemination,
                                                                                                                              and recommendation of each
                                                                                                                              investigation.

                                                                                                                              Compliance Tasks to be Completed:

                                                                                                                              Task #1: The required
                                                                                                                              information pertaining to level 2
                                                                                                                              use of force investigations are
                                                                                                                              provided and contained in the



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                         Section                            C   P   N                          Measures                            OPSO Compliance Plan
                                                                                                                            Force Investigation Team use of
                                                                                                                            force quarterly spreadsheets. All
                                                                                                                            completed investigations along
                                                                                                                            with video recorded statements
                                                                                                                            are available for review.

                                                                                                                            Necessary Resources:

                                                                                                                            The only funding would be
                                                                                                                            through overtime for the staff that
                                                                                                                            still needed to complete the UoF
                                                                                                                            training curriculum.

                                                                                                                            Benchmark Dates:

                                                                                                                            By March 2017, all OPSO staff will
                                                                                                                            have been trained in the UoF
                                                                                                                            policy. Upon the completion of
                                                                                                                            the policy training coupled with
                                                                                                                            the Administrative Warden
                                                                                                                            review all UoF reports, FIT should
                                                                                                                            be receiving completed report
                                                                                                                            with less “boiler point” language.

                                                                                                                            Substantial Compliance Date:

                                                                                                                            September 2017, FIT should be
                                                                                                                            receiving completed reports with
                                                                                                                            all required information within.

IV. A.3 d. OPSO shall require correctional officers to              ✔   1.   See IV.A.1.a.                                  Responsible Party: Colonel Colvin
notify the watch commander as soon as practical of any                  2.   See A.IV.A.3.b. (1) – (12) – all measures of
use of force incident or allegation of use of force. When                    compliance.                                    General Information:
notified, the watch commander will respond to the scene
of all Level 1 uses of force. When arriving on the scene,                                                                   To accomplish the immediate and
the watch commander shall:                                                                                                  accurate reporting and review of
(1) ensure the safety of everyone involved in or
      proximate to the incident;
                                                                                                                            all use of force incidents that
(2) determine if any prisoner or correctional officer is                                                                    occur at the Orleans Parish Justice
      injured and ensure that necessary medical care is                                                                     Center, to include any and all



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      provided;                                                                                         allegations of use of force.
(3)   ensure that personnel and witnesses are identified,
      separated, and advised that communications with                                                   All OJC emergency alarms must be
      other witnesses or correctional officers regarding the
      incident are prohibited;
                                                                                                        responded to immediately and
(4)   ensure that witness and subject statements are taken                                              effectively. On duty Watch
      from both staff and prisoner(s) outside of the                                                    Commanders and assigned floor
      presence of other prisoners and staff;                                                            supervisors must understand
(5)   ensure that the supervisor’s use of force report is                                               their operational priorities when
      forwarded to IAD for investigation if, upon the                                                   responding to areas of the jail
      supervisor’s review, a violation of law or policy is                                              where force is being used, has
      suspected. The determination of what type of
                                                                                                        been used or an allegation of force
      investigation is needed will be based on the degree
      of the force used consistent with the terms of this                                               has been reported. At the scene
      Agreement;                                                                                        Commanders Control and direct
(6)   If the watch commander is not involved in the use of                                              the staff response and their use of
      force incident, the watch commander shall review all                                              force,     becoming     personally
      submitted use of force reports within 36 hours of the                                             involved in the incident as a last
      end of the incident, and shall specify his findings as                                            resort.
      to completeness and procedural errors. If the watch
      commander believes that the use of force may have
                                                                                                        Desired Outcome: OJC
      been unnecessary or excessive, he shall immediately
      contact IAD for investigation consideration and shall                                             Commanders and deputies
      notify the warden or assistant warden; and                                                        demonstrate competency and
(7)   All Level 1 use of force reports, whether or not the                                              compliance with all aspects of this
      force is believed by any party to be unnecessary or                                               subject matter.
      excessive, shall be sent to IAD for review. IAD shall
      develop and submit to the Monitor within 90 days of                                                This objective is best realized by
      the Effective Date clear criteria to identify use of
                                                                                                        the promulgation of policy and
      force incidents that warrant a full investigation,
      including injuries that are extensive or serious,                                                 procedure(s) focused specifically
      visible in nature (including black eyes, injuries to the                                          on the force subject matter
      mouth, injuries to the genitals, etc.), injuries                                                  contained in paragraphs 1-8 of
      requiring hospitalization, staff misconduct (including                                            3.1.7 IV.A.3.d, comprehensive
      inappropriate relationships with prisoners), and                                                  competency training is designed
      occasions when use of force reports are inconsistent,                                             and delivered to (3) work groups:
      conflicting, or otherwise suspicious.                                                              a.) OJC Watch Commanders
                                                                                                        (commanding officers holding the
                                                                                                        rank of sergeant, lieutenant,
                                                                                                        captain or major)
                                                                                                         b.) OJC Corrections Deputies’
                                                                                                         c.) Correctional Monitoring



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                                                                               Technicians (Civilian)

                                                                               Policy 701.09 Emergencies Assault-
                                                                               Inmate meets the training
                                                                               requirements. Correctional
                                                                               Monitoring Technicians (CMT)
                                                                               only require specific instruction
                                                                               on their actions relative to any
                                                                               institutional emergency. CMT’s
                                                                               are taught their role during an
                                                                               emergency, (i.e. Radio traffic,
                                                                               Ingress/Egress) through the
                                                                               course of their Basic Training that
                                                                               covers all 701 Chapter Emergency
                                                                               plans.

                                                                               Therefore we are substantially
                                                                               complete with this training as of
                                                                               this date and see no complications
                                                                               with achieving 100% compliance
                                                                               by February 2017.

                                                                               Compliance Tasks to be Completed:

                                                                               Task #1: Promulgation or
                                                                               Revision of existing
                                                                               Policy/Procedure(s) related to:
                                                                               Emergency Response, Use of
                                                                               Force, Incident Reporting and
                                                                               Investigation.

                                                                               Task #2: The Design,
                                                                               Development and Delivery of
                                                                               policy based staff training to the
                                                                               above listed groups on the
                                                                               Subjects of: Emergency Response,
                                                                               Use of Force, and Incident
                                                                               Reporting. Policy 701.09 deals
                                                                               effectively with Instructing OPSO



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                                                                                                                                 Commanders and Deputies on the
                                                                                                                                 subject(s) of their role in the
                                                                                                                                 response to an emergency,
                                                                                                                                 As well as post incident
                                                                                                                                 requirements. CMT Basic Training
                                                                                                                                 curriculum teaches these civilian
                                                                                                                                 staff members their
                                                                                                                                 responsibilities in Emergency
                                                                                                                                 Incidents. These two subjects are
                                                                                                                                 currently being taught here at
                                                                                                                                 OPSO, an audit of training records
                                                                                                                                 will show the progression to
                                                                                                                                 compliance and number of staff
                                                                                                                                 members yet to receive this
                                                                                                                                 training.

                                                                                                                                 Necessary Resources:

                                                                                                                                 This task will generate staff overtime
                                                                                                                                 at OJC.

                                                                                                                                 Benchmark Dates:

                                                                                                                                 50% completion by 10/15/2016.

                                                                                                                                 Substantial Compliance Date:

                                                                                                                                 02/28/2017 for substantial
                                                                                                                                 completion.

IV. A.3 e. Ensure that a first-line supervisor is present               1.  See IV.A.1.a                                         Responsible Party: Colonel Colvin
during all pre-planned uses of force, such as cell              ✔       2.  Review of use of planned use of force; view of
extractions.                                                                digital recordings.                                  General Information:
                                                                        Lesson plans, curriculum, evidence of knowledge gained
                                                                                        for supervisory training.                To ensure that Planned Use of
                                                                                                                                 Force Incidents are personally
                                                                                                                                 supervised by a Commander.

                                                                                                                                 Staffing patterns can be low and
                                                                                                                                 require that a supervisor become



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                                                                                                                               involved in the actual application
                                                                                                                               of the force to the subject
                                                                                                                               inmate(s).

                                                                                                                               Desired Outcome: All OJC
                                                                                                                               Commanders are trained in the
                                                                                                                               supervision and reporting of
                                                                                                                               Planned Uses of Force according
                                                                                                                               to policy: 1501.01 “Use of Force”.

                                                                                                                               Compliance Tasks to be Completed:

                                                                                                                               Task #1: Comply with
                                                                                                                               components of Policy 1501.01.

                                                                                                                               Necessary Resources:

                                                                                                                               No additional resources required.

                                                                                                                               Benchmark Dates:

                                                                                                                               Already completed.

                                                                                                                               Substantial Compliance Date:

                                                                                                                               12/30/2016

IV. A.3 f. Within 36 hours, exclusive of weekends and                 ✔   1.  See IV.A.1., IV.A.7.a.                           Responsible Party: Colonel Colvin
holidays, of receiving the report and review from the shift               2.  Evidence of review of reports by Warden or
commander, in order to determine the appropriateness of                       Assistant Warden (e.g. checklist, dated/timed    General Information:
the force used and whether policy was followed, the                           signatures). Written report with findings.
Warden or Assistant Warden shall review all use of force                  3. Review of reports.                                Reporting of Force from Watch
reports and supervisory reviews including:                                   Referrals to IAD/SOD. Review of investigations.   Commanders to OJC
(1) the incident report associated with the use of force;
(2) any medical documentation of injuries and any
                                                                                                                               Administrative Warden.
     further medical care;
(3) the prisoner disciplinary report associated with the                                                                       Desired Outcome: OJC
     use of force; and                                                                                                         Administrative Warden continues
(4) the Warden or Assistant Warden shall complete a                                                                            to receive and review all
     written report or written statement of specific                                                                           reportable Use of Force incidents.
     findings and determinations of the appropriateness of
     force.



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                                                                                                                                   Compliance Tasks to be Completed:

                                                                                                                                   Continue to train and comply with
                                                                                                                                   all Section 1501 Policy and
                                                                                                                                   Procedures. OJC is currently in
                                                                                                                                   substantial compliance with this
                                                                                                                                   standard.

                                                                                                                                   Necessary Resources:

                                                                                                                                   No additional resources required.

                                                                                                                                   Benchmark Dates:

                                                                                                                                   Already completed.

                                                                                                                                   Substantial Compliance Date:

                                                                                                                                   12/30/2016

IV. A.3 g. Provide the Monitor a periodic report detailing         ✔       1. See IV.A.1.                                          Responsible Party: Chief Laughlin
use of force by staff. These periodic reports shall be                       Report to Monitor; recommendations; plans of action
provided to the Monitor within four months of the                                                                                  General Information:
Effective Date; and every six months thereafter until
termination of this Agreement. Each report will include                                                                            Ensuring that all use of force
the following information:
(1) a brief summary of all uses of force, by type;                                                                                 incidents are reported,
(2) date that force was used;                                                                                                      investigated, and approved by a
(3) identity of staff members involved in using force;                                                                             supervisor.
(4) identity of prisoners against whom force was used;
(5) a brief summary of all uses of force resulting in
     injuries;                                                                                                                     Desired Outcome: All use of force
(6) number of planned and unplanned uses of force;                                                                                 incidents are documented,
(7) a summary of all in-custody deaths related to use of                                                                           reviewed, and processed in a
     force, including the identity of the decedent and the                                                                         timely manner.
     circumstances of the death; and
(8) a listing of serious injuries requiring hospitalization.                                                                       Compliance Tasks to be Completed:

                                                                                                                                   Task #1: ISB reviews all incident
                                                                                                                                   reports entered into the Vantos



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                                                                               system including reports that
                                                                               have not been labeled as a use of
                                                                               force incident and/or do not
                                                                               include a separate Use of Force
                                                                               report.

                                                                               Task #2: OJC Staff review
                                                                               documented use of force reports
                                                                               and complete the investigation.
                                                                               Once completed the investigation
                                                                               is sent to ISB/FIT for review.

                                                                               Task #3: Continue to provide the
                                                                               monitors with the use of force
                                                                               spreadsheets and completed
                                                                               investigations containing
                                                                               information 1 through 8 listed
                                                                               above.

                                                                               Necessary Resources:

                                                                               No additional resources required.

                                                                               Benchmark Dates:

                                                                               This provision is currently in
                                                                               partial compliance.

                                                                               Substantial Compliance Date:

                                                                               In order to come into full
                                                                               compliance, the OPSO must show
                                                                               on a consistent basis detailed use
                                                                               of force reports highlighting the
                                                                               eight requirements listed above.
                                                                               The report should also detail
                                                                               disciplinary action, referrals,



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                                                                                                                                 additional training requirements,
                                                                                                                                 and any corrective action(s)
                                                                                                                                 taken. The anticipated full
                                                                                                                                 compliance date is third quarter
                                                                                                                                 2017.

                                                                                                                                 A good indication as a form of
                                                                                                                                 measurement would be a
                                                                                                                                 consistent reduction in use of
                                                                                                                                 force incidents in OJC.
                                                                                                                                 Furthermore, the ability for the
                                                                                                                                 OPSO to learn strategies or
                                                                                                                                 possible policy changes for this
                                                                                                                                 report in reducing use of force
                                                                                                                                 incidents in the OPSO.

IV. A.3 h. OPSO shall conduct, annually, a review of the           ✔   1. See IV.A.1.                                            Responsible Party: Chief Laughlin
use of force reporting system to ensure that it has been                Annual report; conclusions, action plan to address any
effective in reducing unnecessary or excessive uses of                                 identified deficiencies.                  General Information:
force. OPSO will document its review and conclusions
and provide them to the Monitor, SPLC, and DOJ.                                                                                  OPSO has a formal Use of Force
                                                                                                                                 Review Board. The board was
                                                                                                                                 established to review all
                                                                                                                                 completed Use of Force
                                                                                                                                 investigations to ensure that they
                                                                                                                                 were lawful, appropriate, and
                                                                                                                                 consistent with our training and
                                                                                                                                 policies.

                                                                                                                                 Any cases the UFRB determines to
                                                                                                                                 be suspicious in nature are
                                                                                                                                 returned for additional
                                                                                                                                 investigation. The UFRB also
                                                                                                                                 sends notification to the academy
                                                                                                                                 when additional training is
                                                                                                                                 needed to address specific
                                                                                                                                 problems. The board looks for any
                                                                                                                                 developing patterns.


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                                                                                                                                    Compliance Tasks to be Completed:

                                                                                                                                    Video recording are available of
                                                                                                                                    monthly UFRB meetings and
                                                                                                                                    outcomes.

                                                                                                                                    Necessary Resources:

                                                                                                                                    No additional funding needed to
                                                                                                                                    complete this task.

                                                                                                                                    Benchmark Dates:

                                                                                                                                    March 2017, will complete one year
                                                                                                                                    for the Use of Force Review Board.
                                                                                                                                    Therefore, an annual report can be
                                                                                                                                    formulated for review and evaluation.

                                                                                                                                    Substantial Compliance Date:

                                                                                                                                    In March 2018, the OPSO will have
                                                                                                                                    completed two years which will give a
                                                                                                                                    clear indication if the board has been
                                                                                                                                    effective in reducing unnecessary or
                                                                                                                                    excessive uses of force.

IV.A.4. Early Intervention System (“EIS”)
IV.A.4.a. OPSO shall develop, within 120 days of the             ✔       1.  Written policy/procedure governing the                 Responsible Party: Chief Laughlin
Effective Date, a computerized relational database                           implementation and oversight of the employee
(“EIS”) that will document and track staff members who                       early warning system, that includes, but is not        General Information:
are involved in use of force incidents and any complaints                    limited to: interface of incident reporting and data
related to the inappropriate or excessive use of force, in                   collection, by name, thresholds requiring leadership   Providing accurate Early
order to alert OPSO management to any potential                              review, criteria governing what triggers an
problematic policies or supervision lapses or need for
                                                                                                                                    Intervention System data.
                                                                             intervention, employee referrals for
retraining or discipline. The Chief of Operations Deputy,                    assistance/evaluation, remedial training, what
supervisors, and investigative staff shall have access to                    interventions are envisioned, how the intervention’s   Desired Outcome: OPSO deputies
this information and shall review on a regular basis, but                    impact is measured, reporting of data and access to    continue to complete the initial
not less than quarterly, system reports to evaluate                          the data, and evaluation of the early warning          use of force report. The names of
individual staff, supervisor, and housing area activity.                     system. See also IV.A.4.d., e.
OPSO will use the EIS as a tool for correcting                                                                                      all parties involved in the incident
inappropriate staff behavior before it escalates to more                 2. See also PREA standard 115.76.                          are entered correctly into the
                                                                         Review of OPSO actions regarding employees identified      report which triggers the EIS


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serious misconduct.                                                              by EIS.             alerts.

                                                                                                     Compliance Tasks to be Completed:

                                                                                                     Continue to investigate all EIS
                                                                                                     alerts involving OPSO employees.
                                                                                                     All completed investigations are
                                                                                                     forwarded to the Use of Force
                                                                                                     Review Board for final review.

                                                                                                     Necessary Resources:

                                                                                                     There is no need for any
                                                                                                     additional funding; however, a
                                                                                                     new JMS would greatly enhance
                                                                                                     our ability to track and establish
                                                                                                     the validity of the EIS system.
                                                                                                     Currently, the Vantos system is
                                                                                                     not being supported. The only
                                                                                                     barrier would be working with
                                                                                                     the staff to properly enter a use of
                                                                                                     force report into the Vantos
                                                                                                     system. If any part of the process
                                                                                                     is entered incorrectly, the
                                                                                                     incident will not alert the EIS as
                                                                                                     we have recently learned.

                                                                                                     Benchmark Dates:

                                                                                                     This provision is currently in
                                                                                                     partial compliance.

                                                                                                     Substantial Compliance Date:

                                                                                                     To constantly evaluate the logs to
                                                                                                     ensure the use of force reports are
                                                                                                     being entered properly in the
                                                                                                     Vantos system. Furthermore,
                                                                                                     another process in place is when



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                                                                                                                                    these incidents are reviewed by
                                                                                                                                    the Use of Force Review Board
                                                                                                                                    which is conducted monthly. The
                                                                                                                                    anticipated date of full
                                                                                                                                    compliance is August 2017.

                                                                                                                                     A measuring method would be a
                                                                                                                                    report detailing outcomes of EIS
                                                                                                                                    alerts. These outcomes should
                                                                                                                                    discuss any policy
                                                                                                                                    recommendations / changes, re-
                                                                                                                                    training of staff, and any
                                                                                                                                    disciplinary action(s). At the
                                                                                                                                    completion of the report, a
                                                                                                                                    presentation should be made to
                                                                                                                                    the OJC command staff discussing
                                                                                                                                    the report’s findings and
                                                                                                                                    recommendations.

IV.A.4.b. Within 120 days of the Effective Date, OPSO             ✔       1.   SOD/IAD report identifying patterns, trends, etc..   Responsible Party: Chief Laughlin
senior management shall use EIS information to improve
quality management practices, identify patterns and                       2.   Written quarterly audits.
                                                                                                                                    General Information:
trends, and take necessary corrective action both on an                   3.   Evidence of command staff review. Determination
individual and systemic level. IAD will manage and                             by OPSO that the mechanism is effective at           Ensuring collected EIS data is
administer EIS systems. The Special Operations Division                        addressing the requirements of this Agreement.
                                                                                                                                    accurate.
(“SOD”) will have access to the EIS. IAD will conduct                     4.   Minutes of Use of Force Review Board, including
quarterly audits of the EIS to ensure that analysis and                        identification of need for corrective action.
intervention is taken according to the process described                                                                            Desired Outcome: Continue to
below. Command staff shall review the data collected by
                                                                          5.   Changes to policy, training curriculum, etc.
                                                                               resulting for these reviews.                         investigate all EIS alerts ensuring
the EIS on at least a quarterly basis to identify potential                                                                         the corresponding use of force
                                                                                   Monitors’ review of quarterly reports.
patterns or trends resulting in harm to prisoners. The Use
of Force Review Board will periodically review                                                                                      incident has been documented.
information collected regarding uses of force in order to
identify the need for corrective action, including changes                                                                          There will be dependency on the
to training protocols and policy or retraining or                                                                                   OPSO staff to properly enter the
disciplining individual staff or staff members. Through                                                                             use of force report into the Vantos
comparison of the operation of this system to changes in                                                                            system. If entered incorrectly, the
the conditions in OPP, OPSO will assess whether the                                                                                 EIS will not alert. It will be
mechanism is effective at addressing the requirements of
                                                                                                                                    incumbent upon the OJC
this Agreement
                                                                                                                                    administration to examine all use



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                                                                               of force reports to ensure it was
                                                                               entered correctly.

                                                                               Compliance Tasks to be Completed:

                                                                               Task #1: The EIS spreadsheet
                                                                               provided by the FIT Commander
                                                                               summarizes each alert incident
                                                                               and if any patterns or trends have
                                                                               been discovered.

                                                                               Task #2: All completed EIS alerts
                                                                               are investigated and upon
                                                                               completion are forwarded to the
                                                                               UFRB for review.

                                                                               Necessary Resources:

                                                                               No additional resources required.

                                                                               Benchmark Dates:

                                                                               This provision is currently in
                                                                               partial compliance.

                                                                               Substantial Compliance Date:

                                                                               The anticipated date of
                                                                               compliance is August 2017.
                                                                               Currently, FIT and OJC are
                                                                               communicating well together
                                                                               regarding use of force incidents.
                                                                               The chairman of the Use of Force
                                                                               Review Board is Major Louque,
                                                                               and Colonel Colvin attends all the
                                                                               hearings. This continual support
                                                                               will result in a positive outcome.




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                          Section                             C   P   N                           Measures                                     OPSO Compliance Plan
                                                                                                                                        The measurement for compliance
                                                                                                                                        will be taking a pro-active
                                                                                                                                        approach with regards to the EIS
                                                                                                                                        alerts. The OPSO must take a hard
                                                                                                                                        stance when it comes to “zero
                                                                                                                                        tolerance” in the area of use of
                                                                                                                                        force. The OPSO must counsel,
                                                                                                                                        discipline, or refer those
                                                                                                                                        employees that violate the
                                                                                                                                        policies governing EIS and use of
                                                                                                                                        force incidents.

IV.A.4.c. OPSO shall provide, within 180 days of the              ✔           List of staff members identified by the EIS and           Responsible Party: Chief Laughlin
implementation date of its EIS, to SPLC, DOJ, and the                     correction action taken, or if corrective action not taken,
Monitor, a list of all staff members identified through the                                     the reasons.                            General Information:
EIS and corrective action taken.
                                                                                                                                        Continue to investigate all EIS
                                                                                                                                        alerts.

                                                                                                                                        Desired Outcome: Continue to
                                                                                                                                        provide the monitors with the
                                                                                                                                        FIT/EIS spreadsheet which
                                                                                                                                        contains the employees name,
                                                                                                                                        incident, and summary of
                                                                                                                                        investigation.

                                                                                                                                        Compliance Tasks to be Completed:

                                                                                                                                        Task#1: All EIS alerts are
                                                                                                                                        investigated by agents assigned to
                                                                                                                                        the Force Investigation Team
                                                                                                                                        (FIT). Each alert requires a
                                                                                                                                        written report explaining how the
                                                                                                                                        use of force triggered the alert.

                                                                                                                                        Task #2: ISB IAD Administrative




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Section                    C      P     N                 Measures                    OPSO Compliance Plan
                                                                               Division spreadsheet contains a
                                                                               list of staff names, violations, and
                                                                               corrective action.

                                                                               Task #3: Completed EIS
                                                                               investigations are forwarded to
                                                                               the UFRB for review.

                                                                               Necessary Resources:

                                                                               No additional resources required.

                                                                               Benchmark Dates:

                                                                               This provision is currently in
                                                                               partial compliance.

                                                                               Substantial Compliance Date:

                                                                               The anticipated date for full
                                                                               compliance is June 2017. In
                                                                               March 2017, the Use of Force
                                                                               Review Board would have
                                                                               completed one full year of
                                                                               monthly hearings. This – along
                                                                               with the current spreadsheets
                                                                               that are supplied to the monitors
                                                                               – should give enough data on staff
                                                                               issues along with what corrective
                                                                               actions were taken.

                                                                               The measurement would be
                                                                               showing the identified staffing
                                                                               issues, the recommendations of
                                                                               the Use of Force Review Board,
                                                                               and the follow through of those
                                                                               recommendations. Secondly, to
                                                                               evaluate and determine if those
                                                                               corrective actions worked in the


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                          Section                              C   P   N                         Measures                                 OPSO Compliance Plan
                                                                                                                                   form of any reoccurrences by
                                                                                                                                   those same identified staff.

IV.A.4.d. The EIS protocol shall include the following             ✔               See IV.A.4.a. written policy/procedure.         Responsible Party: Captain Peters
components: data storage, data retrieval, reporting, data
analysis, pattern identification, supervisory assessment,                                                                          General Information:
supervisory intervention, documentation, and audit.
                                                                                                                                   The EIS policy has been
                                                                                                                                   completed and approved by all
                                                                                                                                   parties to the Consent Judgment.
                                                                                                                                   The Chief of Investigations and his
                                                                                                                                   staff were integrally involved in
                                                                                                                                   the policy writing process. The
                                                                                                                                   FIT Team currently operates
                                                                                                                                   under the provisions of this
                                                                                                                                   policy.

                                                                                                                                   Compliance Tasks to be Completed:

                                                                                                                                   None. We are currently compliant
                                                                                                                                   with this provision.

                                                                                                                                   Necessary Resources:

                                                                                                                                   No additional resources required.

                                                                                                                                   Benchmark Dates:

                                                                                                                                   None. We are currently compliant
                                                                                                                                   with this provision.

                                                                                                                                   Substantial Compliance Date:

                                                                                                                                   12/15/2016

IV.A.4.e. On an annual basis, OPSO shall review the EIS                ✔   Written annual review of EIS, conclusions,              Responsible Party: Chief Laughlin
to ensure that it has been effective in identifying concerns               recommendations for changes and action plans, if any.
regarding policy, training, or the need for discipline. This                                                                       General Information:
assessment will be based in part on the number and
severity of harm and injury identified through data                                                                                The Early Intervention System
collected pursuant to this Agreement. OPSO will



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                         Section                          C   P   N            Measures                   OPSO Compliance Plan
document its review and conclusions and provide them to                                             (EIS) while working as designed
the Monitor, who shall forward this document to DOJ and                                             has had some problems with how
SPLC.
                                                                                                    the data is imputed into the
                                                                                                    system. The EIS works by
                                                                                                    collecting names in use of force
                                                                                                    investigations. If the name is
                                                                                                    entered correctly then the EIS will
                                                                                                    alert when it discovers the same
                                                                                                    name within a 90 day period. Due
                                                                                                    to other checks that OPSO has in
                                                                                                    place we were able to discover
                                                                                                    the problem and correctly enter
                                                                                                    the data, which in turn set of the
                                                                                                    required EIS alerts.

                                                                                                    Ensure training is provided to
                                                                                                    OPSO staff on what information is
                                                                                                    needed for the use of force
                                                                                                    investigations and the proper
                                                                                                    format.

                                                                                                    The EIS continues to work as
                                                                                                    designed and provides alerts on
                                                                                                    multiple uses of force incidents.

                                                                                                    Compliance Tasks to be Completed:

                                                                                                    All completed EIS reports will be
                                                                                                    presented before the Use of Force
                                                                                                    Review Board for any
                                                                                                    recommended changes or
                                                                                                    comments to the current
                                                                                                    procedure.

                                                                                                    The quarterly and annual EIS



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                                                                                                                                                         spreadsheet which contains the
                                                                                                                                                         required incident information
                                                                                                                                                         along with the summary of each
                                                                                                                                                         alert is provided to the monitors
                                                                                                                                                         for review.

                                                                                                                                                         Necessary Resources:

                                                                                                                                                         No additional staff or funding needed
                                                                                                                                                         to complete this task.

                                                                                                                                                         Benchmark Dates:

                                                                                                                                                         January 2017, will be when the next
                                                                                                                                                         annual report is due. This will offer
                                                                                                                                                         the OPSO an opportunity to evaluate
                                                                                                                                                         the effectiveness of the EIS system.

                                                                                                                                                         Substantial Compliance Date:

                                                                                                                                                         January 2018, when the third annual
                                                                                                                                                         report is due, should give a clear
                                                                                                                                                         indication of the EIS system.

IV.A.5. Safety and Supervision Recognizing that some danger is inherent in a jail setting, OPSO shall take all reasonable measures to ensure that
prisoners are not subjected to harm or the risk of harm. At a minimum, OPSO shall do the following:
IV.A.5.a. Maintain security policies, procedures, and                                ✔       1. Written policies and procedures; table of contents       Responsible Party: Captain Peters
practices to provide a reasonably safe and secure                                                developed in collaboration with monitors. Policies
environment for prisoners and staff in accordance with                                           and procedures are consistent with accepted             General Information:
this Agreement.                                                                                  correctional practice, providing sufficient direction
                                                                                                 to line employees, supervisors, and managers, as        According to the Monitor’s Report
                                                                                                 well as provide the basis for training curriculum,      #6, OPSO, in conjunction with
                                                                                                 and staff accountability. Policies and procedures
                                                                                                                                                         VRJS, has drafted a large number
                                                                                                 available to all employees, volunteers, contractors
                                                                                                 as necessary.                                           of policies, and that the Consent
                                                                                                                  Table of contents                      Judgment requires the
                                                                                                                                                         development and implementation
                                                                                                                                                         of procedures and practices that
                                                                                                                                                         provide for adequate safety and
                                                                                                                                                         supervision. However, the level of
                                                                                                                                                         harm and risk of harm in the



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Section                    C      P     N                 Measures                   OPSO Compliance Plan
                                                                               Orleans Parish Jail system
                                                                               continues to be extremely high
                                                                               despite the Consent Judgment
                                                                               having been in place for since
                                                                               October 21, 2013.

                                                                               Desired Outcome: Policies,
                                                                               procedures and practices
                                                                               regarding inmate supervision,
                                                                               rounds, inspections, shakedowns
                                                                               and communication need to be
                                                                               finalized. Training materials need
                                                                               to developed and training
                                                                               completed.

                                                                               Compliance Tasks to be Completed:

                                                                               Task #1: Complete training on
                                                                               policies that have already been
                                                                               approved. Lesson plans/training
                                                                               materials have been completed
                                                                               for the following policies: 801.01
                                                                               – Inmate counts, 801.02 –
                                                                               Contraband Control, 801.03 –
                                                                               Inmate and Inmate Area Searches
                                                                               and 801.24 – Security Screening
                                                                               (materials prepared by VRJS for
                                                                               these policies – 4 hour block of
                                                                               instruction includes all policies
                                                                               listed above). Training sessions
                                                                               have begun for these policies in
                                                                               September 2016. Additionally,
                                                                               training materials have been
                                                                               completed for 801.05 – Inmate
                                                                               Observation Rounds (prepared by
                                                                               OPSO Compliance – 1 hour block
                                                                               of instruction). Completion by
                                                                               02/28/2016.




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                         Section                            C   P   N                         Measures                                 OPSO Compliance Plan
                                                                                                                                Task #2: Develop training
                                                                                                                                materials for the following
                                                                                                                                policies and complete the
                                                                                                                                necessary training: 801.05 – Pod
                                                                                                                                Operations/Administrative
                                                                                                                                Segregation and 801.22 – Cell
                                                                                                                                Inspections during Admission and
                                                                                                                                Release. Completion by
                                                                                                                                02/28/2016.

                                                                                                                                Task #3: Complete policies;
                                                                                                                                develop training materials and
                                                                                                                                complete necessary training for
                                                                                                                                the following policies: 801.04 –
                                                                                                                                Pod Operations/General
                                                                                                                                Population, 801.11 –
                                                                                                                                Inspections/Security and
                                                                                                                                Cleanliness, 801.18 – Radio and
                                                                                                                                Phone Communications, 801.33 –
                                                                                                                                Direct Supervision, 801.35 – Key
                                                                                                                                Control, 801.37 – Pod
                                                                                                                                Operations/Youthful Offenders
                                                                                                                                and 801.38 – Pod
                                                                                                                                Operations/Medical & Mental
                                                                                                                                Health. Completion by
                                                                                                                                04/30/2017.

                                                                                                                                Necessary Resources:

                                                                                                                                No additional resources required.

                                                                                                                                Substantial Compliance Date:

                                                                                                                                04/30/2017

IV.A.5.b. Maintain policies, procedures, and practices to           ✔   1.   Written policy and procedure regarding oversight   Responsible Party: Captain Peters
ensure the adequate supervision of prisoner work areas                       of inmate workers and trustees.
and trustees.                                                                                                                   General Information:
                                                                        2.   Written housekeeping plan.
                                                                        3.   Lesson plans/curriculum for employee training      OPSO does not currently have an


                                                                                                                                                       29
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                        Section                             C   P   N                            Measures                               OPSO Compliance Plan
                                                                        4.     Orientation of inmate workers.                    acceptable inmate worker policy,
                                                                        5.     Post orders for inmate worker supervisors         nor post orders.Develop and
                                                                        6.     Incident reports
                                                                                                                                 implement an adequate inmate
                                                                                                                                 worker policy, training materials,
                                                                        7.     Assignments of inmate workers.
                                                                                                                                 post orders and complete
                                                                        8.     Observation                                       necessary training.
                                                                                Interview with inmates; interviews with staff.
                                                                                                                                 Compliance Tasks to be Completed:

                                                                                                                                 Task #1: Draft an inmate worker
                                                                                                                                 policy (OPSO Policy # 801.32).
                                                                                                                                 Completion by 01/31/2017.

                                                                                                                                 Task #2: Develop Post Orders for
                                                                                                                                 Inmate Worker Posts. Completion
                                                                                                                                 by 01/31/2017.

                                                                                                                                 Task #3: Develop policy training
                                                                                                                                 materials and complete
                                                                                                                                 staff/inmate training. Completion
                                                                                                                                 by 04/30/2017.

                                                                                                                                 Necessary Resources:

                                                                                                                                 No additional resources required.

                                                                                                                                 Substantial Compliance Date:

                                                                                                                                 04/30/2017

IV.A.5.c. Maintain policies and procedures regarding care           ✔   1.     Written policies/procedures                       Responsible Party: Captain Peters
for and housing of protective custody prisoners and
prisoners requesting protection from harm.
                                                                        2.     Classification Plan
                                                                                                                                 General Information:
                                                                        3.     Housing Plan
                                                                        4.     Review of incident reports.                       OPSO Policy 801.05 (Pod
                                                                        5.     Review of access to mental health care, medical   Operations – Administrative
                                                                               care.                                             Segregation) has been completed
                                                                             Interview with employees; interviews with inmates   and was signed in September
                                                                                                                                 2016. OPSO needs to develop
                                                                                                                                 training materials for the



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                                                                                                                               following policy and complete the
                                                                                                                               necessary training: 801.05 – Pod
                                                                                                                               Operations/Administrative
                                                                                                                               Segregation.
                                                                                                                               Complete training materials and
                                                                                                                               staff training.

                                                                                                                               Compliance Tasks to be Completed:

                                                                                                                               Task #1: Develop training
                                                                                                                               materials for the following policy
                                                                                                                               and complete the necessary
                                                                                                                               training: 801.05 – Pod
                                                                                                                               Operations/Administrative
                                                                                                                               Segregation. Completion date of
                                                                                                                               02/28/2016.

                                                                                                                               Necessary Resources:

                                                                                                                               No additional resources required.

                                                                                                                               Substantial Compliance Date:

                                                                                                                               02/28/2016

IV.A.5.d. Continue to ensure that correctional officers              ✔   1.  Written policy/procedures governing rounds,       Responsible Party: Colonel Colvin
conduct appropriate rounds at least once during every 30-                    logging.
minute period, at irregular times, inside each general                                                                         General Information:
population housing unit and at least once during every 15-
                                                                         2. Review of housing unit logs/records,
minute period of special management prisoners, or more                   3. Post orders.                                       To ensure that the appropriate 30
often if necessary. All security rounds shall be                         4. Observations                                       or 15 minute security checks are
documented on forms or logs that do not contain pre-                     5. Interview with inmates; interviews with staff.
printed rounding times. In the alternative, OPSO may
                                                                                                                               being performed by OJC
                                                                          Review of documentation of the ‘watchman’ system.’   Corrections Deputies.
provide direct supervision of prisoners by posting a
correctional officer inside the day room area of a housing
unit to conduct surveillance.                                                                                                  Desired Outcome: The Assistant
                                                                                                                               Chief of Corrections through
                                                                                                                               subordinate Wardens and
                                                                                                                               Commanders shall ensure that
                                                                                                                               OJC is being properly toured by
                                                                                                                               the assigned Commanders, and



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                                                                               documented. During their
                                                                               Security/Wellness tours
                                                                               Commanders will observe
                                                                               deputies and their interactions
                                                                               with inmates; address any
                                                                               infractions but also to teach,
                                                                               advise, counsel their staff on the
                                                                               benefits of Direct Supervision
                                                                               generally and the benefit of good
                                                                               inter-personal communications
                                                                               with their assigned inmates
                                                                               specifically. OJC Commanders will
                                                                               read each unit’s computer activity
                                                                               log to ensure that appropriate
                                                                               rounds are being completed.
                                                                               Additionally, the Commander will
                                                                               speak to the unit deputy about
                                                                               their rounds and what’s been
                                                                               learned from them about their
                                                                               inmates. The Commander shall
                                                                               also interact with the inmates of
                                                                               that unit and form an opinion as
                                                                               to the level of contact the inmates
                                                                               are receiving from assigned
                                                                               deputies and address it with that
                                                                               Corrections Deputy.

                                                                               Compliance Tasks to be Completed:

                                                                               Task #1: Assistant Chief of
                                                                               Corrections issues directives to
                                                                               OJC Wardens that outline in detail
                                                                               the expectation of Commander
                                                                               Interaction in Units under their
                                                                               command, and the degree of
                                                                               deputy/inmate contact in all
                                                                               direct supervision units.

                                                                               Necessary Resources:



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                                                                                                                                   No additional resources required.

                                                                                                                                   Substantial Compliance Date:

                                                                                                                                   04/01/2017 - Every (90) days: Review
                                                                                                                                   of “Intercom Button” report, Review
                                                                                                                                   of “Watch Tour” System, Audit of Unit
                                                                                                                                   Activity Logs looking for rounds
                                                                                                                                   completed.

IV.A.5.e. Staff shall provide direct supervision in housing           ✔   1.   Written policy/procedures for management of         Responsible Party: Colonel Colvin
units that are designed for this type of supervision. Video                    direct supervision housing units
surveillance may be used to supplement, but must not be                                                                            General Information:
used to replace, rounds by correctional officers.
                                                                          2.   Lesson plans/curriculum, training materials.
                                                                          3.   Written policy/procedures governing video
                                                                                                                                   The consistent practice of Direct
                                                                               surveillance, including installation, maintenance
                                                                               and repair.                                         Supervision style prisoner
                                                                                                                                   management shall be adhered to
                                                                          4.   Observation
                                                                                                                                   by all OJC Commanders and
                                                                          5.   Interview with inmates; interviews with staff.
                                                                                                                                   subordinate Corrections Deputies;
                                                                                                 Post orders.
                                                                                                                                   and to ensure that the mandatory
                                                                                                                                   Security/Wellness checks are
                                                                                                                                   being completed and
                                                                                                                                   appropriately recorded as
                                                                                                                                   required by policy 801.06.

                                                                                                                                   Policy 801.06 is a well crafted,
                                                                                                                                   comprehensive directive
                                                                                                                                   addressing both fundamental and
                                                                                                                                   contingency requirements of
                                                                                                                                   assigned OJC deputies and their
                                                                                                                                   commanders related to inmate
                                                                                                                                   observations. Knowing that all
                                                                                                                                   training is primarily based on in-
                                                                                                                                   force policies and procedures
                                                                                                                                   related to the subject matter- but
                                                                                                                                   augmented by professional
                                                                                                                                   standards provided by some other
                                                                                                                                   qualified agency such as the
                                                                                                                                   Department of Justice’s


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                                                                               National Institute of Corrections,
                                                                               the American Jail Association, the
                                                                               National Sheriff’s Association etc.
                                                                               801.06 could be revised to include
                                                                               the core competencies of Direct
                                                                               Supervision to balance and
                                                                               underscore this policy’s
                                                                               observation requirements, we do
                                                                               not conduct rounds only to
                                                                               observe inmates. In a direct
                                                                               supervision facility we conduct
                                                                               rounds to interact and
                                                                               communicate with our inmates.

                                                                               Desired Outcome: To achieve a
                                                                               state of jail operations where
                                                                               direct supervision core objectives
                                                                               are practiced throughout the
                                                                               facility.

                                                                               Achieving this operational goal
                                                                               can be assisted by the revision of
                                                                               policy 801.06 for the purpose of
                                                                               adding the core competencies of
                                                                               Direct Supervision to the
                                                                               document so that all staff
                                                                               referencing this directive review
                                                                               and understand that the purpose
                                                                               of Security Observation Rounds is
                                                                               to ensure unit safety and stability
                                                                               and that this is achieved to a
                                                                               greater degree by taking the time
                                                                               to interact with all inmates
                                                                               assigned to their custody while
                                                                               engaged in rounds.

                                                                               Compliance Tasks to be Completed:

                                                                               Task #1: Revise Policy 801.06.


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                                                                                                                                 Task #2: Complete Training on
                                                                                                                                 the added Direct Supervision
                                                                                                                                 language-requirements. This will
                                                                                                                                 be achieved in a 1 to 1.5 hour
                                                                                                                                 block of instruction delivered at
                                                                                                                                 OJC prior to assuming duty. This
                                                                                                                                 period of instruction will be
                                                                                                                                 scheduled on a weekly basis until
                                                                                                                                 all staff have received the training
                                                                                                                                 and passed a Pre/Post
                                                                                                                                 competency test on the subject
                                                                                                                                 matter.

                                                                                                                                 Necessary Resources:

                                                                                                                                 A minimum amount of staff
                                                                                                                                 Overtime will be generated by
                                                                                                                                 this task.

                                                                                                                                 Benchmark Dates:

                                                                                                                                 Task #1 50% completion by
                                                                                                                                 12/15/2016 and substantial
                                                                                                                                 completion by 01/02/2017.

                                                                                                                                 Task #2 50% completion by
                                                                                                                                 02/20/2017 and substantial
                                                                                                                                 completion by 04/01/2017.

                                                                                                                                 Substantial Compliance Date:

                                                                                                                                 04/01/2017

IV.A.5.f. Increase the use of overhead video surveillance       ✔       1.   Written policy/procedures governing video           Responsible Party: Colonel Colvin
and recording cameras to provide adequate coverage                           surveillance, including installation, maintenance
throughout the common areas of the Jail, including the                       and repair.                                         General Information:
Intake Processing Center, all divisions’ intake areas,
mental health units, special management units, prisoner
                                                                        2.   Written confirmation of the location of cameras,
                                                                             termination of cameras.                             To ensure 24/7 Video
housing units, and in the divisions’ common areas.                                                                               Surveillance through the
                                                                        3.   Post orders



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                                                                           4.    Observation of operations, cameras.                    continued monitoring and
                                                                           5.    Interview with inmates; interviews with staff.         recording of OJC’s (857) Digital
                                                                                Records of installation, repair contracts, records of   Monitors/Recorders.
                                                                                                      repairs.
                                                                                                                                        Desired Outcome: Continue to
                                                                                                                                        provide required coverage of
                                                                                                                                        OJC’s Surveillance Array.

                                                                                                                                        Compliance Tasks to be Completed:

                                                                                                                                        Task #1: Continue to maintain
                                                                                                                                        current Video Surveillance Array
                                                                                                                                        totaling 857 cameras.

                                                                                                                                        Necessary Resources:

                                                                                                                                        No additional resources required.

                                                                                                                                        Benchmark Dates:

                                                                                                                                        Already completed.

                                                                                                                                        Substantial Compliance Date:

                                                                                                                                        12/30/2016

IV.A.5.g. Continue to ensure that correctional officers,               ✔   1.    Written policies/procedures governing each             Responsible Party: Colonel Colvin
who are transferred from one division to another, are                            division’s post responsibilities. Divisional SOP, if
required to attend training on division-specific post orders                     relevant.                                              General Information:
before working on the unit.
                                                                           2.    Lesson plans, training materials, evidence of
                                                                                 training, evidence of knowledge gained.                To ensure that Deputies
                                                                           3.    Post orders.                                           transferring between divisions
                                                                                                                                        are trained on all post orders of
                                                                           4.    Observation
                                                                                  Interview with inmates; interviews with staff.        their assignment in the new
                                                                                                                                        division.

                                                                                                                                        Desired Outcome: Deputies
                                                                                                                                        transferred between divisions are
                                                                                                                                        to first be trained on all applicable
                                                                                                                                        Post Orders of their new



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                                                                               assignments. This Training may
                                                                               be Computer Based training.

                                                                               Compliance Tasks to be Completed:

                                                                               Task #1: The Training Policy
                                                                               reflects this requirement.

                                                                               Task #2: Training of Transferred
                                                                               Deputies on the rules, regulations
                                                                               and Post Orders of their new
                                                                               assignment. OJC Executive
                                                                               Commanders shall ensure that
                                                                               when a Deputy is transferred to
                                                                               them that they are
                                                                               Trained and can demonstrate
                                                                               competency on all post orders
                                                                               relating to their new assignment
                                                                               through computer based training
                                                                               and Pre/Post testing of subject
                                                                               matter.

                                                                               Necessary Resources:

                                                                               No additional resources required.

                                                                               Benchmark Dates:

                                                                               Task #1 50% completion date by
                                                                               01/02/2017 and substantial
                                                                               completion by 04/01/2017.

                                                                               Task #2 50% completion date by
                                                                               01/02/2017 and substantial
                                                                               completion by 04/01/2017.

                                                                               Substantial Compliance Date:

                                                                               04/01/2017




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                           Section                            C   P   N                         Measures                                 OPSO Compliance Plan
IV.A.5.h. Continue to ensure that correctional officers               ✔   1.  Written policies/procedures governing the            Responsible Party: Colonel Colvin
assigned to special management units, which include                           operation of special management units.
youth tiers, mental health tiers, disciplinary segregation,                                                                        General Information:
and protective custody, receive eight hours of specialized
                                                                          2. Specialized training lesson plans, documentation of
                                                                              training conducted; evidence of knowledge gained.
training regarding such units on prisoner safety and                                                                               Ensure that Corrections Deputies
                                                                              Evidence of annual training. Evidence training
security on at least an annual basis.                                                                                              assigned to work in Special
                                                                              completed before assignment.
                                                                          3. Instructor qualifications/training.                   Housing Units receive at a
                                                                          Documentation/matrix of assignments noting specialized   minimum (8) Hours of Special
                                                                                         training completed/date.                  Population Management training
                                                                                                                                   annually.

                                                                                                                                   Desired Outcome: OJC Deputies
                                                                                                                                   assigned to work any of the
                                                                                                                                   Special Population Units are
                                                                                                                                   provided with at a minimum (8)
                                                                                                                                   Hours of Training where the
                                                                                                                                   subject matter is specific to the
                                                                                                                                   deputy’s assigned unit (Youth
                                                                                                                                   Offender, Disciplinary
                                                                                                                                   Segregation, Protective Custody
                                                                                                                                   or Mental Health.)

                                                                                                                                   The Chief of Corrections shall
                                                                                                                                   ensure that the Commander of the
                                                                                                                                   Training Unit has programmed
                                                                                                                                   the required Subject matter into
                                                                                                                                   the annual training plan. Youth
                                                                                                                                   Offender and Mental Health
                                                                                                                                   Subjects will be delivered by
                                                                                                                                   Subject matter experts from those
                                                                                                                                   disciplines.

                                                                                                                                   Compliance Tasks to be Completed:

                                                                                                                                   Task #1: Ensure that this
                                                                                                                                   requirement is codified in the
                                                                                                                                   training policy of OPSO.

                                                                                                                                   Task #2: Department Training



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                          Section                           C   P   N               Measures                    OPSO Compliance Plan
                                                                                                         Commander Incorporates (8)
                                                                                                         Hours of Specialized Training for
                                                                                                         those OJC Corrections Deputies
                                                                                                         assigned to units housing: Youth
                                                                                                         Offenders, Mental Health,
                                                                                                         Disciplinary Segregation and
                                                                                                         Protective Custody. This Training
                                                                                                         may be Computer based.

                                                                                                         Necessary Resources:

                                                                                                         No additional resources required.

                                                                                                         Benchmark Dates:

                                                                                                         Task #1 50% completion date by
                                                                                                         01/15/2017 and substantial
                                                                                                         completion by 04/01/2017.

                                                                                                         Task #2 50% completion date by
                                                                                                         01/15/2017 and substantial
                                                                                                         completion by 04/01/2017.

                                                                                                         Substantial Compliance Date:

                                                                                                         04/01/2017

IV.A.5.i. Continue to ensure that supervisors conduct           ✔                  See IV.A.5.d.         Responsible Party: Colonel Colvin
daily rounds on each shift in the prisoner housing units,
and document the results of their rounds.                                                                General Information:

                                                                                                         Continue to Comply with all 800
                                                                                                         series Policy and Procedures,
                                                                                                         specifically policy 801.06
                                                                                                         Observation Rounds.

                                                                                                         Desired Outcome: Continued
                                                                                                         compliance with this standard.

                                                                                                         Compliance Tasks to be Completed:



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                         Section                        C   P    N                          Measures                                   OPSO Compliance Plan

                                                                                                                                Task #1: Ensure that assigned
                                                                                                                                Commanders are conducting and
                                                                                                                                documenting the required
                                                                                                                                Security Rounds on all shifts of
                                                                                                                                OJC.

                                                                                                                                Necessary Resources:

                                                                                                                                No additional resources required.

                                                                                                                                Benchmark Dates:

                                                                                                                                Already completed.

                                                                                                                                Substantial Compliance Date:

                                                                                                                                12/31/2016

IV.A.5.j. Continue to ensure that staff conduct daily            ✔    1.   Written policies/procedures governing condition of   Responsible Party: Colonel Colvin
inspections of cells and common areas of the housing                       cells and common areas, inspection process,
units to protect prisoners from unreasonable harm or                       documentation, etc.                                  General Information:
unreasonable risk of harm.
                                                                      2.   Written housekeeping plan.
                                                                                                                                Supervise and monitor inmate
                                                                      3.   Lesson plans, training, for staff.
                                                                                                                                activities and behavior to ensure a
                                                                      4.   Post orders.
                                                                                                                                safe and controlled environment.
                                                                      5.   Orientation, training for inmate workers.
                                                                      6.   Inspection reports                                   Desired Outcome: OJC Deputies
                                                                      7.   Observation                                          and Commanders effectively
                                                                            Interview with inmates; interviews with staff.      practice a Direct Supervision
                                                                                                                                Model and do so with a working
                                                                                                                                knowledge of applicable rules,
                                                                                                                                regulations, procedures and
                                                                                                                                applicable laws.

                                                                                                                                If these requirements are
                                                                                                                                complied with a Direct
                                                                                                                                Supervision Deputy shall always
                                                                                                                                be in the unit, accessible to all
                                                                                                                                Inmates housed there, ensuring a



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                                                                               high degree of safety and stability.

                                                                               Deputies will annotate in their
                                                                               shift activity reports of the
                                                                               completion of at a minimum 30
                                                                               minute unit tours, cell searches
                                                                               and search of common areas.

                                                                               OJC Watch and Line Commanders
                                                                               lead by example with regard to
                                                                               constant and unfettered
                                                                               communication with the Prisoner
                                                                               Population of the Orleans Justice
                                                                               Center. These Commanders
                                                                               ensure that assigned Deputies
                                                                               Understand and utilize effective
                                                                               Inter-Personal Communications
                                                                               at every opportunity when
                                                                               speaking to inmates.

                                                                               Compliance Tasks to be Completed:

                                                                               Task #1: The Assistant Chief of
                                                                               Corrections through subordinate
                                                                               Wardens and Commanders shall
                                                                               ensure that OJC is being properly
                                                                               toured by the assigned
                                                                               Commanders, and documented.
                                                                               During their Security/Wellness
                                                                               tours Commanders will observe
                                                                               deputies and their interactions
                                                                               with inmates; address any
                                                                               infractions but also to teach,
                                                                               advise, counsel their staff on the
                                                                               benefits of Direct Supervision
                                                                               generally and the benefit of good
                                                                               inter-personal communications
                                                                               with their assigned inmate
                                                                               specifically.



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                                                                                                                                Ensure that Policy 801.06
                                                                                                                                “Observation Rounds” is taught
                                                                                                                                with a Pre/Post test administered
                                                                                                                                to all OJC Deputies and
                                                                                                                                Commanders within 90 days of
                                                                                                                                this report.

                                                                                                                                Audit by Administrative Warden
                                                                                                                                of the documented completion of
                                                                                                                                required Commander rounds on
                                                                                                                                all shifts at 60 day intervals.

                                                                                                                                Task #2: Administrative Warden
                                                                                                                                Audits Records.

                                                                                                                                Necessary Resources:

                                                                                                                                No additional resources required.

                                                                                                                                Benchmark Dates:

                                                                                                                                Task #1 50% completion date by
                                                                                                                                12/15/2016 with substantial
                                                                                                                                completion by 02/15/2017.

                                                                                                                                Task #2 50% completion date by
                                                                                                                                12/15/2016 with substantial
                                                                                                                                completion by 02/15/2017.

                                                                                                                                Substantial Compliance Date:

                                                                                                                                02/15/2017

IV.A.5.k. Continue to ensure that staff conduct random       ✔       1.   Written policy/procedures governing contraband,       Responsible Party: Colonel Colvin
monthly shakedowns of cells and common areas so that                      searches, seizure, inventory, security and analysis
prisoners do not possess or have access to dangerous                      of contraband.                                        General Information:
contraband.
                                                                     2.   Lesson plans, employees.
                                                                                                                                Search Prisoner Population for
                                                                     3.   Post orders
                                                                                                                                Contraband.



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                          Section                              C   P   N                          Measures                             OPSO Compliance Plan
                                                                           4.   Inmate orientation/handbook
                                                                           5.   Incident reports                                Desired Outcome: Methodical
                                                                           6.   Review of contraband log
                                                                                                                                Prisoner Search plan.
                                                                           7.   Observation                                     Compliance Tasks to be Completed:
                                                                           8.   Interview with inmates; interviews with staff
                                                                                      See also IV.A.5.b., IV.A.5.l. (1)(2)      Task #1: Warden of OJC to
                                                                                                                                envision, design and develop a
                                                                                                                                Search/Shakedown Plan for all of
                                                                                                                                OJC in compliance with OPSO
                                                                                                                                policies.

                                                                                                                                Necessary Resources:

                                                                                                                                No additional resources required.

                                                                                                                                Benchmark Dates:

                                                                                                                                March 15, 2017

                                                                                                                                Substantial Compliance Date:

                                                                                                                                October 15, 2017

IV.A.5.l. Provide the Monitor a periodic report of safety          ✔       1.   Written policy/procedure governing reports.     Responsible Party: Colonel Colvin
and supervision at the Facility. These periodic reports                                          2. Report.
shall be provided to the monitor within four months of the                                                                      General Information:
Effective Date; and every six months thereafter until
termination of this Agreement. Each report will provide                                                                         Provide Reports as Standard
the following information:                                                                                                      requires.
(1) a listing of special management prisoners, their
     housing assignments, the basis for them being placed
     in the specialized housing unit, and the date placed in                                                                    Desired Outcome: Provide
     the unit; and                                                                                                              Monitors with Bi-annual reports
(2) a listing of all contraband, including weapons seized,                                                                      on Special Management Prisoners
     the type of contraband, date of seizure, location, and                                                                     and Contraband.
     shift of seizure.
                                                                                                                                Compliance Tasks to be Completed:

                                                                                                                                Task #1: Author and file
                                                                                                                                required reports.



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                           Section                                C   P   N                          Measures                                OPSO Compliance Plan
                                                                                                                                       Necessary Resources:

                                                                                                                                       No additional resources required.

                                                                                                                                       Substantial Compliance Date:

                                                                                                                                       12/31/2016

IV.A.6. Security Staffing
IV.A.6.a. OPSO shall ensure that correctional staffing and        ✔           1.   Written policy/procedure governing staffing, and    Responsible Party: N/A
supervision is sufficient to adequately supervise prisoners,                       reporting as required by consent agreement.
fulfill the terms of this Agreement, and allow for the safe                   2.   Completion of a staffing analysis per               Substantial Compliance Date:
operation of the Facility, consistent with constitutional                          http://static.nicic.gov/Library/016827.pdf
standards. OPSO shall achieve adequate correctional                           3.   Staffing plan (existing and new facilities);        Already in compliance
officer staffing in the following manner:                                          recruiting plan.                                    (02/19/2016).
(1) Within 90 days of the Effective Date, develop a                           4.   Daily rosters
      staffing plan that will identify all posts and positions,               5.   Overtime records.
      the adequate number and qualification of staff to                       6.   Housing unit logs.
      cover each post and position, adequate shift relief,                    7.   Hiring of professional corrections administrators
      and coverage for vacations. The staffing plan will                           (CV). Post order/job description/organizational
      ensure that there is adequate coverage inside each                           chart.
      housing and specialized housing areas and to                                 Staffing report containing required information;
      accompany prisoners for court, visits and legal visits,                              conclusions; action plans, if any.
      and other operations of OPP and to comply with all
      provisions of this Agreement. OPSO will provide its
      plan to the Monitor, SPLC, and DOJ for approval.
      The Monitor, SPLC, or DOJ will have 60 days to
      raise any objections and recommend revisions to the
      staffing plan.
(2) Within 120 days before the opening of any new                 ✔                                                                    Responsible Party: N/A
      facility, submit a staffing plan consistent with
      subsection (1) above.                                                                                                            Substantial Compliance Date:

                                                                                                                                       We have been in compliance. The
                                                                                                                                       staffing plan was submitted to the
                                                                                                                                       Monitors prior to the opening of
                                                                                                                                       the OJC jail facility.

(3) Within 90 days after completion of the staffing               ✔                                                                    Responsible Party: N/A
    study, OPSO shall recruit and hire a full-time
    professional corrections administrator to analyze and                                                                              Substantial Compliance Date:
    review OPP operations. The professional




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                           Section                               C   P   N                          Measures                                   OPSO Compliance Plan
     corrections administrator shall report directly to the                                                                             In compliance as of May 2, 2016.
     Sheriff and shall have responsibilities to be
     determined by the Sheriff. The professional
     corrections administrator shall have at least the
     following qualifications: (a) a bachelor’s degree in
     criminal justice or other closely related field; (b) five
     years of experience in supervising a large
     correctional facility; and (c) knowledge of and
     experience in applying modern correctional
     standards, maintained through regular participation
     in corrections-related conferences or other
     continuing education.

(4) Provide the Monitor a periodic report on staffing                ✔                                                                  Responsible Party: Mr. Bruno
    levels at the Facility. These periodic reports shall be
    provided to the Monitor within four months of the                                                                                   General Information:
    Effective Date; and every six months thereafter until
    termination of this Agreement Each report will                                                                                      OPSO currently provides the
    include the following information:                                                                                                  monitors monthly staffing
         i.    a listing of each post and position needed;
        ii.    the number of hours needed for each post
                                                                                                                                        reports. I will review the
               and position;                                                                                                            submitted reports to ensure that
       iii.    a listing of staff hired and positions filled;                                                                           it contains all of the requested
       iv.     a listing of staff working overtime and the                                                                              information.
               amount of overtime worked by each staff
               member;                                                                                                                  Compliance Tasks to be Completed:
        v.     a listing of supervisors working overtime;
               and                                                                                                                      Task #1: Develop a reasonable
       vi.     a listing of and types of critical incidents                                                                             method to produce the requested
               reported.                                                                                                                overtime figures.

                                                                                                                                        Necessary Resources:

                                                                                                                                        No additional resources required.

                                                                                                                                        Substantial Compliance Date:

                                                                                                                                        03/31/2017

IV.A.6.b. Review the periodic report to determine                        ✔   1.   See IV.A.6.a                                          Responsible Party: Mr. Bruno
whether staffing is adequate to meet the requirements of                     2.   Updated of staffing plans, and shift relief factors
this Agreement. OPSO shall make recommendations                                   (every four years)                                    General Information:
regarding staffing based on this review. The review and                      3.   OPSO written recommendations regarding staffing;



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                       Section                           C   P   N                      Measures         OPSO Compliance Plan
recommendations will be documented and provided to the               requests for funding.         OPSO is currently understaffed.
Monitor.                                                                                           OPSO has engaged the services of
                                                                                                   a consultant to determine the
                                                                                                   staffing needs based on the
                                                                                                   population and setup of the
                                                                                                   facilities. Mr. Rod Miller is
                                                                                                   heading up this project and
                                                                                                   expects to be complete in the first
                                                                                                   quarter of 2017. The evaluation
                                                                                                   will include OJC as well as the
                                                                                                   courts.

                                                                                                   In the meantime OPSO is making
                                                                                                   every effort to get every non-
                                                                                                   commissioned officer their
                                                                                                   commission. This will provide
                                                                                                   them with a $6,000 increase in
                                                                                                   pay and also allow them to do
                                                                                                   details on their own time. OPSO is
                                                                                                   also putting in place an aggressive
                                                                                                   training plan to properly train the
                                                                                                   deputies in working in a direct
                                                                                                   supervision jail. OPSO believes
                                                                                                   that these measures will decrease
                                                                                                   increase the retention rate of our
                                                                                                   employees at OJC.

                                                                                                   Compliance Tasks to be Completed:

                                                                                                   Task #1: Complete and submit
                                                                                                   staffing report.

                                                                                                   Necessary Resources:

                                                                                                   No additional resources required.

                                                                                                   Benchmark Dates:

                                                                                                   First quarter of 2017.



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                           Section                               C   P   N                         Measures                                   OPSO Compliance Plan
                                                                                                                                       Substantial Compliance Date:

                                                                                                                                       To be determined.

IV.A.7 Incidents and Referrals
IV.A.7.a. OPSO shall develop and implement policies                  ✔       1.  Written policy/procedures governing an incident       Responsible Party: Captain Peters
that ensure that Facility watch commanders have                                  reporting system; including responsibilities for
knowledge of reportable incidents in OPP to take action                          reporting and documentation, time limits,             General Information:
in a timely manner to prevent harm to prisoners or take                          reviewers, etc.
other corrective action. At a minimum, OPSO shall do                         2. Lesson plans, curriculum, training for employees,      The OPSO Incident Reporting
the following:                                                                   list of attendees, regarding the incident reporting   Policy has been completed and
                                                                                 system, evidence of knowledge gained.                 approved by all parties to the
                                                                             Incident reports; actions taken by watch commanders to
                                                                                                                                       Consent Judgment. Policy-specific
                                                                                                   prevent harm.
                                                                                                                                       training is currently underway at
                                                                                                                                       the OPSO Training Academy. As
                                                                                                                                       mentioned above, Director
                                                                                                                                       Maynard is working on a plan to
                                                                                                                                       temporarily close down several
                                                                                                                                       housing units to focus on staff
                                                                                                                                       training.

                                                                                                                                       Compliance Tasks to be Completed:

                                                                                                                                       Task #1: Complete staff training.

                                                                                                                                       Necessary Resources:

                                                                                                                                       No additional resources required.

                                                                                                                                       Benchmark Dates:

                                                                                                                                       12/30/2016 for 50% completion.

                                                                                                                                       Substantial Compliance Date:

                                                                                                                                       02/17/2017 for substantial
                                                                                                                                       completion of training.

IV.A.7.b. Continue to ensure that Facility watch                     ✔       1.   Review of incident reports                           Responsible Party: Colonel Colvin
commanders document all reportable incidents by the end                      2.   Interviews of inmates; interviews of employees.
of their shift, but no later than 24 hours after the incident,               3.   Comparison on medical emergent reports and           General Information:



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                           Section                               C   P   N                          Measures                        OPSO Compliance Plan
including prisoner fights, rule violations, prisoner injuries,                    incident reports.
suicide attempts, cell extractions, medical emergencies,                     4.   Review of inmate disciplinary reports.     Maintain instrument to ensure
found contraband, vandalism, escapes and escape                              5.   Review of cell extractions.                reportable incidents are
attempts, and fires.                                                                    Summaries of reportable incidents.   documented within appropriate
                                                                                                                             time constraints.

                                                                                                                             Desired Outcome: Procedure for
                                                                                                                             Supervisors to follow to ensure
                                                                                                                             consistent and accurate reporting
                                                                                                                             of the events listed above.

                                                                                                                             Compliance Tasks to be Completed:

                                                                                                                             Task #1: Remain compliant with
                                                                                                                             all 801 Series Policies and
                                                                                                                             Procedures, with added focus on
                                                                                                                             801.16 and 801.21.

                                                                                                                             Necessary Resources:

                                                                                                                             No additional resources required.

                                                                                                                             Substantial Compliance Date:

                                                                                                                             12/31/2016

IV.A.7.c. Continue to ensure that Facility watch                     ✔       1.   See IV.A.7.a. and IV.A.3.b. (1) – (12)     Responsible Party: Colonel Colvin
commanders report all suicides and deaths no later than                      2.   Review of suicides and/or deaths.
one hour after the incident, to a supervisor, IAD, the                                     Review of incident reports.       General Information:
Special Operations Division, and medical and mental
health staff.                                                                                                                Comply with Policy 1201.07
                                                                                                                             “Inmate Suicide Risk Reduction”.

                                                                                                                             Desired Outcome: A professional
                                                                                                                             and factual investigation is
                                                                                                                             completed under policy 801.16.

                                                                                                                             Compliance Tasks to be Completed:

                                                                                                                             Task #1: Ensure that policy



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                                                                                                                                     1201.07 and policy 801.16 are
                                                                                                                                     fully complied with.

                                                                                                                                     Necessary Resources:

                                                                                                                                     No additional resources required.

                                                                                                                                     Substantial Compliance Date:

                                                                                                                                     12/31/2016

IV.A.7.d. Provide formal pre-service and annual in-                  ✔   1.   See IV.A.7.a.                                          Responsible Party: Lt. Navarro
service training on proper incident reporting policies and               2.   Lesson plans, training materials, evidence of
procedures.                                                                   knowledge gained. Evidence of remedial training.       General Information:
                                                                         3. Review of incident reports.
                                                                            Schedule of pre-service, in-service and specialized      Schedule OJC personnel to attend
                                                                          training for two years forward, including topics, dates,   in-service incident reporting
                                                                                                instructors.
                                                                                                                                     training. Dates have been
                                                                                                                                     provided and scheduling needs to
                                                                                                                                     be done to assure attendance.

                                                                                                                                     Desired Outcome: To complete
                                                                                                                                     training on the incident reporting
                                                                                                                                     policy.

                                                                                                                                     Compliance Tasks to be Completed:

                                                                                                                                     Task #1: To coordinate with OJC
                                                                                                                                     supervisors and schedule
                                                                                                                                     personnel to attend the incident
                                                                                                                                     reporting policy training.

                                                                                                                                     Necessary Resources:

                                                                                                                                     No additional resources required.

                                                                                                                                     Benchmark Dates:

                                                                                                                                     12/16/2016 for 50% completion.

                                                                                                                                     Substantial Compliance Date:



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                                                                                                                          01/13/2017

IV.A.7.e. Implement a policy providing that it is a           ✔       1.   See IV.A.7.a.                                  Responsible Party: Captain Peters
disciplinary infraction for staff to fail to report any               2.   Written policy/procedure, employee rules of
reportable incident that occurred on his or her shift.                     conduct; employee disciplinary procedures.     General Information:
Failure to formally report any observed prisoner injury               3.   Review of staff disciplinary actions.
may result in staff discipline, up to and including                   4.   Review of incident reports.                    The OPSO employee rules and
termination.                                                                        Interviews with employees.            regulations provide for this. We
                                                                                                                          are currently in the final stages of
                                                                                                                          revision of the employee
                                                                                                                          disciplinary policy.

                                                                                                                          Compliance Tasks to be Completed:

                                                                                                                          Task #1: Complete the revisions
                                                                                                                          to the employee disciplinary
                                                                                                                          policy and disseminate to staff.

                                                                                                                          Necessary Resources:

                                                                                                                          No additional resources required.

                                                                                                                          Benchmark Dates:

                                                                                                                          We are already partially
                                                                                                                          compliant.


                                                                                                                          Substantial Compliance Date:

                                                                                                                          February 15, 2017.

IV.A.7.f. Maintain a system to track all reportable           ✔       1.   See IV.A.7.a., IV.A.7.d.                       Responsible Party: Colonel Colvin
incidents that, at a minimum, includes the following
information:
                                                                      2.   Identification of incident reporting system,
                                                                           elements, formats.                             General Information:
(1) tracking number;
                                                                                     Review of incident reports.
(2) the prisoner(s) name;                                                                                                 Maintain incident tracking
(3) housing classification and location;                                                                                  system.
(4) date and time;
(5) type of incident;
(6) injuries to staff or prisoner;                                                                                        Desired Outcome: Ability to



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                            Section                          C   P   N                           Measures                                   OPSO Compliance Plan
(7)    medical care;                                                                                                                 capture and track the above listed
(8)    primary and secondary staff involved;                                                                                         data.
(9)    reviewing supervisor;
(10)   external reviews and results;                                                                                                 Compliance Tasks to be Completed:
(11)   corrective action taken; and
(12)   administrative sign-off.                                                                                                      Task #1: Purchase of New JMS
                                                                                                                                     System.

                                                                                                                                     Necessary Resources:

                                                                                                                                     Funding for new JMAS system.

                                                                                                                                     Benchmark Dates:

                                                                                                                                     Completed.

                                                                                                                                     Substantial Compliance Date:

                                                                                                                                     March 15, 2016

IV.A.7.g. Ensure that incident reports and prisoner              ✔       1.   See IV.A.7.a.                                          Responsible Party: Sgt. Verret
grievances are screened for allegations of staff
misconduct, and, if the incident or allegation meets
                                                                         2.   Written policy/procedure inmate grievance
                                                                              procedures                                             General Information:
established criteria in accordance with this Agreement, it
is referred for investigation.                                           3.   Review of investigations.
                                                                                                                                     The Grievance department will
                                                                         4.   Record of referrals for investigation; investigative   continue to screen all grievances
                                                                              reports.
                                                                                                                                     for allegations of staff misconduct
                                                                                         Interviews with inmates.
                                                                                                                                     daily and assign these grievances
                                                                                                                                     to the Internal Affairs Department
                                                                                                                                     /the Warden of the facility.
                                                                                                                                     Grievance clerks also maintain an
                                                                                                                                     electronic log of grievances
                                                                                                                                     assigned to I.A.D and I.S.B. which
                                                                                                                                     is provided to the Chief of
                                                                                                                                     Investigations weekly.

                                                                                                                                     Necessary Resources:

                                                                                                                                     One (1) additional staff member
                                                                                                                                     needed.



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                          Section                            C   P   N                          Measures                                  OPSO Compliance Plan
                                                                                                                                    Benchmark Dates:

                                                                                                                                    Already in partial compliance.

                                                                                                                                    Substantial Compliance Date:

                                                                                                                                    Pending the selection and
                                                                                                                                    implementation of a new JMAS
                                                                                                                                    System at OPSO.

IV.A.7.h. Provide the Monitor a periodic data report of          ✔       1.  See IV.A.7.a.                                          Responsible Party: Chief Laughlin
incidents at the Facility. These periodic reports shall be                Periodic written reports regarding incidents; analysis;
provided to the Monitor within four months of the                                    recommendations from OPSO.                     General Information:
Effective Date; and every six months thereafter until
termination of this Agreement.                                                                                                      The current Vantos system does not
                                                                                                                                    offer the ability to create this report.
                                                                                                                                    Therefore, Major Louque creates a
                                                                                                                                    report through his log sheets.

                                                                                                                                    Create a report that meets the
                                                                                                                                    expectations of the Monitors.

                                                                                                                                    Desired Outcome: Create a report
                                                                                                                                    that meets the requirements of this
                                                                                                                                    provision. Currently working with
                                                                                                                                    Major Louque to create a template
                                                                                                                                    that can be used. A new JMS that
                                                                                                                                    captures all the data and formats it
                                                                                                                                    into a useable report.

                                                                                                                                    The barrier would be our current
                                                                                                                                    JMS system. Currently, the OPSO
                                                                                                                                    is in the final stages of selecting a
                                                                                                                                    new vendor.

                                                                                                                                    Compliance Tasks to be Completed:

                                                                                                                                    Task #1: Creating a template that
                                                                                                                                    meets all the requirements of this



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                         Section                           C   P   N                        Measures                              OPSO Compliance Plan
                                                                                                                           provision.

                                                                                                                           Task #2: Evaluating the collected
                                                                                                                           data for its accuracy.

                                                                                                                           Necessary Resources:

                                                                                                                           No additional resources required.

                                                                                                                           Benchmark Dates:

                                                                                                                           This provision is currently in
                                                                                                                           partial compliance.

                                                                                                                           Substantial Compliance Date:

                                                                                                                           The anticipated date of full
                                                                                                                           compliance is the last quarter of
                                                                                                                           2017. Major Louque is currently
                                                                                                                           working on a detailed report that
                                                                                                                           would meet this requirement.
                                                                                                                           There will be some back and forth
                                                                                                                           between OPSO and the monitors
                                                                                                                           until a report can be established.

                                                                                                                           The measurement would be a
                                                                                                                           report that can useful for the
                                                                                                                           OPSO. The report should have
                                                                                                                           specific data such as, but not
                                                                                                                           limited to, date, time, day of the
                                                                                                                           week, location, type of injury, type
                                                                                                                           of incident, name of inmate(s)
                                                                                                                           involved, and staff involved.

IV.A.7.i. The report will include the following                    ✔   1.   See IV.A.7.a., IV.A.7.h.                       Responsible Party: Chief Laughlin
information:
(1) a brief summary of all reportable incidents, by type
                                                                       2.   Written report.
                                                                                                                           General Information:
     and date;                                                         3.   Review of IAD and SOD records/investigations
(2) a description of all suicides and in-custody deaths,                               Summary of grievances.
                                                                                                                           Training the staff on the policy of
     including the date, name of prisoner, and housing                                                                     reporting incidents as well as the


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                        Section                       C   P   N                Measures                   OPSO Compliance Plan
    unit;                                                                                           importance of reporting all
(3) number of prisoner grievances screened for                                                      incidents.
    allegations of misconduct; and
(4) number of grievances referred to IAD or SOD for                                                 Ensure that all reportable
    investigation.
                                                                                                    incidents are properly
                                                                                                    investigated.

                                                                                                    Ensure failure to report any
                                                                                                    incident will result in discipline or
                                                                                                    remedial training.

                                                                                                    Submitting a detailed report
                                                                                                    regarding all reportable incidents.

                                                                                                    Accountability that all employees
                                                                                                    are trained on the proper
                                                                                                    procedures regarding incident
                                                                                                    reporting.

                                                                                                    Compliance Tasks to be Completed:

                                                                                                    Meet with the Administrative
                                                                                                    Warden to develop a reporting
                                                                                                    mechanism similar to the one
                                                                                                    used by ISB.

                                                                                                    Continue to receive the referral
                                                                                                    report from the Grievance
                                                                                                    Department, and ensure all
                                                                                                    referrals are investigated
                                                                                                    thoroughly.

                                                                                                    Ensure the Training Division
                                                                                                    collaborates with the facilities to
                                                                                                    ensure the training is completed
                                                                                                    in a timely manner.

                                                                                                    Necessary Resources:



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                                                                                                                               No additional staffing or funding is
                                                                                                                               required.

                                                                                                                               Benchmark Dates:

                                                                                                                               This should be in place by the end of
                                                                                                                               the first quarter of 2017. More
                                                                                                                               specific, we should have a report
                                                                                                                               evaluating all incidents of the first
                                                                                                                               quarter 2017 for review.

                                                                                                                               Substantial Compliance Date:

                                                                                                                               January 2018, we should be in full
                                                                                                                               compliance because by then the
                                                                                                                               monitors would have evaluated four
                                                                                                                               quarters, and an annual report.

IV.A.7.j. Conduct internal reviews of the periodic reports           ✔   1.   Written directive governing reporting.           Responsible Party: Chief Laughlin
to determine whether the incident reporting system is
ensuring that the constitutional rights of prisoners are
                                                                         2.   Written analysis of incident reporting system;
                                                                              OPSO recommendations.                            General Information:
respected. Review the quarterly report to determine
                                                                                     Submission of quarterly reports.
whether the incident reporting system is meeting the                                                                           Develop a report that will
requirements of this Agreement. OPSO shall make
recommendations regarding the reporting system or other                                                                        measure the performance of the
necessary changes in policy or staffing based on this                                                                          incident reporting system to
review. The review and recommendations will be                                                                                 ensure it meets the Constitutional
documented and provided to the Monitor.
                                                                                                                               Rights of prisoners.

                                                                                                                               Create and identify stakeholders
                                                                                                                               for a board that will evaluate the
                                                                                                                               periodic reports.

                                                                                                                               Have in place a board that will
                                                                                                                               effectively evaluate the periodic
                                                                                                                               reports on the incident reporting
                                                                                                                               system. The board will identify
                                                                                                                               strengths and weaknesses of the
                                                                                                                               system, and make
                                                                                                                               recommendations to the



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                                                                                                                                                          Compliance Director for his
                                                                                                                                                          review.

                                                                                                                                                          Compliance Tasks to be Completed:

                                                                                                                                                          Develop the criteria needed for
                                                                                                                                                          the internal review of the incident
                                                                                                                                                          reporting system.

                                                                                                                                                          Identify key stakeholders to be
                                                                                                                                                          appointed to the review board.

                                                                                                                                                          Necessary Resources:

                                                                                                                                                          No additional staffing or funding is
                                                                                                                                                          needed to complete this task.

                                                                                                                                                          Benchmark Dates:

                                                                                                                                                          This should be in place by the end of
                                                                                                                                                          the first quarter of 2017. Within the
                                                                                                                                                          quarterly report, we can add section
                                                                                                                                                          discussing the performance of the
                                                                                                                                                          incident reporting system.

                                                                                                                                                          Substantial Compliance Date:

                                                                                                                                                          January 2018, we should be in full
                                                                                                                                                          compliance because by then the
                                                                                                                                                          monitors would have evaluated four
                                                                                                                                                          quarters, and an annual report which
                                                                                                                                                          will contain a section on the
                                                                                                                                                          performance of the incident reporting
                                                                                                                                                          system.

IV.A.8. Investigations OPSO shall ensure that it has sufficient staff to identify, investigate, and make recommendations correcting misconduct that
has or may lead to a violation of the Constitution. At a minimum, OPSO shall:
IV.A.8.a. Maintain implementation of comprehensive                          ✔                     1. Written policy/procedures governing investigations   Responsible Party: Chief Laughlin
policies, procedures, and practices for the timely and                                                (SOD and IAD) in accordance with generally
thorough investigation of alleged staff misconduct, sexual                                            accepted correctional practice and Louisiana        General Information:
assaults, and physical assaults of prisoners resulting in                                             statute; reporting requirements, and training




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                            Section                          C   P   N                           Measures                                    OPSO Compliance Plan
serious injury, in accordance with this Agreement.                            requirements for those newly assigned to the units,     OPSO has already completed and
Investigations shall:                                                         annual training and specialized training.               submitted the ISB SOP’s which
(1) be conducted by persons who do not have conflicts                    2.   Memorandum of agreement, prosecutor, sexual             address all of these provisions.
     of interest that bear on the partiality of the                           assault treatment center.
     investigation;
                                                                                                                                      The SOP’s have been approved by
                                                                         3.   List of employees assigned to IAD/SOD.
(2) include timely, thorough, and documented interviews                  4.   Post orders/job descriptions.                           all parties to the Consent
     of all relevant staff and prisoners who were involved               5.   Lesson plans, curriculum, training materials, list of   Judgment.
     in or who witnessed the incident in question, to the                     those trained; evidence of knowledge gained.
     extent practicable; and                                             6.   Review of IAD and SOD investigations.                   Compliance Tasks to be Completed:
(3) include all supporting evidence, including logs,                     7.   See also PREA standards 115.371-.373.
     witness and participant statements, references to                   8.   Inmate interviews.                                      No additional task necessary. ISB
     policies and procedures relevant to the incident,                         Inmate grievances re: retaliation. Third party         is to continue to operate under
     physical evidence, and video or audio recordings.                                    complaints re: retaliation.                 the approved SOP’s.

                                                                                                                                      Necessary Resources:

                                                                                                                                      No additional resources required.

                                                                                                                                      Benchmark Dates:

                                                                                                                                      OPSO believes they are currently
                                                                                                                                      in compliance with these
                                                                                                                                      provisions.

                                                                                                                                      Substantial Compliance Date:

                                                                                                                                      12/15/2016

IV.A.8.b. Continue to provide SOD and IAD staff with             ✔       1.   See IV.A.8.a. (1)-(3)                                   Responsible Party: Chief Laughlin
pre-service and annual in-service training on appropriate
investigation policies and procedures, the investigation                 2.   See also PREA standard 115.334
                                                                                                                                      General Information:
tracking process, investigatory interviewing techniques,                 3.   Note: monitors will review all policies,
and confidentiality requirements                                              procedures, lesson plans/curriculum prior to            All ISB agents are required to
                                                                              implementation.
                                                                                            Inmate interviews
                                                                                                                                      attend all OPSO annual in-service
                                                                                                                                      training. ISB agents receive an
                                                                                                                                      additional 8 hours of PREA
                                                                                                                                      Training.

                                                                                                                                      ISB/SOP have been approved and
                                                                                                                                      put in place to assist with
                                                                                                                                      investigations.



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                         Section                              C   P   N                         Measures                                 OPSO Compliance Plan

                                                                                                                                  ISB agents will continue to receive
                                                                                                                                  annual in-service training as well
                                                                                                                                  as additional training when
                                                                                                                                  available.

                                                                                                                                  Substantial Compliance Date:

                                                                                                                                  Currently in compliance.

IV.A.8.c. Ensure that any investigative report indicating         ✔       1.   See IV.A.8. (1)-(3)                                Responsible Party: Chief Laughlin
possible criminal behavior will be referred to IAD/SOD
and then referred to the Orleans Parish District Attorney’s               2.   Memorandum of agreement with prosecutor.
                                                                                                                                  General Information:
Office, if appropriate.                                                        Evidence of case review meetings; record of
                                                                               declinations of prosecution.
                                                                                                                                  This provision is currently being
                                                                          3.   Interview with prosecutor.
                                                                                                                                  adhered to.
                                                                               Review of employee disciplinary/terminations.
                                                                                                                                  Substantial Compliance Date:

                                                                                                                                  Currently in compliance.

IV.A.8.d. Provide the Monitor a periodic report of                ✔       1. See IV.A.8. (1)-(3)                                  Responsible Party:
investigations conducted at the Facility. These periodic                   Report to Monitor; recommendations; plans of action.
reports shall be provided to the Monitor within four                                                                              Colonel Colvin/Chief Laughlin
months of the Effective Date; and every six months
thereafter until termination of this Agreement.                                                                                   General Information:

                                                                                                                                  The Investigative Services Bureau
                                                                                                                                  currently submits spreadsheets of
                                                                                                                                  all investigations conducted by
                                                                                                                                  the sub-units within the division.

                                                                                                                                  Major Louque, the OJC
                                                                                                                                  Administrative Warden, has
                                                                                                                                  developed detailed statistical
                                                                                                                                  reports of all incidents and
                                                                                                                                  investigations conducted within
                                                                                                                                  the facility.

                                                                                                                                  Compliance Tasks to be Completed:




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                         Section                              C   P   N             Measures                   OPSO Compliance Plan
                                                                                                        Task #1: Begin submitting new
                                                                                                        OJC reports.

                                                                                                        Necessary Resources:

                                                                                                        No additional resources needed.

                                                                                                        Substantial Compliance Date:

                                                                                                        Compliance after next official
                                                                                                        reporting period.

IV.A.8.e. The report will include the following                   ✔               See IV.A.8.c, d.      Responsible Party: Chief Laughlin
information:
(1) a brief summary of all completed investigations, by                                                 General Information:
     type and date;
(2) a listing of investigations referred for administrative                                             Continue to conduct all
     investigation;
(3) a listing of all investigations referred to an                                                      investigations assigned to ISB.
     appropriate law enforcement agency and the name of
     the agency; and                                                                                    Desired Outcome: Ensure that ISB
(4) a listing of all staff suspended, terminated, arrested,                                             agents are conducting
     or reassigned because of misconduct or violations of
                                                                                                        investigations in a timely manner.
     policy and procedures. This list must also contain
     the specific misconduct and/or violation.
                                                                                                        Ensure that all investigations
                                                                                                        resulting in an arrest are
                                                                                                        forwarded to the District
                                                                                                        Attorney’s office within the
                                                                                                        allotted timeframe.

                                                                                                        The only possible barrier would
                                                                                                        be if any of the facilities failed to
                                                                                                        notify ISB of an incident that
                                                                                                        needed to be investigated.

                                                                                                        Compliance Tasks to be Completed:

                                                                                                        Continue to provide the monitors
                                                                                                        accurate spreadsheets containing


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                        Section                             C   P   N                          Measures                                 OPSO Compliance Plan
                                                                                                                                 1 through 4 listed above.

                                                                                                                                 Necessary Resources:

                                                                                                                                 No additional resources required.

                                                                                                                                 Benchmark Dates:

                                                                                                                                 Already in partial compliance.

                                                                                                                                 Substantial Compliance Date:

                                                                                                                                 The anticipated date of full
                                                                                                                                 compliance is March 2017. ISB
                                                                                                                                 investigates any and all
                                                                                                                                 complaints to its fullest. There is
                                                                                                                                 excellent communication between
                                                                                                                                 FIT, IAD Admin, IAD Criminal,
                                                                                                                                 Intel, and Investigations. ISB
                                                                                                                                 continues to close its caseload
                                                                                                                                 with arrest, and referrals to the
                                                                                                                                 District Attorney’s Office. ISB has
                                                                                                                                 recently arrested – after
                                                                                                                                 consultation with the District
                                                                                                                                 Attorney’s Office – two
                                                                                                                                 employees.

                                                                                                                                 The measurement would be to
                                                                                                                                 continue our collaboration with
                                                                                                                                 the District Attorney’s Office
                                                                                                                                 regarding arrest and referrals.
                                                                                                                                 Furthermore, to investigate each
                                                                                                                                 complaint or incident to the
                                                                                                                                 fullest both criminally and
                                                                                                                                 administratively.

IV.A.8.f. OPSO shall review the periodic report to              ✔       1.     Record of OPSO’s review; recommendations; plans   Responsible Party: Chief Laughlin
determine whether the investigation system is meeting the                      of action.
requirements of this Agreement and make                                      Evidence of implemented change based on findings,   General Information:
recommendations regarding the investigation system or                                 recommendations, plans of action.



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                         Section                          C   P   N              Measures                    OPSO Compliance Plan
other necessary changes in policy based on this review.                                               Ensure required reports
The review and recommendations will be documented                                                     pertaining to investigations are
and provided to the Monitor.
                                                                                                      provided to the monitors for
                                                                                                      review.

                                                                                                      Desired Outcome: Ensure that all
                                                                                                      information provided in the ISB
                                                                                                      spreadsheets is accurate.

                                                                                                      Compliance Tasks to be Completed:

                                                                                                      Task #1: Continue to review our
                                                                                                      agent’s reports to ensure they are
                                                                                                      conducting quality, accurate, and
                                                                                                      complete investigations.

                                                                                                      Task #2: Continue to make
                                                                                                      changes to our spreadsheets to
                                                                                                      provide additional analysis of the
                                                                                                      data provided.

                                                                                                      Necessary Resources:

                                                                                                      No additional resources required.

                                                                                                      Benchmark Dates:

                                                                                                      Already in partial compliance
                                                                                                      with this provision.

                                                                                                      Substantial Compliance Date:

                                                                                                      The anticipated date of full
                                                                                                      compliance is June 2017.

                                                                                                      A measurement of compliance
                                                                                                      will be verification and
                                                                                                      confirmation of the ISB


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                          Section                               C   P   N                          Measures                                   OPSO Compliance Plan
                                                                                                                                       investigations as it relates to
                                                                                                                                       OPSO policies and procedures.

IV.A.9. Pretrial Placement in Alternative Settings
IV.A.9.a. OPSO shall maintain its role of providing space                   1.   Memorandum of understanding (MOU) with Pre-           Responsible Party: N/A
and security to facilitate interviews conducted pursuant to     ✔                Trial Services.
the City’s pretrial release program, which is intended to                                                                              Substantial Compliance Date:
ensure placement in the least restrictive appropriate
                                                                            2.   Observation
placement consistent with public safety.                                    3.   Interview with pre-trial services staff
                                                                                                                                       Already in compliance with this
                                                                            4.   Review of files                                       provision as of 02/19/2016.
                                                                                   Review of data regarding pre-trial diversion
IV.A.9.b. OPSO shall create a system to ensure that it                      1.   Written policy/procedures regarding inmate record     Responsible Party: N/A
does not unlawfully confine prisoners whose sole detainer       ✔                keeping, and release.
is by Immigration and Customs Enforcement (“ICE”),                                                                                     Substantial Compliance Date:
where the detainer has expired.
                                                                            2.   List of inmates with ICE detainees and length of
                                                                                 time in custody.
                                                                                                                                       Already in compliance with this
                                                                            3.   Classification plan/policies/procedures
                                                                                         Review of inmate release record.              provision as of 02/19/2016.

IV.A.10. Custodial Placement within OPP
IV.A.10.a. OPP shall implement an objective and                 ✔           1.  Written policy/procedure governing the intake,         Responsible Party: Lt. Holliday
validated classification system that assigns prisoners to                       booking, classification and re-classification
housing units by security levels, among other valid                             process, including how updates to the system           Substantial Compliance Date:
factors, in order to protect prisoners from unreasonable                        required to provide for a reliable and valid
risk of harm. The system shall include: consideration of a                      classification system for OPSO current inmate          Already in compliance with this
prisoner’s security needs, severity of the current charge,                      populations are implemented, and who is                provision as of 02/19/2016.
types of prior commitments, suicide risk, history of                            accountable for the process
escape attempts, history of violence, gang affiliations, and
special needs, including mental illness, gender identity,
                                                                            2. Report including a statistical validation of the
                                                                                OPSO current custody classification system that
age, and education requirements. OPSO shall anticipate
                                                                                includes statistical assessment of the risk and need
periods of unusual intake volume and schedule sufficient
                                                                                factors of the inmate populations by gender and
classification staff to classify prisoners within 24 hours of
                                                                                race.
booking and perform prisoner reclassifications, assist
eligible DOC prisoners with re-entry assistance (release                    3. Implementation of the identified updates to the
preparation), among other duties related to case                                classification system as measured by an electronic
management.                                                                     file with the completed custody assessments based
                                                                                on the revised custody assessment instruments and
                                                                                housing assignment for OPSO population as if date
                                                                                specified by Monitor
                                                                            4. Report documenting staffing needs required to
                                                                                ensure integrity of the updated classification and
                                                                                case management systems.
                                                                            Implementation of viable classification/case



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                          Section                           C   P   N                         Measures                                      OPSO Compliance Plan
                                                                        management staffing plans. (Staffing plan to be
                                                                        approved by Monitor prior to implementation.)
IV.A.10.b. Prohibit classifications based solely on race,   ✔           1.    Implementation of a valid classification system        Responsible Party: Lt. Holliday
color, national origin, or ethnicity.                                         based on the objective and reliable risk and need
                                                                              factors of the OPSO inmate populations as              Substantial Compliance Date:
                                                                              documented by a written report on the
                                                                              design/validation of the revised classification        Already in compliance with this
                                                                              system and electronic file of custody assessments      provision as of 02/19/2016.
                                                                              (see a.3).
                                                                        Provide a quarterly report that tracks custody
                                                                        distributions by housing unit race, and gender to the
                                                                        Monitor.
IV.A.10.c. Ensure that the classification staff has             ✔       1.   Develop and implement a housing unit assignment         Responsible Party: Lt. Holliday
sufficient access to current information regarding cell                      plan that outlines the mission, number of beds and
availability in each division.                                               custody level(s) for each OPSO housing unit.            General Information:
                                                                        Provide a report of the daily counts to the classification
                                                                        housing staff as to the number of occupied, vacancy, and     When a cell goes into a state of
                                                                        out-of-order beds per pod per housing unit with              disrepair, whether from an act of
                                                                        electronic copies of the daily reports report shall be       vandalism (ex. -broken glass) or
                                                                        provided to the Monitor.                                     from something malfunctioning
                                                                                                                                     (ex. broken toilet) Classification
                                                                                                                                     was previously not always
                                                                                                                                     notified to close the cell and/or
                                                                                                                                     reopen after repair.

                                                                                                                                     Desired Outcome: Classification
                                                                                                                                     Division will immediately be
                                                                                                                                     notified of any physical plant
                                                                                                                                     issues that would be cause for the
                                                                                                                                     closure of a cell or the reopening
                                                                                                                                     of a cell, post repair.

                                                                                                                                     Compliance Tasks to be Completed:

                                                                                                                                     Continue to work the newly
                                                                                                                                     implemented system of tracking
                                                                                                                                     any issue that does or could affect
                                                                                                                                     a cell’s occupancy in the housing
                                                                                                                                     units. - There is a feature within
                                                                                                                                     the JMS called the Closed Cell



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                         Section                             C   P   N                          Measures                                    OPSO Compliance Plan
                                                                                                                                     Program Report. It allows the end
                                                                                                                                     user to turn a cell on or off
                                                                                                                                     relative to the cell’s availability
                                                                                                                                     for assignment by the Objective
                                                                                                                                     Classification Instrument.
                                                                                                                                     Classification’s Shift Leaders have
                                                                                                                                     been trained and given access to
                                                                                                                                     the JMS program. I also created a
                                                                                                                                     spreadsheet Cell Report in which
                                                                                                                                     we do an audit of the units once a
                                                                                                                                     week to check the status of all of
                                                                                                                                     the cells in the building, including
                                                                                                                                     the cells that are pending repairs.
                                                                                                                                     Any relative discoveries or
                                                                                                                                     information that affects a cell
                                                                                                                                     within the housing units is also
                                                                                                                                     communicated between Plant
                                                                                                                                     Control / Maintenance Division
                                                                                                                                     and Classification Division.

                                                                                                                                     Necessary Resources:

                                                                                                                                     None as the tools (JMS program
                                                                                                                                     and documents) are already
                                                                                                                                     created. No additional staffing
                                                                                                                                     needed to complete this task.

                                                                                                                                     Substantial Compliance Date:

                                                                                                                                     Complete / ongoing.

IV.A.10.d. Continue to update the classification system to       ✔       1.   Any automated management information system            Responsible Party: Lt. Holliday
include information on each prisoner’s history at OPSO.                       will include accurate data and within 8 hours of the
                                                                              custody assessment or status change, data regarding    General Information:
                                                                              the inmates’ custody level, medical, mental health,
                                                                              disciplinary infractions, and custody assessment       Any automated management
                                                                              (date, risk factor scoring, override reason (if        information system will include
                                                                              applicable), and custody level). Monitor will          accurate data and within 8 hours
                                                                              conduct audit of random sample of cases to             of the custody assessment or
                                                                              determine accuracy and timely entry of data.
                                                                                                                                     status change, data regarding the


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Section                    C      P     N                            Measures                                  OPSO Compliance Plan
                                                  Compliance standard will be 90% accurate and           inmates’ custody level, medical,
                                                  reliable.                                              mental health, disciplinary
                                             The custody assessments shall be updated/reviewed           infractions, and custody
                                             following every 120 days, a hearing for a disciplinary
                                             infraction for major infraction, legal status change, new
                                                                                                         assessment (date, risk factor
                                             information from the court, and a major jail incident to    scoring, override reason (if
                                             include PREA or other major incident/ investigation. ).     applicable), and custody level).
                                             Monitor will conduct audit of random sample of cases to     Monitor will conduct audit of
                                             determine accuracy and timely entry of data.                random sample of cases to
                                             Compliance standard will be 90% accurate and reliable.      determine accuracy and timely
                                                                                                         entry of data. Compliance
                                                                                                         standard will be 90% accurate
                                                                                                         and reliable.

                                                                                                         Desired Outcome: To have 100%
                                                                                                         of assessments effected in under 8
                                                                                                         hours and have audit tested
                                                                                                         compliance standard of 90% or
                                                                                                         better.

                                                                                                         Compliance Tasks to be Completed:

                                                                                                         Lieutenant Holliday has recently
                                                                                                         (October, 2016) initiated a
                                                                                                         “Random Inmate Sample” internal
                                                                                                         auditing / quality control
                                                                                                         program, where he can generate a
                                                                                                         completely random list of O.P.S.O.
                                                                                                         inmates that have already been
                                                                                                         assessed, and review those
                                                                                                         assessments. Prior to this
                                                                                                         implementation, the audits were
                                                                                                         only conducted / documented
                                                                                                         when placement errors were
                                                                                                         noticed. Also, Lt. Holliday has
                                                                                                         worked extensively with the JMS
                                                                                                         Programmer to create multiple,
                                                                                                         additional user features within
                                                                                                         the instrument that not only
                                                                                                         allows (and mandates) the end


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                           Section                          C   P   N                         Measures                                  OPSO Compliance Plan
                                                                                                                                 user enter comments about the
                                                                                                                                 inmate and / or their
                                                                                                                                 classification, these comments are
                                                                                                                                 visible by date and entry to
                                                                                                                                 facilitate a classification history
                                                                                                                                 review every time a classification
                                                                                                                                 specialist opens up his
                                                                                                                                 classification file, whereas before
                                                                                                                                 a second JMS session had to be
                                                                                                                                 opened up to view a separate
                                                                                                                                 database that may or may not
                                                                                                                                 have relative comments about
                                                                                                                                 that inmates classification. This
                                                                                                                                 allows us to continuously add and
                                                                                                                                 review new information about
                                                                                                                                 that inmate giving us the big
                                                                                                                                 picture of that inmate’s history of
                                                                                                                                 their incarceration.

                                                                                                                                 Necessary Resources:

                                                                                                                                 No additional staffing or
                                                                                                                                 resources needed to complete this
                                                                                                                                 task.

                                                                                                                                 Substantial Compliance Date:

                                                                                                                                 Complete / ongoing.

IV.A.10.e. Continue competency-based training and               ✔       1.   Written directive governing training of staff       Responsible Party: Lt. Holliday
access to all supervisors on the full capabilities of the                    assigned to classification.
OPSO classification and prisoner tracking system.                                                                                General Information:
                                                                        2.   Curriculum for competency-based training
                                                                             regarding the custody classification system,
                                                                             housing assignment process, work/community          1. Written directive governing
                                                                             assignments, and case management. Evidence of       training of staff assigned to
                                                                             knowledge gained.                                   classification.
                                                                        3.   Staff training roster(s) and competency tests       2. Curriculum for competency-
                                                                             following completion of competency-based training   based training regarding the
                                                                             by current classification/case management staff.    custody classification system,
                                                                        4.    Staff training roster(s) and competency tests      housing assignment process,


                                                                                                                                                        66
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Section                    C      P     N                              Measures                             OPSO Compliance Plan
                                                  following completion of competency-based training   work/community assignments,
                                                  by all new or re-assigned staff on assignment to    and case management. Evidence
                                                  classification/case management duties.              of knowledge gained.
                                             5. Curriculum for classification module within the       3. Staff training roster(s) and
                                                  basic academy training curriculum for OPSO staff.   competency tests following
                                                  Evidence of knowledge gained.
                                              Staff training roster(s) and competency tests
                                                                                                      completion of competency-based
                                             documenting completion of the basic classification       training by current
                                             module by current OPSO non-classification/case           classification/case management
                                             management staff.                                        staff.
                                                                                                      4. Staff training roster(s) and
                                                                                                      competency tests following
                                                                                                      completion of competency-based
                                                                                                      training by all new or re-assigned
                                                                                                      staff on assignment to
                                                                                                      classification/case management
                                                                                                      duties.
                                                                                                      5. Curriculum for classification
                                                                                                      module within the basic academy
                                                                                                      training curriculum for OPSO
                                                                                                      staff. Evidence of knowledge
                                                                                                      gained. Staff training roster(s)
                                                                                                      and competency tests
                                                                                                      documenting completion of the
                                                                                                      basic classification module by
                                                                                                      current OPSO non-
                                                                                                      classification/case management
                                                                                                      staff.

                                                                                                      Desired Outcome: Continue
                                                                                                      monthly training and testing for
                                                                                                      all Classification Staff, line staff
                                                                                                      and supervisors as well as
                                                                                                      continue pre-service and academy
                                                                                                      training to facilitate department
                                                                                                      wide understanding of the critical
                                                                                                      concept of Classification and that
                                                                                                      it can actually help the operations
                                                                                                      staff by knowing and



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Section                    C      P     N                 Measures                   OPSO Compliance Plan
                                                                               understanding where and why
                                                                               certain inmates are assigned to a
                                                                               particular unit or area.

                                                                               Compliance Tasks to be Completed:

                                                                               The Classification Division staff
                                                                               receives training on new
                                                                               procedures and programs, as well
                                                                               as “refresher training” on some of
                                                                               the fundamental training they
                                                                               may have had when they first
                                                                               came to the division. This ensures
                                                                               that important components of
                                                                               being a classification specialist
                                                                               that were learned in the
                                                                               beginning are not forgotten or
                                                                               taken for granted.

                                                                                Also, last month we conducted
                                                                               some critical, refresher training
                                                                               relative to Classification Staff
                                                                               interpreting NCIC reports and the
                                                                               recognition of the different
                                                                               variations of guilty dispositions as
                                                                               these are a major factor affecting
                                                                               an inmate’s classification.
                                                                               Different states and jurisdictions
                                                                               utilize different wording /
                                                                               verbiage relative to describing
                                                                               adjudicated dispositions and it is
                                                                               crucial that our training enables
                                                                               the specialist to recognize any
                                                                               variant of a guilty or not guilty
                                                                               disposition within the national
                                                                               database so that the non-
                                                                               automated data can be “attached”
                                                                               within an inmate’s classification
                                                                               record, making it accurate as to


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                          Section                        C   P    N                           Measures                                     OPSO Compliance Plan
                                                                                                                                    the inmate’s calculated custody
                                                                                                                                    level and / or PREA designation.

                                                                                                                                    The last two months also
                                                                                                                                    consisted of in depth training of a
                                                                                                                                    feature component within the
                                                                                                                                    objective classification system
                                                                                                                                    known as the “Mandatory
                                                                                                                                    Restrictor”. This component
                                                                                                                                    refers to the mandatory criteria
                                                                                                                                    for certain offenses and criminal
                                                                                                                                    histories so that inmates that
                                                                                                                                    meet the criteria do not progress
                                                                                                                                    below a certain custody level.
                                                                                                                                    There were some recent
                                                                                                                                    modifications to the Mandatory
                                                                                                                                    Restrictor screens and further
                                                                                                                                    training and testing on knowledge
                                                                                                                                    learned was conducted and
                                                                                                                                    documented.

                                                                                                                                    Necessary Resources:

                                                                                                                                    No additional resources required.

                                                                                                                                    Substantial Compliance Date:

                                                                                                                                    Complete / ongoing.

IV.A.10.f. Conduct internal and external review and          ✔         1.   Quarterly and annual tracking reports within the        Responsible Party: Lt. Holliday
validation of the classification and prisoner tracking                      OPSO information system to monitor:
system on at least an annual basis.                                               a. Custody distributions by gender, race and      General Information:
                                                                                       special populations;
                                                                                  b. Override rates;                                Objective classification system /
                                                                                  c.    Housing by custody level/special needs,     instrument requires annual
                                                                                       race;                                        revalidation.
                                                                                  d. PREA separations;
                                                                       Custody re-assessments (regular and for-cause, # over-
                                                                       due, et al.) Electronic copies of the quarterly and annual
                                                                                                                                    Desired Outcome: The successful
                                                                       reports shall be provided to the Monitor with                internal and external review and
                                                                                                                                    revalidation of the objective


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                          Section                              C   P   N                         Measures                                 OPSO Compliance Plan
                                                                           documentation of steps (tasks and dates) taken to       classification system.
                                                                           address any noted inconsistencies with OPSO policies.
                                                                                                                                   Compliance Tasks to be Completed:

                                                                                                                                   Dr. Hardyman will complete the
                                                                                                                                   statistical review and revalidation
                                                                                                                                   of the objective classification
                                                                                                                                   system in early 2017. Since the
                                                                                                                                   disciplinary system was not
                                                                                                                                   previously maintained prior to Lt.
                                                                                                                                   Holliday’s appointment to
                                                                                                                                   Classification Manager, and after
                                                                                                                                   implementing several controls
                                                                                                                                   and new staffing, the O.P.S.O.
                                                                                                                                   disciplinary process has recently
                                                                                                                                   achieved significant
                                                                                                                                   accountability and methods of
                                                                                                                                   capturing and recording for
                                                                                                                                   classification purposes, all
                                                                                                                                   disciplinary data from incidents
                                                                                                                                   here as well as other locations
                                                                                                                                   where O.P.S.O. inmates may be
                                                                                                                                   temporarily housed, such as East
                                                                                                                                   Carol Parish.

                                                                                                                                   Necessary Resources:

                                                                                                                                   Contract with Dr. Hardyman for
                                                                                                                                   her instrument maintenance /
                                                                                                                                   testing. No additional staffing
                                                                                                                                   needed to complete this task.

                                                                                                                                   Substantial Compliance Date:

                                                                                                                                   “Early 2017” according to Dr.
                                                                                                                                   Hardyman.

IV.A.10.g. Provide the Monitor a periodic report on                ✔       1.   Annual and bi-annual tracking reports within the   Responsible Party: Lt. Holliday
classification at the Facility. These periodic reports shall                    OPSO information system to monitor number/rates
be provided to the Monitor within four months of the                            during the last 12 months and for the stock        General Information:



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                         Section                             C   P   N                          Measures                               OPSO Compliance Plan
Effective Date; and every six months thereafter until                        population
termination of this Agreement. Each report will include                  2. number of prisoner-on-prisoner assaults/custody      All of the required reports
the following information:                                                   level by gender;                                    including the last major tracking
(1) number of prisoner-on-prisoner assaults;
(2) number of assaults against prisoners with mental                     3. number of assaults against prisoners with mental     goal (inmate assaults – victim
     illness;                                                                illness by gender;                                  tracking) have been completed.
(3) number of prisoners who report having gang                           4. number of prisoners who report having gang
     affiliations;                                                           affiliations by gang affiliation;                   Desired Outcome: Success with
(4) most serious offense leading to incarceration;                       5. most serious current offense leading to              the newest addition to the
(5) number of prisoners classified in each security level;                   incarceration by gender;                            objective classification
(6) number of prisoners placed in protective custody;                                                                            instrument, the Security Threat
     and
                                                                         6. number of prisoners currently classified in each
                                                                             security level;                                     Group / Gang Database.
(7) number of misconduct complaints.
                                                                         7. number of prisoners placed in protective custody;
                                                                         8. number of prisoners in administrative segregation;   In New Orleans, the gang
                                                                             and                                                 affiliations are not as defined or
                                                                           number of major and minor misconduct complaints.      formal, making them harder to
                                                                                                                                 identify because of the dynamic
                                                                                                                                 nature of the faction, often
                                                                                                                                 assimilating with multiple other
                                                                                                                                 factions, only during periods of
                                                                                                                                 incarceration, allowing them to
                                                                                                                                 create a stronghold within a
                                                                                                                                 particular inmate housing unit,
                                                                                                                                 and then returning to previous
                                                                                                                                 factional separations once they
                                                                                                                                 are no longer incarcerated.

                                                                                                                                 Compliance Tasks to be Completed:

                                                                                                                                 Our last major hurdle that is
                                                                                                                                 under construction and testing is
                                                                                                                                 the full implementation of our
                                                                                                                                 known STG / gang database for
                                                                                                                                 classification use by automating
                                                                                                                                 the necessary separations of the
                                                                                                                                 gang members within the
                                                                                                                                 objective classification system.

                                                                                                                                 Necessary Resources:




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                       Section                           C   P   N                      Measures                                OPSO Compliance Plan
                                                                                                                         No additional staffing needed to
                                                                                                                         complete this task.

                                                                                                                         Benchmark Dates:

                                                                                                                         50% completion date by
                                                                                                                         12/15/2016.

                                                                                                                         Substantial Compliance Date:

                                                                                                                         Completion date of 12/31/2016.

IV.A.10.h. OPSO shall review the periodic data report        ✔       Report to the Monitor with recommended change and   Responsible Party:     Lt. Holliday
and make recommendations regarding proper placement                      rational/data regarding any policy changes.
consistent with this Agreement or other necessary                                                                        General Information:
changes in policy based on this review. The review and
recommendations will be documented and provided to the                                                                   Report to the Monitor with
Monitor.                                                                                                                 recommended change and
                                                                                                                         rational/data regarding any
                                                                                                                         policy changes.

                                                                                                                         Desired Outcome: All relative
                                                                                                                         policies to Classification are now
                                                                                                                         approved and we are in an
                                                                                                                         “implementation” phase of the
                                                                                                                         recently approved policies,
                                                                                                                         assessing where and what
                                                                                                                         changes need to be made, or in
                                                                                                                         the case of the Classification
                                                                                                                         Policy, addendums such as the
                                                                                                                         STG / Gang separations that were
                                                                                                                         not previously mentioned in the
                                                                                                                         Classification Policy.

                                                                                                                         Recent reconciliation of multiple
                                                                                                                         data reports, correcting captured
                                                                                                                         data that was previously
                                                                                                                         inaccurate will ensure our most
                                                                                                                         recent assessments are based on
                                                                                                                         accurate statistical data from the


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                         Section                             C   P   N                          Measures                                   OPSO Compliance Plan
                                                                                                                                    JMS.

                                                                                                                                    Compliance Tasks to be Completed:

                                                                                                                                    Continue to distribute and train
                                                                                                                                    Classification staff, as well as any
                                                                                                                                    operational affiliated staff on the
                                                                                                                                    new policies, as well as document
                                                                                                                                    any recommendations, changes,
                                                                                                                                    or additions that may need to be
                                                                                                                                    made, so as to submit them up the
                                                                                                                                    chain of command for assessment
                                                                                                                                    and decision to amend.

                                                                                                                                    Also, continue to submit the
                                                                                                                                    monthly population reports and
                                                                                                                                    analysis / summary to the
                                                                                                                                    Compliance Director, Chief of
                                                                                                                                    Corrections and Dr. Hardyman for
                                                                                                                                    review of any trends or outcomes
                                                                                                                                    not previously identified.

                                                                                                                                    Necessary Resources:

                                                                                                                                    No additional resources required.

                                                                                                                                    Substantial Compliance Date:

                                                                                                                                    Complete / ongoing.

IV.A.11. Prisoner Grievance Process
IVA.11.a. OPSO shall ensure that prisoners have a                ✔       1.   Written policy and procedures governing inmate        Responsible Party: Sgt. Verret
mechanism to express their grievances, resolve disputes,                      grievances, and grievance appeals. Directive shall
and ensure that concerns regarding their constitutional                       include but not be limited to availability of         General Information:
rights are addressed. OPSO shall, at a minimum, do the                        grievance forms in required language, ability of
following:                                                                    inmates to secure forms upon request and deposit      (1) Continue to maintain policies and
(1) Continue to maintain policies and procedures to                           into secured boxes, prohibition against retaliation   procedures to ensure that prisoners
     ensure that prisoners have access to an adequate                         against inmates who file grievances, time deadlines   have access to an adequate grievance
     grievance process and to ensure that grievances may                      on responses, assistance to inmates to file           process and to ensure that grievances
     be reported and filed confidentially, without                            grievances (including assistance to inmates with      may be reported and filed
     requiring the intervention of a correctional officer.                    mental illness, low functioning, non-English          confidentially, without requiring the



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                            Section                            C   P   N                           Measures                                   OPSO Compliance Plan
      The policies and procedures should be applicable                         speaking).                                              intervention of a correctional officer.
      and standardized across all the Facility divisions.                  2. Written policies and procedures that designates a        The policies and procedures should be
(2)   Ensure that each grievance receives appropriate                          position/post responsible for assuring the collection   applicable and standardized across all
      follow-up, including providing a timely written                          and response to grievances, including maintenance       the Facility divisions.
      response and tracking implementation of resolutions.
(3)   Ensure that grievance forms are available on all units               3. of records, trends, and analysis of grievance data.      (Policies were finalized and
      and are available in Spanish and Vietnamese and that                 4. An electronic tracking system.                           implemented in March 2016.)
      there is adequate opportunity for illiterate prisoners               5. Written orientation to inmates regarding the
      and prisoners who have physical or cognitive                             grievance process.                                      (2) Ensure that each grievance
      disabilities or language barriers to access the
      grievance system.
                                                                           6. Inmate handbook.                                         receives appropriate follow-up,
                                                                                                                                       including providing a timely written
(4)   Separate the process of “requests to staff” from the                 7. Curriculum/lesson plans to train staff (pre-service      response and tracking implementation
      grievance process and prioritize grievances that raise                   and in-service) regarding their roles and
                                                                                                                                       of resolutions.
      issues regarding prisoner safety or health.                              responsibilities regarding the inmate grievance
(5)   Ensure that prisoner grievances are screened for                         process.
                                                                                                                                       (The Grievance Coordinator
      allegations of staff misconduct and, if an incident or               8. Observation of inmate grievance boxes.                   conducts a Monthly Audit of
      allegation warrants per this Agreement, that it is                   9. Interviews with inmates.                                 grievances.)
      referred for investigation.
(6)   A member of the management staff shall review the                    10. Interviews with employees.
                                                                                                                                       (3) Ensure that grievance forms are
      grievance tracking system quarterly to identify areas                11. Observation of staff training.                          available on all units and are available
      of concerns. These reviews and any                                   12. Observation of inmate orientation.                      in Spanish and Vietnamese and that
      recommendations will be documented and provided
      to the Monitor.
                                                                           13. Written policies/procedures governing the inmate        there is adequate opportunity for
                                                                               request process.                                        illiterate prisoners and prisoners who
                                                                           14. Inmate request forms.                                   have physical or cognitive disabilities
                                                                                                                                       or language barriers to access the
                                                                           15. Review of referrals for investigation resulting from    grievance system.(Task #1)
                                                                               inmate grievances.
                                                                           16. Review of original inmate grievances and                (4) Separate the process of “requests to
                                                                               responses.                                              staff” from the grievance process and
                                                                           Monitors’ review of grievance logs, grievances, analysis    prioritize grievances that raise issues
                                                                                     of grievances conducted by OPSO.                  regarding prisoner safety or health.
                                                                                                                                       (Task #2)

                                                                                                                                       (5) Ensure that prisoner grievances
                                                                                                                                       are screened for allegations of staff
                                                                                                                                       misconduct and, if an incident or
                                                                                                                                       allegation warrants per this
                                                                                                                                       Agreement, that it is referred for
                                                                                                                                       investigation.

                                                                                                                                       (Grievance Clerks screen these
                                                                                                                                       grievances daily. An electronic log is
                                                                                                                                       sent to the Chief of Investigations on



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                                                                               a weekly basis.)

                                                                               (6) A member of the management
                                                                               staff shall review the grievance
                                                                               tracking system quarterly to identify
                                                                               areas of concerns. These reviews and
                                                                               any recommendations will be
                                                                               documented and provided to the
                                                                               Monitor.

                                                                               (The Grievance Coordinator
                                                                               provides a quarterly grievance
                                                                               report which is included in the
                                                                               quarterly Summary Report
                                                                               provided to monitors.)

                                                                               Compliance Tasks to be Completed:

                                                                               Ensure that grievance forms are
                                                                               available on all units and are
                                                                               available in Spanish and
                                                                               Vietnamese and that there is
                                                                               adequate opportunity for illiterate
                                                                               prisoners and prisoners who have
                                                                               physical or cognitive disabilities
                                                                               or language barriers to access the
                                                                               grievance system.

                                                                               Task #1: Forms need to be
                                                                               translated in to Spanish. I have
                                                                               spoken with CFO Sean Bruno on
                                                                               11/29/16 who is in the process of
                                                                               contacting a previously used
                                                                               vendor to translate and print
                                                                               grievance/ request/appeal forms.

                                                                               Task #2: The current grievance
                                                                               system does not have the ability
                                                                               to separate the process of
                                                                               “request to staff” from the



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                                                                                                                                   grievance process. Grievance
                                                                                                                                   clerks separate these grievances
                                                                                                                                   by relying on the current tag type
                                                                                                                                   list.

                                                                                                                                   Desired Outcome: To obtain a
                                                                                                                                   vendor that can provide the
                                                                                                                                   necessary software to separate
                                                                                                                                   the process of “request   to staff”
                                                                                                                                   from the grievance process.

                                                                                                                                   Necessary Resources:

                                                                                                                                   There is a fee associated with
                                                                                                                                   translating documents. The need
                                                                                                                                   for additional staff will be
                                                                                                                                   determined by the functions of
                                                                                                                                   the new JMAS system. Grievance
                                                                                                                                   Clerks are in need of computers
                                                                                                                                   with 22 in. screens. Primary
                                                                                                                                   function is continuous reading of
                                                                                                                                   grievances/requests.

                                                                                                                                   Benchmark Dates:

                                                                                                                                   Already in partial compliance
                                                                                                                                   with this provision.

                                                                                                                                   Substantial Compliance Date:

                                                                                                                                   03/01/2017 for form translation.
                                                                                                                                   Substantial compliance is pending
                                                                                                                                   integration of new JMAS system.

IV.A.12. Sexual Abuse
IV.A.12. OPSO will develop and implement policies,             ✔       1.   Checklist of policies and procedures                   Responsible Party: Chief Laughlin
protocols, trainings, and audits, consistent with the                       http://www.prearesourcecenter.org/sites/default/file
requirements of the Prison Rape Elimination Act of 2003,                    s/library/checklistofdocumentationfinal2.pdf           General Information:
42 U.S.C. § 15601, et seq., and its implementation of                  2.   Auditor Compliance Tool
regulations, including but not limited to, preventing,                      http://www.prearesourcecenter.org/sites/default/file   Policies regarding PREA have



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detecting, reporting, investigating, and collecting sexual                    s/library/auditorcompliancetoolfinal2.pdf         recently returned from the plaintiffs.
abuse data, including prisoner-on-prisoner and staff-on-                 3.   Completion of Jail Toolkit
prisoner sexual abuse, sexual harassment, and sexual                          http://static.nicic.gov/Library/026880.pdf        On the list of PREA audit from the
touching.                                                                4.   Written policies and procedures, protocols,
                                                                              memorandum of agreement/understanding, training   Department of Corrections (DOC).
                                                                              curriculum required by the standards.
                                                                         5.   Memorandum of agreement, sexual assault           Identify staff to assume the role of
                                                                              treatment center                                  PREA Compliance Manager. Per
                                                                         6.   Review of investigations.                         PREA standards OPSO needs one
                                                                         7.   Interviews with employees and inmates.
                                                                         8.   Referrals for prosecution                         for each facility; therefore, we need
                                                                                         Qualifications of instructors.         two managers.

                                                                                                                                Desired Outcome: Become PREA
                                                                                                                                compliant.

                                                                                                                                The only barrier identified is the
                                                                                                                                current housing situation of the
                                                                                                                                female youth population. This
                                                                                                                                population is housed on the same
                                                                                                                                pod with adults due to space
                                                                                                                                issues.

                                                                                                                                Compliance Tasks to be Completed:

                                                                                                                                Task #1: Continue to train new
                                                                                                                                hires and contractors on the PREA
                                                                                                                                standards.

                                                                                                                                Task #2: Continue to post PREA
                                                                                                                                statistics on the OPSO website
                                                                                                                                through the report card.

                                                                                                                                Task #3: Develop a notification
                                                                                                                                process to inform offenders of the
                                                                                                                                investigation outcomes.

                                                                                                                                Task #4: Re-institute monthly
                                                                                                                                SHARP meetings to discuss PREA



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                          Section                             C   P   N                          Measures                                   OPSO Compliance Plan
                                                                                                                                   cases.

                                                                                                                                   Task #5: Will need to train the
                                                                                                                                   PREA Compliance Managers once
                                                                                                                                   in their new roles.

                                                                                                                                   Necessary Resources:

                                                                                                                                   There will be a need to hire /
                                                                                                                                   transfer two (2) individuals for
                                                                                                                                   the role of PREA Compliance
                                                                                                                                   Manager. The only funding will
                                                                                                                                   be the salaries of the two PREA
                                                                                                                                   Compliance Managers.

                                                                                                                                   Benchmark Dates:

                                                                                                                                   This provision is currently in
                                                                                                                                   partial compliance.

                                                                                                                                   Substantial Compliance Date:

                                                                                                                                   The anticipated date of full
                                                                                                                                   compliance will be the fourth
                                                                                                                                   quarter in 2017.

                                                                                                                                   The measurement would be to
                                                                                                                                   come in full compliance with a
                                                                                                                                   PREA audit.

IV.A.13. Access to Information
IV.A.13. OPSO will ensure that all newly admitted                 ✔       1.   Written policy/procedure governing inmate           Responsible Party: Colonel Colvin
prisoners receive information, through an inmate                               orientation, including but not limited to inmates
handbook and, at the discretion of the Jail, an orientation                    with LEP, developmental disabilities, mental        General Information:
video, regarding the following topics: understanding                           illness, etc.
Facility disciplinary process and rules and regulations;                  2.   Inmate handbook; orientation video. In Spanish,     Video is played on a “Loop” on the
reporting misconduct; reporting sexual abuse or assault;                       Vietnamese.                                         TV’s in Lockup, video is played
accessing medical and mental health care; emergency                       3.   Observation of inmate orientation.
procedures; and sending and receiving mail;
                                                                                                                                   again on TV’s in OJC Direct
                                                                          4.   Inmate interviews.
understanding the visitation process; and accessing the                   5.   Lesson plans, employee training, evidence of        Supervision Units and Handbooks
                                                                                                                                   are issued (in Spanish and


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                         Section                               C          P          N                             Measures                                    OPSO Compliance Plan
grievance process.                                                                                knowledge gained.                                     English) explaining the processes.
                                                                                             6.   Review of grievances.
                                                                                             7.   Post orders.                                          Compliance Tasks to be Completed:

                                                                                                                                                        Task #1: Continue current level
                                                                                                                                                        of staff cooperation and
                                                                                                                                                        compliance. Leadership should
                                                                                                                                                        periodically audit this task for
                                                                                                                                                        completeness and attention to
                                                                                                                                                        detail.

                                                                                                                                                        Necessary Resources:

                                                                                                                                                        No additional resources required.

                                                                                                                                                        Benchmark Dates:

                                                                                                                                                        Already completed.

                                                                                                                                                        Substantial Compliance Date:

                                                                                                                                                        12/31/2016

IV.D. Sanitation and Environmental Conditions Defendant shall ensure that prisoners are provided with constitutionally adequate sanitation and
environmental conditions. To provide prisoners safe living conditions, OPSO, at a minimum, shall:
IV. D. 1. Sanitation and Environmental Conditions
IV.D. 1.a. OPSO shall provide oversight and supervision                            ✔        1. Written policies and procedures for cleaning and         Responsible Party: Mr. Green
of routine cleaning of housing units, showers, and medical                                       disinfecting, monitoring process with responsibility
areas. Such oversight and supervision will include                                               and accountability assigned developed in               General Information:
meaningful inspection processes and documentation, as                                            collaboration with monitor.
well as establish routine cleaning requirements for toilets,                                2. List of controlled inventory of acceptable cleaning      Issue/Problem: Cleaning
showers, and housing units to be documented at least once                                        and disinfecting chemicals.                            Inconsistencies for dorms,
a week but to occur more frequently.                                                        3. Development and implementation of an effective           housing units, showers and living
                                                                                                 weekly [or more frequently] auditing process with
                                                                                                 assigned responsibility and accountability and
                                                                                                                                                        units. Lack of oversight and
                                                                                                 documentation.                                         supervision from OPSO Rank.
                                                                                            4. Monitor’s onsite verification of implementation of       Deputy shift inspections are not
                                                                                                 both the policy(s) and the auditing process and        detailed and incomplete.
                                                                                                 report, along with corrective action when non-         Inconsistency in the deliverance
                                                                                                 conformities to the policy/procedures are              of cleaning supplies, pod deputies
                                                                                                 documented.                                            inability to access cleaning
                                                                                              Observation of conditions along with interviews with
                                                                                                                                                        supplies because of lack of keys.


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Section                 C     P      N                  Measures                  OPSO Compliance Plan
                                                     inmates and staff.
                                                                            Desired Outcome: Consistent
                                                                            cleaning times – Supervisor
                                                                            inspections to assure cleaning
                                                                            standards – Detailed inspections
                                                                            from pod deputies – inspections
                                                                            would identify plumbing and
                                                                            other deficiencies work orders
                                                                            submitted. Standard times to
                                                                            allow cleaning. Pod keys available
                                                                            to allow deputies to access
                                                                            cleaning supplies and laundry
                                                                            services.

                                                                            Compliance Tasks to be Completed:

                                                                            Task #1: Complete Comprehensive
                                                                            Cleaning Policy for the OPSO.

                                                                            Task #2: Activation of
                                                                            comprehensive cleaning plan for
                                                                            OPSO.

                                                                            Task #3: Establish agreeable
                                                                            cleaning times for dorm and pod
                                                                            areas for 1st and 2nd shifts.

                                                                            Task #4: Train Pod Deputies,
                                                                            Rank and Sanitation Deputies on
                                                                            the OPSO comprehensive cleaning
                                                                            plan, the current inspection form
                                                                            that is currently being used by
                                                                            pod deputies to identify and
                                                                            document sanitation and
                                                                            plumbing issues.

                                                                            Task #5: Establish agreeable
                                                                            consistent times to clean cells,
                                                                            showers and general areas .Agree



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                          Section                              C   P   N                         Measures                                OPSO Compliance Plan
                                                                                                                                  on daily consistent times when
                                                                                                                                  fully stocked cleaning carts will be
                                                                                                                                  delivered to the dorm areas to
                                                                                                                                  clean.

                                                                                                                                  Task #5: Ensure that pod deputies
                                                                                                                                  have access to cleaning supply /
                                                                                                                                  chemical storage rooms / and
                                                                                                                                  laundry rooms at all times.

                                                                                                                                  Necessary Resources:

                                                                                                                                  (4) Sanitation Deputies per shift, one
                                                                                                                                  assigned to each floor. Enough
                                                                                                                                  Inmate workers to assist in the
                                                                                                                                  cleaning process. (1) Additional
                                                                                                                                  environmental staff person to
                                                                                                                                  assist in training and inspections.

                                                                                                                                  Benchmark Dates:

                                                                                                                                  50% completion date by March of
                                                                                                                                  2017.

                                                                                                                                  Substantial Compliance Date:

                                                                                                                                  Substantial completion by September
                                                                                                                                  2017.

IV. D. 1.b. Continue the preventive maintenance plan to            ✔       1. Review of the preventative maintenance plan to      Responsible Party:
respond to routine and emergency maintenance needs,                           determine who has responsibility to file work
including ensuring that showers, toilets, and sink units are                  orders.                                             Mr. Martin/Mr. Reed
adequately installed and maintained. Work orders will be                   2. Evidence of meeting the timelines for submission
submitted within 48 hours of identified deficiencies, or                      of work orders.                                     General Information:
within 24 hours in the case of emergency maintenance                       3. Evidence of training of those assigned the
needs.                                                                        responsibility to file work orders.                 All showers, toilets, and sinks are
                                                                           4. Observation of practice and conditions.             repaired per the Computerize
                                                                             Work orders, invoices, purchases in support of the
                                                                                                                                  maintenance management system
                                                                                      preventive maintenance plan.
                                                                                                                                  as they are reported.

                                                                                                                                  Desired Outcome: All work orders



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                         Section                            C   P   N                           Measures                                     OPSO Compliance Plan
                                                                                                                                      that are submitted within the 24
                                                                                                                                      hour period are address within
                                                                                                                                      that 8 hour period. The desired
                                                                                                                                      outcome is to make the repairs as
                                                                                                                                      soon as they are reported in to the
                                                                                                                                      work order specialist.

                                                                                                                                      As the work orders are reported
                                                                                                                                      in to the dispatcher, they are
                                                                                                                                      being dispatched out to the
                                                                                                                                      designated craft for repair.

                                                                                                                                      Compliance Tasks to be Completed:

                                                                                                                                      None. Currently compliant.

                                                                                                                                      Necessary Resources:

                                                                                                                                      No additional resources required
                                                                                                                                      at this time.

                                                                                                                                      Substantial Compliance Date:

                                                                                                                                      Currently compliant.

IV. D. 1.c. Maintain adequate ventilation throughout                ✔   1.   Written policy and procedure specifying the              Responsible Party: Mr. Martin/Mr. Reed
OPSO facilities to ensure that prisoners receive adequate                    process of how adequacy of ventilation will be
air flow and reasonable levels of heating and                                measured in accordance with the mechanical code          General Information:
cooling. Maintenance staff shall review and assess                           adopted by the applicable state or local jurisdiction.
compliance with this requirement, as necessary, but no                  2.   Evidence of a contract with a qualified/licensed         Currently there are no issues at
less than twice annually.                                                    mechanical contractor to demonstrate that the            this time with air filtration at the
                                                                             ventilation system complies with the International       facility. Additionally, there are no
                                                                             Mechanical Code in effect in Louisiana.
                                                                                                                                      issues with the heating and
                                                                                          Reports from vendor.
                                                                                                                                      cooling equipment, nor are there
                                                                                                                                      any issues with the BMS (Building
                                                                                                                                      Management System).

                                                                                                                                      The desired outcome is to always
                                                                                                                                      keep a reserve supply/stock of
                                                                                                                                      filters for the entire facility on



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Section                 C     P      N                 Measures                    OPSO Compliance Plan
                                                                            hand at all times. Additionally,
                                                                            provide service agreement for
                                                                            equipment. (BMS, Chillers &
                                                                            Heating equipment.

                                                                            Compliance Tasks to be Completed:

                                                                            Task #1: Air Flirtation - All air
                                                                            handler units are pm every
                                                                            quarter for bad belts, dirty filters,
                                                                            functioning control valves, and
                                                                            other task related issues that
                                                                            requires servicing for proper
                                                                            ventilation.

                                                                            Task #2: Controls, heating and
                                                                            cooling equipment.

                                                                            Necessary Resources:

                                                                            No Additional resources required
                                                                            at this time.

                                                                            Benchmark Dates:

                                                                            Task #1: April 24, 2016 is the
                                                                            50% mark of the quarterlies.
                                                                            October 24, 2016 is the annual
                                                                            completion date for annuals on
                                                                            AHUs.

                                                                            Task #2: Annually and
                                                                            completion date is based on the
                                                                            agreement with the vendors,
                                                                            Siemens and Johnson Controls.

                                                                            Substantial Compliance Date:

                                                                            OPSO is currently compliant.




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                         Section                               C   P   N                           Measures                                OPSO Compliance Plan
IV. D. 1.d. Ensure adequate lighting in all prisoner           ✔           1.    Written policy and procedures. Assurance that       Responsible Party: Mr. Martin
housing units and prompt replacement and repair of                              facility policy complies with the provision.
malfunctioning lighting fixtures in living areas within five               2.   Maintenance of pending work order list showing       Substantial Compliance Date:
days, unless the item must be specially ordered.                                the purchase order for pending work order
                                                                                regarding lighting fixtures. Review of work order    Already in compliance with this
                                                                                lists.                                               provision as of 02/19/2016.
                                                                                         Visual observation conditions.
IV. D. 1.e. Ensure adequate pest control throughout the            ✔       1.   Written policy and procedures.                       Responsible Party: Mr. Green
housing units, including routine pest control spraying on                  2.   Copy of valid contract for integrated pest control
at least a quarterly basis and additional spraying as                           services with a licensed pest control contractor.    General Information:
needed.                                                                    3.   Map showing the location of all bait and trap
                                                                                stations both internally and externally.             Mr. Green states that there are no
                                                                           4.   Copies of pest control reports provided by the       outstanding pest control issues.
                                                                                licensed pest control operator showing areas of
                                                                                concern, recommendations for corrective actions      Compliance Tasks to be Completed:
                                                                                needed to be taken by sanitation and maintenance.
                                                                           5.   Evidence of corrective action taken for
                                                                                                                                     No additional tasks to be
                                                                                recommendations provided by the licensed pest
                                                                                control contractor.                                  completed. Continue with current
                                                                           6.   Evidence of a pest control log where officers can    practices with pest control
                                                                                log sighting of pest showing date, time, location,   contractor.
                                                                                and type of pest.
                                                                           7.   Visual observation of pest activity and inmate       Necessary Resources:
                                                                                interviews.
                                                                                               Inmate grievances.                    No additional resources required.
                                                                                                                                     Pest control contract is budgeted
                                                                                                                                     annually.

                                                                                                                                     Benchmark Dates:

                                                                                                                                     None.

                                                                                                                                     Substantial Compliance Date:

                                                                                                                                     Compliant as of 12/01/2016.

IV. D. 1.f. Ensure that any prisoner or staff assigned to          ✔       1.   Written policy and procedures.                       Responsible Party: Mr. Green
clean a biohazardous area is properly trained in universal
precautions, outfitted with protective materials, and                      2.   Development and implementation of a training
                                                                                                                                     General Information:
properly supervised.                                                            syllabus for blood borne pathogens. Qualifications
                                                                                of the trainer(s).
                                                                                                                                          1.   Lack of staff prohibits
                                                                           3.   Documented list of officers and inmates trained in
                                                                                blood borne pathogens.                                         training and



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Section                 C     P      N                          Measures                                  OPSO Compliance Plan
                                         4.   Development and implementation of a                             implementation of
                                              biohazardous waste policy and procedures for                    current Biohazard Policy.
                                              effective and safe clean-up of any spills.
                                                                                                         2.   High Staff turnover/
                                         5.   Maintenance of a supply of biohazardous spill kits
                                                                                                              continuous retraining of
                                              including personal protection items including, but
                                              limited to eye shield, mask, gloves, gown with cap,             policy.
                                              CPR barrier, towelettes, absorbent powder, scraper,        3.   Not receiving Incident
                                              scoop bag, and biohazard bag.                                   reports on bio hazardous
                                         6.   Observation and demonstration of knowledge by                   spills.
                                              staff and trained prisoners.
                                         7.   Inmate interviews, inmate grievances.                 Desired Outcome:
                                                      Medical policy and procedures.
                                                                                                         1.   Documented list of
                                                                                                              deputies and inmates
                                                                                                              trained on blood borne
                                                                                                              pathogens.
                                                                                                         2.   Maintenance of a supply
                                                                                                              of bio hazardous spill
                                                                                                              kits including personal
                                                                                                              protective items.
                                                                                                         3.   System to electronically
                                                                                                              provide environmental
                                                                                                              staff on written incident
                                                                                                              reports so proper follow
                                                                                                              up can be done per
                                                                                                              policy.

                                                                                                    Compliance Tasks to be Completed:

                                                                                                    Task #1: Hire sufficient staff.

                                                                                                    Task #2: Work with assigned
                                                                                                    OPSO Quartermaster and OPSO
                                                                                                    Warehouse to ensure
                                                                                                    maintenance of Bio Spill kits.

                                                                                                    Task #3: Ensure that copy of all


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                         Section                        C   P   N                           Measures                                     OPSO Compliance Plan
                                                                                                                                  biohazard spill incident reports
                                                                                                                                  are forwarded to the
                                                                                                                                  Environmental Staff for follow up
                                                                                                                                  as per Bio Hazardous Policy

                                                                                                                                  Task #4: Provide evidence of use
                                                                                                                                  of the bio hazardous waste spill
                                                                                                                                  kits including, but not limited to:
                                                                                                                                  incident reports, spill response
                                                                                                                                  and inspection reports, number of
                                                                                                                                  spill kits used and where on the
                                                                                                                                  semi annual report.

                                                                                                                                  Necessary Resources:

                                                                                                                                  Funding to ensure spill kits are
                                                                                                                                  sufficient in number to replace at
                                                                                                                                  all times. Staff salaries.

                                                                                                                                  Benchmark Dates:

                                                                                                                                  March 2017.

                                                                                                                                  Substantial Compliance Date:

                                                                                                                                  September 2017.

IV. D. 1.g. Ensure the use of cleaning chemicals that       ✔       1.   Written policy and procedures.                           Responsible Party: Mr. Green
sufficiently destroy the pathogens and organisms in
biohazard spills.                                                   2.   Inventory of cleaning and disinfecting chemicals.
                                                                                                                                  General Information:
                                                                    3.   Lesson plans/curriculum - evidence of effective
                                                                         training of officers and inmates responsible for         No lesson plans/ curriculum to
                                                                         cleaning and disinfecting surfaces in housing and
                                                                         common areas.
                                                                                                                                  show evidence of deputies and
                                                                                                                                  inmates responsible for cleaning
                                                                    4.   Policy and procedures an effective cleaning and
                                                                                                                                  and disinfecting surfaces in
                                                                         disinfection policy and procedures for all facilities.
                                                                                                                                  housing and common areas.
                                                                    5.   Observation of effective implementation and
                                                                                                                                  Policy and Procedure for cleaning
                                                                         demonstration of knowledge.
                                                                              Inmate interviews, inmate grievances.               and disinfecting not complete.

                                                                                                                                  Desired Outcome: Develop OPSO



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                        Section                            C   P   N                          Measures                                 OPSO Compliance Plan
                                                                                                                                Lesson Plan and Curriculum on
                                                                                                                                cleaning and disinfecting housing
                                                                                                                                and common areas. Complete
                                                                                                                                policy for comprehensive
                                                                                                                                cleaning.

                                                                                                                                Compliance Tasks to be Completed:

                                                                                                                                Task #1: Development of Lesson
                                                                                                                                Plan to show evidence of deputies
                                                                                                                                and inmates responsible for the
                                                                                                                                cleaning and disinfecting of
                                                                                                                                surfaces in housing and common
                                                                                                                                areas.

                                                                                                                                Necessary Resources:

                                                                                                                                No additional resources required.

                                                                                                                                Benchmark Dates:

                                                                                                                                50% completion date by March of
                                                                                                                                2017.

                                                                                                                                Substantial Compliance Date:

                                                                                                                                Substantial completion by September
                                                                                                                                2017.

IV. D. 1.h. Maintain an infection control plan that            ✔       1.   Written policy and procedures for an infection      Responsible Party: Mr. Green
addresses contact, blood borne, and airborne hazards and                    control plan and policy following Center for
infections. The plan shall include provisions for the                       Disease Control’s recommendations.                  General Information:
identification, treatment, and control of Methicillin-                 2.   Lesson plans/curriculum - evidence of training of
Resistant Staphylococcus Aureus (“MRSA”) at the                             all officers, staff and inmates responsible for     Confirmation that CCS Policy
Facility.                                                                   cleaning and disinfecting all medical and dental    addresses the requirements of
                                                                            areas within OPSO.
                                                                                                                                Policy B-01 Infection Control.
                                                                       3.   Demonstration of knowledge of the policy and
                                                                            plan.                                               Lack of evidence to show that
                                                                       4.   Observation                                         OPSO housing unit deputies,
                                                                       5.   Inmate interview, inmate grievances.                supervisors, and sanitation
                                                                                                                                officers have been trained on
                                                                                                                                Infection Control Policy.


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                          Section                             C   P   N                         Measures                               OPSO Compliance Plan

                                                                                                                                Desired Outcome: Confirmation
                                                                                                                                that current CCS Policy covers all
                                                                                                                                areas of infection control for
                                                                                                                                OPSO. Ensure training of unit
                                                                                                                                deputies, supervisors, and
                                                                                                                                sanitation officers on the Infection
                                                                                                                                Control Policy.

                                                                                                                                Compliance Tasks to be Completed:

                                                                                                                                Task #1: Review CCS Infection
                                                                                                                                Control Policy to ensure that all
                                                                                                                                OPSO infection control matters
                                                                                                                                are included as per the current
                                                                                                                                CCS Policy. Sanitarian continues
                                                                                                                                to be a member of the infection
                                                                                                                                control committee.

                                                                                                                                Task #2: Train housing unit
                                                                                                                                deputies, supervisors and
                                                                                                                                sanitation officers on the current
                                                                                                                                Infection Control Plan.

                                                                                                                                Necessary Resources:

                                                                                                                                No additional resources required.

                                                                                                                                Benchmark Dates:

                                                                                                                                50% completion date by March of
                                                                                                                                2017.

                                                                                                                                Substantial Compliance Date:

                                                                                                                                Substantial completion by September
                                                                                                                                2017.

IV. D. 2. Environmental Control
IV. D. 2.a. OPSO shall ensure that broken or missing              ✔       1.   Written policy and procedure.                    Responsible Party:
electrical panels are repaired within 30 days of identified               2.   Evidence of implementation of the Provision in



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                           Section                            C   P   N                           Measures                                   OPSO Compliance Plan
deficiencies, unless the item needs to be specially ordered                    accordance with the National Electrical Code.          Mr. Martin/Mr. Reed
                                                                          3.   Maintenance of pending work order list showing
                                                                               the purchase order for pending work order              General Information:
                                                                               regarding electrical panels.
                                                                          4.   Observation of practice.                               Currently in compliance.
                                                                                    Observation of facilities’ conditions.
                                                                                                                                      Substantial Compliance Date:

                                                                                                                                      Currently in compliance.

IV. D. 2.b. Develop and implement a system for                    ✔       1.   Written policy and procedure for preventative          Responsible Party:
maintenance and timely repair of electrical panels,                            maintenance and repairs for electrical issues.
devices, and exposed electrical wires.                                    2.   Evidence that all repairs are completed in             Mr. Martin/Mr. Reed
                                                                               accordance with the National Electrical Code.
                                                                          3.   Evidence that all repairs are completed within a       General Information:
                                                                               reasonable time to assure that inmates and staff are
                                                                               not exposed to hazards that could cause injury.        Currently in compliance.
                                                                                         Observation of conditions.
                                                                                                                                      Substantial Compliance Date:

                                                                                                                                      Currently in compliance.

IV. D. 3. Food Service
IV. D. 3.a. OPSO shall ensure that food service staff,            ✔       1.   Written policy and procedure.                          Responsible Party:
including prisoner staff, continues to receive in-service                 2.   Development of a training syllabus for annual
annual training in the areas of food safety, safe food                         training for food safety and hygiene.²                 Major Watzke/Aramark
handling procedures, and proper hygiene, to reduce the                    3.   Evidence of Food Service Manager Certification in
risk of food contamination and food-borne illnesses.                           accordance with Louisiana Retail Food                  General Information:
                                                                               Regulations.
                                                                          4.   Evidence of training of food service staff and         The Food Contractor is
                                                                               prisoner workers.                                      responsible for all Food related
                                                                          5.   Demonstration of knowledge by the food service
                                                                                                                                      training.
                                                                               staff and inmates.
                                                                          6.   Observation.
                                                                          7.   Inmate interviews, inmate grievances.                  Desired Outcome: That all
                                                                                    Health Department inspection reports.             Inmates, Deputies and food
                                                                                                                                      contractors receive training on a
                                                                                                                                      regular basis.

                                                                                                                                      Compliance Tasks to be Completed:

                                                                                                                                      None. Major Watzke contends



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                         Section                             C   P   N                          Measures                                    OPSO Compliance Plan
                                                                                                                                     that ARAMARK already provides
                                                                                                                                     the required training to
                                                                                                                                     ARAMARK staff, OPSO security
                                                                                                                                     staff and inmate workers.

                                                                                                                                     Necessary Resources:

                                                                                                                                     No additional resources required.

                                                                                                                                     Benchmark Dates:

                                                                                                                                     Watzke states compliant on
                                                                                                                                     12/15/2016.

                                                                                                                                     Substantial Compliance Date:

                                                                                                                                     Watzke states compliant on
                                                                                                                                     12/15/2016.

IV. D. 3.b. Ensure that dishes and utensils, food                ✔       1.   Written policy and procedure for the cleaning and      Responsible Party:
preparation and storage areas, and vehicles and containers                    sanitization of all food service equipment following
used to transport food are appropriately cleaned and                          the equipment manufacturer’s specified cleaning        Major Watzke/Aramark
sanitized on a daily basis.                                                   instructions.
                                                                         2.   Maintenance of a documented cleaning schedule          General Information:
                                                                              for equipment and areas including kitchens, storage
                                                                              areas, ware washing, refrigerators and freezers with   Food Service Contractor is
                                                                              assigned responsibility for oversight.                 responsible for all dishes and
                                                                         3.   Visual evidence of effective cleaning and
                                                                                                                                     utensils food preparation and
                                                                              interviews with staff and inmates on cleaning
                                                                              procedures                                             storage areas along with
                                                                         4.   Evidence of a cleaning log for all equipment and       containers to be cleaned on a
                                                                              observation of practice meeting the                    daily basis.
                                                                              policy/procedures.
                                                                         5.   Inmate worker interviews.                              OPSO Security is responsible to
                                                                                   Health Department inspection reports.             clean delivery vehicle on daily
                                                                                                                                     basis.

                                                                                                                                     Desired Outcome: That all
                                                                                                                                     above-referenced tasks are
                                                                                                                                     completed daily.




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                          Section                            C   P   N                           Measures                                    OPSO Compliance Plan
                                                                                                                                       Compliance Tasks to be Completed:

                                                                                                                                       OPSO Supervisor makes daily
                                                                                                                                       walk through to ensure that the
                                                                                                                                       items above are being completed
                                                                                                                                       and at the end of the shift a
                                                                                                                                       kitchen inspection is completed
                                                                                                                                       by OPSO Supervisor.

                                                                                                                                       Necessary Resources:

                                                                                                                                       No additional resources required.

                                                                                                                                       Benchmark Dates:

                                                                                                                                       Already in partial compliance as
                                                                                                                                       stated in Monitor’s Report #6.

                                                                                                                                       Substantial Compliance Date:

                                                                                                                                       Major Watzke believes that OPSO
                                                                                                                                       is in compliance as of
                                                                                                                                       12/01/2016 and has supporting
                                                                                                                                       documentation attesting to this
                                                                                                                                       (available upon request or next
                                                                                                                                       site-visit).

IV. D. 3.c. Check and record on a daily basis the                    ✔   1.   Written policy and procedures for measuring and          Responsible Party:
temperatures in the refrigerators, coolers, walk-in                           recording temperatures of all refrigerators, freezers,
refrigerators, the dishwasher water, and all other kitchen                    hot food holding equipment, wash and rinse               Major Watzke/Aramark
equipment with a temperature monitor, to ensure proper                        temperatures of ware washing equipment, in
maintenance of food service equipment.                                        accordance with the Louisiana Food Regulations.          General Information:
                                                                         2.   Development and implementation of temperature
                                                                              logs demonstrating effective measurements as             Under the Consent Decree, The
                                                                              required in this provision and/or the Louisiana          Contractor (Aramark) is
                                                                              Food Regulations.                                        responsible for checking and
                                                                         3.   Review of logs and direct observations of
                                                                                                                                       recording Temperatures in the
                                                                              measurements being taken and recorded.
                                                                                        Observation of conditions.                     Kitchen. The non compliance was
                                                                                                                                       that no records were shown that
                                                                                                                                       the temperature for the



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                        Section                               C   P   N                          Measures                                   OPSO Compliance Plan
                                                                                                                                     dishwashing machine was not
                                                                                                                                     available. OPSO has continuously
                                                                                                                                     checked and recorded the
                                                                                                                                     Temperatures on all refrigerators,
                                                                                                                                     walk in coolers, the dishwashing
                                                                                                                                     machine and any other equipment
                                                                                                                                     that applies. The monitor did not
                                                                                                                                     request the temperature sheets
                                                                                                                                     on the dishwasher machine.

                                                                                                                                     Desired Outcome: To continue
                                                                                                                                     checking and recording all
                                                                                                                                     necessary temperatures.

                                                                                                                                     Compliance Tasks to be Completed:

                                                                                                                                     To continue checking and
                                                                                                                                     recording all necessary
                                                                                                                                     temperatures.

                                                                                                                                     Necessary Resources:

                                                                                                                                     No additional resources required.

                                                                                                                                     Benchmark Dates:

                                                                                                                                     Already in compliance.

                                                                                                                                     Substantial Compliance Date:

                                                                                                                                     Already in compliance.

IV. D. 4. Sanitation and Environmental Conditions Reporting

IV. D. 4.a. 1-7 Provide the Monitor a periodic report on          ✔       1. Written policy and procedure governing reporting.       Responsible Party:
sanitation and environmental conditions in the Facility.                   Evidence of written report provided as specified in the
These periodic reports shall be provided to the Monitor                                          provision.                          Mr. Green/Mr. Martin
within four months of the Effective Date; and every six
months thereafter until termination of this Agreement.                                                                               General Information:
The report will include:
(1) number and type of violations reported by health and                                                                             Reporting Mechanism needs to be



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                           Section                            C   P   N                         Measures                                 OPSO Compliance Plan
      sanitation inspectors;                                                                                                      updated to include data for the
(2)   number and type of violations of state standards;                                                                           Kitchen Warehouse/ OJC and
(3)   number of prisoner grievances filed regarding the                                                                           Health Department Violations.
      environmental conditions at the Facility;
(4)   number of inoperative plumbing fixtures, light
      fixtures, HVAC systems, fire protection systems, and                                                                        Desired Outcome: Work with
      security systems that have not been repaired within                                                                         Director of Maintenance or
      30 days of discovery                                                                                                        Maintenance Staff to develop
(5)   number of prisoner-occupied areas with significant                                                                          tracking mechanisms to include
      vandalism, broken furnishings, or excessive clutter;                                                                        but not limited to health
(6)   occurrences of insects and rodents in the housing                                                                           department reports, pest control
      units and dining halls; and
                                                                                                                                  reports, inmate grievance logs,
(7)   occurrences of poor air circulation in housing units.
                                                                                                                                  and maintenance reports.

                                                                                                                                  Compliance Tasks to be Completed:

                                                                                                                                  Task #1: Obtain and copy of the
                                                                                                                                  current tracking mechanism to
                                                                                                                                  review and revise to assure the
                                                                                                                                  inclusion of the new categories as
                                                                                                                                  expressed by the Federal Monitor.

                                                                                                                                  Task #2: Develop Semi Annual
                                                                                                                                  Report on time for the Federal
                                                                                                                                  Monitor

                                                                                                                                  Necessary Resources:

                                                                                                                                  No additional resources required.

                                                                                                                                  Benchmark Dates:

                                                                                                                                  Already in partial compliance.

                                                                                                                                  Substantial Compliance Date:

                                                                                                                                  September 2017.

IV. D. 4.b. Review the periodic sanitation and                    ✔       1.   Written policy and procedure governing reporting   Responsible Party: Mr. Green
environmental conditions reports to determine whether                          on environmental conditions.
the prisoner grievances and violations reported by health,                2.   Evidence of formal review of the sanitation and    General Information:



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                           Section                             C   P   N                           Measures                                 OPSO Compliance Plan
sanitation, or state inspectors are addressed, ensuring that                    environmental conditions report by staff
the requirements of this Agreement are met. OPSO shall                          responsible for implementing policies and            Issue/Problem: No established
make recommendations regarding the sanitation and                               procedures for food service, blood borne             times set to meet and review
environmental conditions, or other necessary changes in                         pathogens, chemical control, sanitation, and         inspection / maintenance reports to
policy, based on this review. The review and                                    preventive maintenance.                              determine if inmate grievances are
recommendations will be documented and provided to the                     3.   Evidence of written audits of the facilities.        legitimate or the requirement per this
Monitor.                                                                   4.   Evidence of command staff review. Determination      provision are being met.
                                                                                by OPSO that the implemented policies and            Recommendations and policy changes
                                                                                procedures are effective to address the provisions   regarding sanitation and
                                                                                of this Agreement.                                   environmental conditions are not
                                                                           5.   Evidence of effective Corrective Actions are taken   being done because of inconsistencies
                                                                                to address non-conformities identified during the    of meetings.
                                                                                review process.
                                                                           6.   Changes to policy, training curriculum, etc.         Desired Outcome: Established
                                                                                resulting from these reviews.
                                                                                                                                     predetermined weekly meetings to
                                                                                     Health Department inspection reports.
                                                                                                                                     discuss weekly sanitation inspections,
                                                                                                                                     weekly maintenance assessment from
                                                                                                                                     the environmental staff and review
                                                                                                                                     any new inmate grievances submitted
                                                                                                                                     via the Tiger system.

                                                                                                                                     Compliance Tasks to be Completed:

                                                                                                                                     Task #1: Establish a weekly date
                                                                                                                                     and time to discuss Sanitation/
                                                                                                                                     Maintenance and Inmate
                                                                                                                                     grievances.

                                                                                                                                     Task #2: Review and investigate
                                                                                                                                     Environmental Grievances
                                                                                                                                     submitted via the Tiger System
                                                                                                                                     within 48 hrs of submittal unless
                                                                                                                                     received on a weekend. Document
                                                                                                                                     response and work to resolve
                                                                                                                                     issue if legitimate.

                                                                                                                                     Necessary Resources:

                                                                                                                                     No additional resources needed.

                                                                                                                                     Benchmark Dates:




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                         Section                               C          P          N                              Measures                                   OPSO Compliance Plan
                                                                                                                                                         March 2017.

                                                                                                                                                         Substantial Compliance Date:

                                                                                                                                                         September 2017.

IV.E. Fire and Life Safety OPSO shall ensure that the Facility’s emergency preparedness and fire and life safety equipment are consistent with
constitutional standards. To protect prisoners from fires and related hazards, OPSO, at a minimum, shall:
IV. E. 1. Fire and Life Safety
IV. E. 1.a. Ensure that necessary fire and life safety                     ✔                  1. Written policy and procedure governing the              Responsible Party:
equipment is properly maintained and inspected at least                                           procedures and staff responsibility and
quarterly. These inspections must be documented.                                                  accountability assigned for a minimum of quarterly     Fire Chief Lampard
                                                                                                  inspections, repair and/or replacement of all fire
                                                                                                  and life safety equipment, included in the             General Information:
                                                                                                  controlled document inventory.
                                                                                              2. Inspections shall be completed by competent fire        OPSO life safety equipment is
                                                                                                  inspector having at a minimum successfully passed      already being properly
                                                                                                  “Fire Inspector II” training and examination in
                                                                                                                                                         maintained and inspected on a
                                                                                                  accordance with NFPA 1031, Professional
                                                                                                  Inspector Level II Qualifications and all              quarterly schedule.
                                                                                                  requirements of the Office of the Louisiana State      Documentation of these
                                                                                                  Fire Marshall.                                         inspections are already being
                                                                                              3. Development and maintenance of a complete               provided via controlled
                                                                                                  inventory of all fire and life safety equipment for    documents to the monitors as per
                                                                                                  each facility. The list needs to include, but not      document request. The problem
                                                                                                  limited to sprinkler heads, fire alarm pull boxes,     is that OPSO did not have a
                                                                                                  smoke detectors, fire suppression systems, fire
                                                                                                  extinguishers, defibrillators, SCBA equipment and
                                                                                                                                                         written policy and procedure
                                                                                                  etc.                                                   covering this sub-paragraph of
                                                                                              4. Annual master calendar for all internal and external    the agreement.
                                                                                                  inspection of all fire and life safety system
                                                                                                  equipment.                                             Desired Outcome: To have the
                                                                                              5. Development of a facility specific audit form that      completed policy and procedure
                                                                                                  demonstrates the date of completion of inspection,     (701.01 Emergency Equipment
                                                                                                  identification of all non-conforming equipment,
                                                                                                                                                         Testing and Inspections) in effect
                                                                                                  along with a corrective action report form that can
                                                                                                  demonstrate that effective corrective action was       for the next monitor’s report # 7.
                                                                                                  taken for all non-conformities.
                                                                                              6. Lesson plans/curriculum for staff assigned as           Compliance Tasks to be Completed:
                                                                                                  auditors/inspectors.
                                                                                              7. Execution of contract with a qualified contractor to    Task #1: The final draft of policy
                                                                                                  perform the inspections specified in this provision.   701.01 has completed and
                                                                                              8. Evidence of a completed, signed, and supervisory        forwarded to the monitors for



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                          Section                            C   P   N                           Measures                                    OPSO Compliance Plan
                                                                              review of all inspection and testing reports, along     approval. The OPSO Fire safety
                                                                              with documented corrective actions taken to             Officer (Chief Lampard) has been
                                                                              resolve identify issue on non-conformance.              working with the VJRS group to
                                                                         9.   Fire Department inspection reports.
                                                                                                                                      develop the 701.01 policy.
                                                                                 Interview with Fire Department officials.
                                                                                                                                      Integrate the life safety
                                                                                                                                      inspections with the Facility Dude
                                                                                                                                      maintenance tracking program.

                                                                                                                                      Necessary Resources:

                                                                                                                                      No additional resources required.

                                                                                                                                      Substantial Compliance Date:

                                                                                                                                      12/31/2016

IV. E. 1.b. Ensure that a qualified fire safety officer          ✔       1.   Job description/post orders, including qualifications   Responsible Party:
conducts a monthly inspection of the facilities for                           for a fire safety officer in accordance with NFPA
compliance with fire and life safety standards (e.g., fire                    requirements for a “Certified Fire Inspector Level      Fire Chief Lampard
escapes, sprinkler heads, smoke detectors, etc.).                             II”
                                                                         2.   Written policy and procedures including evidence        General Information:
                                                                              of attendance at any and all 3-year certification
                                                                              seminars for certification renewal or current license   Monthly inspections by a qualified
                                                                              from the Office of the State Fire Marshall              Fire safety Officer and
                                                                         3.   Also include measures 3, 4, 5, 7 of IV.E.1.a.
                                                                                                                                      documentation are already being
                                                                         4.   Review and observation of completed reports and
                                                                              corrective actions taken.                               provided to the monitors via
                                                                                      Interview with fire safety officer.             controlled documents as per
                                                                                                                                      document request. Presently
                                                                                                                                      OPSO does not have a policy and
                                                                                                                                      procedure covering this sub-
                                                                                                                                      paragraph of the agreement.

                                                                                                                                      Desired Outcome: To have the
                                                                                                                                      completed policy and procedure
                                                                                                                                      (701.01 Emergency Equipment
                                                                                                                                      Testing and Inspections) in effect
                                                                                                                                      for the next monitor’s report # 7.

                                                                                                                                      Compliance Tasks to be Completed:




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                         Section                              C   P   N                          Measures                                    OPSO Compliance Plan
                                                                                                                                      Task #1: The final draft of policy
                                                                                                                                      701.01 has completed and
                                                                                                                                      forwarded to the monitors for
                                                                                                                                      approval. The OPSO Fire safety
                                                                                                                                      Officer (Chief Lampard) has been
                                                                                                                                      working with the VJRS group to
                                                                                                                                      develop the 701.01 policy.
                                                                                                                                      Integrate the life safety
                                                                                                                                      inspections with the Facility Dude
                                                                                                                                      maintenance tracking program.

                                                                                                                                      Necessary Resources:

                                                                                                                                      No additional resources required.

                                                                                                                                      Substantial Compliance Date:

                                                                                                                                      12/31/2016

IV. E. 1.c. Ensure that comprehensive fire drills are                 ✔   1.   Written policy and procedures governing staff          Responsible Party:
conducted every six months. OPSO shall document these                          responsibilities and accountability for conducting
drills, including start and stop times and the number and                      fire drills within each facility in accordance with    Fire Chief Lampard
location of prisoners who were moved as part of the drills.                    the provision. The policy shall include applicable
                                                                               drill reports that outline at a minimum start and      General Information:
                                                                               stop times of the drills and the number and location
                                                                               of inmates who were moved as part of the drills, a     Fire drills are already being
                                                                               formal review process for each drill that identifies   conducted on the required
                                                                               the root cause and verification of effective           frequency and documentation
                                                                               corrective actions as necessary for non-               provided to the monitors via
                                                                               conformities with the fire safety and evacuation
                                                                                                                                      controlled documents as per the
                                                                               plan(s)
                                                                                                                                      document request.
                                                                          2.   Development and implementation of fire drill audit
                                                                               form(s)
                                                                                                                                      Desired Outcome: Policy and
                                                                          3.   Annual schedule of drills for each facility.
                                                                                                                                      procedure (401.05 Fire Safety and
                                                                               demonstrating rotating drills to assure each areas
                                                                               are drilled at a required frequency.                   Evacuations) has already been
                                                                                                                                      approved by all involved parties
                                                                          4.   Observation of drills and/or drill reports.
                                                                                                                                      and has been signed into effect.
                                                                          5.   Evidence of collaboration with the NOFD;
                                                                               interview with NOFD.                                   Compliance Tasks to be Completed:
                                                                                            Interviews with inmates.




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                         Section                            C   P   N                          Measures                                   OPSO Compliance Plan
                                                                                                                                   Task #1: OPSO Training Division
                                                                                                                                   along with OPSO Fire Safety
                                                                                                                                   Officer have already begun
                                                                                                                                   training of staff members to
                                                                                                                                   Policy 401.05.

                                                                                                                                   Task #2: Fire Drills (Level2) will
                                                                                                                                   be conducted by the OPSO Fire
                                                                                                                                   Safety Officer during the staff
                                                                                                                                   training on Policy 401.05 to
                                                                                                                                   ensure that personnel on all shifts
                                                                                                                                   will be included.

                                                                                                                                   Necessary Resources:

                                                                                                                                   No additional resources required.

                                                                                                                                   Substantial Compliance Date:

                                                                                                                                   12/31/2016

IV. E. 1.d. Provide competency-based training to staff on           ✔   1.    Development and implementation of a                  Responsible Party: Fire Chief Lampard
proper fire and emergency practices and procedures at                        competency-based training policy for all correction
least annually.                                                              staff on safe and effective use of all fire and       General Information:
                                                                             emergency equipment, firefighting, safe
                                                                             evacuation.                                           OPSO received non-compliance
                                                                        2.   Development and implementation of a fire and          status for sub-paragraph I.V.E.1.d
                                                                             emergency practices and procedures training course    in the monitor# 6 final report.
                                                                             syllabus/outline, along with a written exam that
                                                                             measures the competency of the corrections staff
                                                                                                                                   Sub-monitor Grenawitzke issued
                                                                             for the fire safety and evacuation plan and           this status report sighting a lack
                                                                             establishes an acceptable passing score.              of policy and procedures, training,
                                                                        3.   Written directive regarding how OPP will identify     and implementation.
                                                                             each officer and staff that is required to receive
                                                                             training, the training date, name of officer/staff    Compliance Tasks to be Completed:
                                                                             trained, competency measurement score, and the
                                                                             training provider.                                    Task #1: Schedule and initiate
                                                                        4.   Documented verification by sign-in logs of            training ASAP.
                                                                             participants, and validation of successful
                                                                             completion of the training.
                                                                                                                                   Task #2: Provide training to 75%
                                                                        5.   Observation of implementation
                                                                                                 Interviews.                       of required personnel by



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                          Section                               C   P   N                          Measures                                    OPSO Compliance Plan
                                                                                                                                        12/31/16.

                                                                                                                                        Task #3: Implement policy
                                                                                                                                        procedures to staff after proper
                                                                                                                                        training.

                                                                                                                                        Task #4: Assure that all new
                                                                                                                                        employees receive proper
                                                                                                                                        training and that previously
                                                                                                                                        trained personnel receive
                                                                                                                                        required annual refresher classes
                                                                                                                                        to maintain compliance.

                                                                                                                                        Necessary Resources:

                                                                                                                                        No additional resources needed.

                                                                                                                                        Benchmark Dates:

                                                                                                                                        50% completion date
                                                                                                                                        12/15/2016.

                                                                                                                                        Substantial Compliance Date:

                                                                                                                                        12/31/2016

IV. E. 1.e. Within 120 days of the Effective Date, ensure           ✔       1.   Written policy and procedures regarding staff          Responsible Party:
that emergency keys are appropriately marked and                                 responsibility and accountability for the systematic
identifiable by touch and consistently stored in a quickly                       marking of all emergency keys, including sight and     Fire Chief Lampard
accessible location, and that staff are adequately trained in                    touch identification and designated locations for
use of the emergency keys.                                                       quick access for all keys. All policies and            General Information:
                                                                                 procedures are to be reviewed and updated as
                                                                                 necessary and at least annually on a schedule.         Emergency Key sets have been
                                                                            2.   Implementation of the policy and procedure             completed, properly marked and
                                                                            3.   Documented evidence of officer and staff training
                                                                                 on the policy and procedure.
                                                                                                                                        stored in OPSO jail facilities since
                                                                            4.   Observation of keys. Observation of staff utilizing    the inception of this agreement.
                                                                                 keys.                                                  The issue was that OPSO did not
                                                                                                                                        have a written policy and
                                                                                                                                        procedure covering this sub-
                                                                                                                                        paragraph.



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                         Section                           C   P   N                   Measures                  OPSO Compliance Plan

                                                                                                          Desired Outcome: To have all
                                                                                                          OPSO jail staff properly trained to
                                                                                                          Policy (801.35 Key Control).

                                                                                                          Compliance Tasks to be Completed:

                                                                                                          Task #1: Proper Storage and
                                                                                                          usage of the facility emergency
                                                                                                          key set is being taught during the
                                                                                                          Fire Safety classes conducted by
                                                                                                          the OPSO Training Division and
                                                                                                          OPSO Fire Safety Officer.

                                                                                                          Provide training to all required
                                                                                                          OPSO staff members as required
                                                                                                          by this sub-paragraph.

                                                                                                          Necessary Resources:

                                                                                                          No additional resources required.

                                                                                                          Substantial Compliance Date:

                                                                                                          12/31/2016

IV. E. 2. Fire and Life Safety Reporting
IV. E. 2.a.1-3 Provide the Monitor a periodic report on        ✔       1. Written policy and procedure    Responsible Party:
fire and life safety conditions at the Facility. These
periodic reports shall be provided to the Monitor within                  governing required reporting.   Fire Chief Lampard
four months of the Effective Date and every six months
thereafter until termination of this Agreement. Each                                                      General Information:
report shall include:
(1) number and type of violations reported by fire and                                                    In lieu of facility fire safety
life safety inspectors;                                                                                   officers being in service, the OPSO
(2) fire code violations during annual fire inspections;
and
                                                                                                          Fire safety Officer has provided
(3) occurrences of hazardous clutter in housing units                                                     the reports referenced in this sub-
that could lead to a fire.                                                                                paragraph.

                                                                                                          Desired Outcome: To have facility



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                          Section                              C   P   N                         Measures                                  OPSO Compliance Plan
                                                                                                                                    fire safety officers (staff
                                                                                                                                    members) trained and placed in
                                                                                                                                    service in all OPSO jail facilities.

                                                                                                                                    Compliance Tasks to be Completed:

                                                                                                                                    Task #1: Provide advanced
                                                                                                                                    training to the facility fire safety
                                                                                                                                    officers in addition to the fire
                                                                                                                                    safety curriculum.

                                                                                                                                    Necessary Resources:

                                                                                                                                    No additional resources required.

                                                                                                                                    Substantial Compliance Date:

                                                                                                                                    To be determined.

IV. E. 2.b. Review the periodic fire and life safety reports           ✔   1.   Written policy and procedure governing required     Responsible Party:
to determine whether the violations reported by fire and                        reporting.
life safety inspectors are addressed, ensuring the                         2.   Evidence of formal reviews of the fire and life     Fire Chief Lampard
requirements of this Agreement are being met. OPSO                              safety conditions report by staff responsible for
shall make recommendations regarding the fire and life                          implementing policies and procedures for food       General Information:
safety conditions, or other necessary changes in policy,                        service, blood borne pathogens, chemical control,
based on this review. The review and recommendations                            sanitation, and preventive maintenance.             OPSO at this time does not have
will be documented and provided to the Monitor.                            3.   Evidence of written audits of the facilities.       board to review and address
                                                                           4.   Evidence of command staff review. Determination
                                                                                by OPSO that the policies and procedures are
                                                                                                                                    violations. OPSO also at this time
                                                                                effective to address the requirements of this       does not have designated staff
                                                                                Agreement.                                          member safety officers to
                                                                           5.   Documentation of Corrective Actions taken to        provide the above mentioned
                                                                                address non-conformities identified during the      violation reports.
                                                                                review process.
                                                                           6.   Changes to policy, training curriculum, etc.        Desired Outcome: Have OPSO
                                                                                resulting from these reviews.
                                                                                                                                    designate and provide facility
                                                                                Review of Fire Department reports/inspections;
                                                                                             interviews with NOFD.                  safety officers to assist the OPSO
                                                                                                                                    Fire Safety Officer in performance
                                                                                                                                    of duties to achieve substantial
                                                                                                                                    compliance status.




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                       Section                              C         P         N                             Measures                             OPSO Compliance Plan
                                                                                                                                            Presently, OPSO Fire Safety
                                                                                                                                            Officer ( Chief Lampard ) conducts
                                                                                                                                            monthly and quarterly
                                                                                                                                            inspections and fire drills in all
                                                                                                                                            OPSO jail facilities and provides
                                                                                                                                            documentation to the Monitors

                                                                                                                                            Compliance Tasks to be Completed:

                                                                                                                                            Task #1: Continue providing
                                                                                                                                            required inspection reports and
                                                                                                                                            conducting fire drills.
                                                                                                                                            Documenting results and
                                                                                                                                            providing these reports to the
                                                                                                                                            monitors relevant to their
                                                                                                                                            document request.

                                                                                                                                            Task #2: Continue to advocate the
                                                                                                                                            initiation of facility staff member
                                                                                                                                            safety officers to meet the
                                                                                                                                            requirements of this sub-
                                                                                                                                            paragraph.

                                                                                                                                            Task #3: Establish an OPSO
                                                                                                                                            review board to meet the
                                                                                                                                            requirements of this sub-
                                                                                                                                            paragraph

                                                                                                                                            Necessary Resources:

                                                                                                                                            Facility staff member Safety Officers
                                                                                                                                            (2 per shift)- Review Board.

                                                                                                                                            Substantial Compliance Date:

                                                                                                                                            To be determined.

IV.F. Language Assistance
IV.F.1. Timely and Meaningful Access to Services/Timely and Meaningful Access to Services
IV.F.1.a. OPP shall ensure effective communication with,             ✔                  2.   Written policy/procedure governing effective   Responsible Party: Captain Peters



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                             Section                         C   P   N                            Measures                                  OPSO Compliance Plan
and provide timely and meaningful access to services at                       communication. See also IV.F.2.b. (1)-(9)
OPP to all prisoners at OPP, regardless of their national                3.   Review of materials.                                   General Information:
origin or limited ability to speak, read, write, or                      4.   Lesson plans, training materials, evidence of
understand English. To achieve this outcome, OPP shall:                       knowledge gained.                                      The OPSO language assistance
(1) Develop and implement a comprehensive language                       5.   Inmate interviews.                                     policies have been approved.
     assistance plan and policy that complies, at a                      6.   Certification process for OPPAI; documentation         Training materials are currently
     minimum, with Title VI of the Civil Rights Act of                   7.   Observation
     1964, as amended, (42 U.S.C. § 2000d et seq.) and
                                                                                                                                     being drafted.
                                                                         8.   Language line (or similar) contract; evidence of use
     other applicable law;                                               9.   Report identifying inmate demographics, set hiring
(2) Ensure that all OPP personnel take reasonable steps                       goals, identification and deployment of bi-lingual     OPSO needs to locate and certify
     to provide timely, meaningful language assistance                        staff. Hiring of bi-lingual staff.                     employees wishing to function as
     services to Limited English Proficient (“LEP”)                                                                                  interpreters within the jail
     prisoners;                                                                                                                      system, with a primary emphasis
(3) At intake and classification, identify and assess                                                                                on Spanish and Vietnamese. The
     demographic data, specifically including the number
                                                                                                                                     certification process is critical as
     of LEP individuals at OPP on a monthly basis, and
     the language(s) they speak;                                                                                                     knowledge of another language is
(4) Use collected demographic information to develop                                                                                 not enough to function as an
     and implement hiring goals for bilingual staff that                                                                             interpreter. Interpretation is not
     meet the needs of the current monthly average                                                                                   the same as speaking and
     population of LEP prisoners;                                                                                                    understanding another language.
(5) Regularly assess the proficiency and qualifications of                                                                           Deputies successfully completing
     bilingual staff to become an OPP Authorized                                                                                     a certification program should
     Interpreter (“OPPAI”);
(6) Create and maintain an OPPAI list and provide that
                                                                                                                                     receive some incentive. Having
     list to the classification and intake staff; and                                                                                certified deputies on all shifts to
(7) Ensure that while at OPP, LEP prisoners are not                                                                                  provide interpretation will be a
     asked to sign or initial documents in English without                                                                           challenge with staffing shortages.
     the benefit of a written translation from an OPPAI.                                                                             Have deputies on each shift who
                                                                                                                                     are certified interpreters. Provide
                                                                                                                                     these deputies with an incentive.

                                                                                                                                     Inmate forms and documents
                                                                                                                                     need to be translated into Spanish
                                                                                                                                     and Vietnamese.

                                                                                                                                     Compliance Tasks to be Completed:

                                                                                                                                     Task #1: Complete policy training
                                                                                                                                     materials. Complete abbreviated
                                                                                                                                     inmate training materials.
                                                                                                                                     Completion by 03/31/2017.



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                                                                            Task #2: Train staff on language
                                                                            assistance policies. Completion
                                                                            by 07/01/2017.

                                                                            Task #3: Create and send out a
                                                                            survey to all staff to see if there is
                                                                            any interest in functioning as an
                                                                            interpreter. Completion by
                                                                            01/15/2017.

                                                                            Task #4: Develop an incentive
                                                                            plan for deputies successfully
                                                                            completing certification program.
                                                                            Completion by 02/01/2017.

                                                                            Task #5: Identify a certification
                                                                            provider/vendor. Completion by
                                                                            03/01/2017.

                                                                            Task #6: Begin testing and
                                                                            certifying interpreters. Ongoing
                                                                            process but initiation will begin
                                                                            on 04/15/2017.

                                                                            Task #7: Translate inmate forms
                                                                            into Spanish and Vietnamese.
                                                                            Completion date of 05/01/2017.

                                                                            Necessary Resources:

                                                                            Financial. The certification
                                                                            services and the employee
                                                                            incentives are going to require
                                                                            funding. Funding will be required
                                                                            to translate inmate forms into
                                                                            Spanish and Vietnamese.

                                                                            Substantial Compliance Date:



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                                                                                                                                       07/01/2017

IV.F.2. Language Assistance Policies and Procedures
IV.F.2.a. OPP shall develop and implement written              ✔           1.   Written policy/procedures for intake, tracking, care   Responsible Party: Captain Peters
policies, procedures and protocols for documenting,                             of inmates on 48 hour holds for DHS. See
processing, and tracking of individuals held for up to 48                       IV.F.2.b.(1)-(9)                                       Substantial Compliance Date:
hours for the U.S. Department of Homeland Security                         2.   Review of inmate files.
(“DHS”);                                                                   3.   Inmate interviews. Observation.                        OPSO is currently compliant with
                                                                                                                                       this provision.

IV.F.2.b. Policies, procedures, and protocols for              ✔           1.   See IV.F.2.a. See also IV.F.1.a. (1)-(7)               Responsible Party: Captain Peters
processing 48-hour holds for DHS will:                                     2.   Review of logs.
(1) Clearly delineate when a 48-hour hold is deemed to                     3.   Interviews of OPPAIs                                   Substantial Compliance Date:
     begin and end;                                                        4.   Review of inmate files.
(2) Ensure that, if necessary, an OPPAI communicates                       5.   Review of signs, inmate handbooks, other               OPSO is currently compliant with
     verbally with the OPP prisoner about when the 48-                          instructional materials.                               this provision.
     hour period begins and is expected to end;                            6.   Memorandum of agreement/contract DHS
(3) Provide a mechanism for the prisoner’s family                               regarding DHS materials.
     member and attorney to be informed of the 48-hour                                     Language Assistance Plan
     hold time period, using, as needed, an OPPAI or
     telephonic interpretation service;
(4) Create an automated tracking method, not reliant on
     human memory or paper documentation, to trigger
     notification to DHS and to ensure that the 48-hour
     time period is not exceeded.
(5) Ensure that telephone services have recorded
     instructions in English and Spanish;
(6) Ensure that signs providing instructions to OPP
     prisoners or their families are translated into Spanish
     and posted;
(7) Provide Spanish translations of vital documents that
     are subject to dissemination to OPP prisoners or their
     family members. Such vital documents include, but
     are not limited to:
     i. grievance forms;
     ii. sick call forms;
     iii. OPP inmate handbooks;
     iv. Prisoner Notifications (e.g., rule violations,
transfers, and grievance responses) and
     v. “Request for Services” forms.
(8) Ensure that Spanish-speaking LEP prisoners obtain
     the Spanish language translations of forms provided



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     by DHS; and
(9) Provide its language assistance plan and related
     policies to all staff within 180 days of the Effective
     Date of this Agreement.
IV.F.3. Language Assistance Training
IV.F.3.a. Within 180 days of the Effective Date, OPP                ✔       1.  See IV.F.2.a. and IV.F.1.a. (1)-(7)                  Responsible Party: Captain Peters
shall provide at least eight hours of LEP training to all                   2.  Lesson plans, training materials, evidence of
corrections and medical and mental health staff who may                         knowledge gained. Review of qualification of         General Information:
regularly interact with LEP prisoners.                                          instructors.
(1) LEP training to OPP staff shall include:                                3. List of employees needing training.                   The OPSO language assistance
     i. OPP’s LEP plan and policies, and the                                4. Interviews with employees; interviews with            policies have been approved.
requirements of Title VI and this Agreement;                                    inmates                                              Training materials are currently
     ii. how to access OPP-authorized, telephonic and                       5. Observation
in-person OPPAIs; and
                                                                                                                                     being drafted.
                                                                             Language Assistance Plan, translated into Spanish and
     iii. basic commands and statements in Spanish for                        other languages. Posted in public areas and online.
OPP staff.                                                                                                                           OPSO needs to locate and certify
(2) OPP shall translate the language assistance plan and                                                                             employees wishing to function as
     policy into Spanish, and other languages as                                                                                     interpreters within the jail
     appropriate, and post the English and translated                                                                                system, with a primary emphasis
     versions in a public area of the OPP facilities, as well                                                                        on Spanish and Vietnamese. The
     as online.
                                                                                                                                     certification process is critical as
(3) OPP shall make its language assistance plan
     available to the public.                                                                                                        knowledge of another language is
                                                                                                                                     not enough to function as an
                                                                                                                                     interpreter. Interpretation is not
                                                                                                                                     the same as speaking and
                                                                                                                                     understanding another language.
                                                                                                                                     Deputies successfully completing
                                                                                                                                     a certification program should
                                                                                                                                     receive some incentive. Having
                                                                                                                                     certified deputies on all shifts to
                                                                                                                                     provide interpretation will be a
                                                                                                                                     challenge with staffing shortages.
                                                                                                                                     Have deputies on each shift who
                                                                                                                                     are certified interpreters. Provide
                                                                                                                                     these deputies with an incentive.

                                                                                                                                     Inmate forms and documents
                                                                                                                                     need to be translated into Spanish
                                                                                                                                     and Vietnamese. The language
                                                                                                                                     assistance policies and plan need



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                                                                            to be translated.

                                                                            Compliance Tasks to be Completed:

                                                                            Task #1: Complete policy training
                                                                            materials. Complete abbreviated
                                                                            inmate training materials.
                                                                            Completion by 03/31/2017.

                                                                            Task #2: Train staff on language
                                                                            assistance policies. Completion
                                                                            by 07/01/2017.

                                                                            Task #3: Create and send out a
                                                                            survey to all staff to see if there is
                                                                            any interest in functioning as an
                                                                            interpreter. Completion by
                                                                            01/15/2017.

                                                                            Task #4: Develop an incentive
                                                                            plan for deputies successfully
                                                                            completing certification program.
                                                                            Completion by 02/01/2017.

                                                                            Task #5: Identify a certification
                                                                            provider/vendor. Completion by
                                                                            03/01/2017.

                                                                            Task #6: Begin testing and
                                                                            certifying interpreters. Ongoing
                                                                            process but initiation will begin
                                                                            on 04/15/2017.

                                                                            Task #7: Translate inmate forms
                                                                            into Spanish and Vietnamese.
                                                                            Translate language assistance
                                                                            policies and plans. Completion by
                                                                            05/01/2017.




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                           Section                             C   P   N                          Measures                                   OPSO Compliance Plan
                                                                                                                                      Task #8: Locate LEP Spanish
                                                                                                                                      training method for staff (basic
                                                                                                                                      Spanish). Begin training staff.
                                                                                                                                      Expected completion date of
                                                                                                                                      12/31/2017.

                                                                                                                                      Necessary Resources:

                                                                                                                                      Financial. The certification
                                                                                                                                      services and the employee
                                                                                                                                      incentives are going to require
                                                                                                                                      funding. Funding will be required
                                                                                                                                      to translate inmate forms and the
                                                                                                                                      language assistance policies into
                                                                                                                                      Spanish and Vietnamese. There
                                                                                                                                      may be a cost associated with LEP
                                                                                                                                      training for officers/staff
                                                                                                                                      (whether it is online or instructor-
                                                                                                                                      led).

                                                                                                                                      Substantial Compliance Date:

                                                                                                                                      12/31/2017

IV.F.4. Bilingual Staff
IV.F.4.                                                                ✔   1. See IV.F.2.a. and IV.F.1.a. (1)-(7),                    Responsible Party: Captain Peters
(1) OPP shall ensure that adequate bilingual staff are                     2. Staff deployment plan with DHS detainees and
     posted in housing units where DHS detainees and                          LEP inmates.                                            General Information:
     other LEP prisoners may be housed.                                    3. Recruiting/hiring of bi-lingual employees.
(2) OPP shall ensure that an appropriate number of                         4. Review of staff deployment.                             OPSO needs to locate and certify
     bilingual staff are available to translate or interpret               5. Review of housing units logs                            employees wishing to function as
     for prisoners and other OPP staff. The appropriate                    6. Interviews with inmates.                                interpreters within the jail
     number of bilingual staff will be determined based                    7. Identification of process by which OPSO confirms
     on a staffing assessment by OPP.
                                                                                                                                      system, with a primary emphasis
                                                                                  that the staff are proficient in their identified
                                                                                                      language.
                                                                                                                                      on Spanish and Vietnamese. The
                                                                                                                                      certification process is critical as
                                                                                                                                      knowledge of another language is
                                                                                                                                      not enough to function as an
                                                                                                                                      interpreter. Interpretation is not
                                                                                                                                      the same as speaking and
                                                                                                                                      understanding another language.


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                                                                            Deputies successfully completing
                                                                            a certification program should
                                                                            receive some incentive. Having
                                                                            certified deputies on all shifts to
                                                                            provide interpretation will be a
                                                                            challenge with staffing shortages.
                                                                            Have deputies on each shift who
                                                                            are certified interpreters. Provide
                                                                            these deputies with an incentive.

                                                                            Compliance Tasks to be Completed:

                                                                            Task #1: Create and send out a
                                                                            survey to all staff to see if there is
                                                                            any interest in functioning as an
                                                                            interpreter. Completion by
                                                                            01/15/2017.

                                                                            Task #2: Develop an incentive
                                                                            plan for deputies successfully
                                                                            completing certification program.
                                                                            Completion by 02/01/2017.

                                                                            Task #3: Identify a certification
                                                                            provider/vendor. Completion by
                                                                            03/01/2017.

                                                                            Task #4: Begin testing and
                                                                            certifying interpreters. Ongoing
                                                                            process but initiation will begin
                                                                            on 04/15/2017.

                                                                            Necessary Resources:

                                                                            Financial. The certification
                                                                            services and the employee
                                                                            incentives are going to require
                                                                            funding.

                                                                            Substantial Compliance Date:



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                                                                                                                                       05/15/2017

IV.G. Youthful Prisoners
IV.G. Consistent with the Prison Rape Elimination Act of           ✔       1.   Written policy/procedures governing classification     Responsible Party:
2003, 42 U.S.C. § 15601, et seq., and its implementation                        and housing of youthful inmates, including but not
of regulations, a youthful prisoner shall not be placed in a                    to sight/sound separation, provision of services,      Colonel Colvin/Mr. Carroll
housing unit in which the youthful prisoner will have                           protective custody, education and other services,
sight, sound, or physical contact with any adult prisoner                       services for youthful inmates with mental illness or   General Information:
through use of a shared dayroom or other common space,                          who are developmentally disabled, access to
shower area, or sleeping quarters. In areas outside of                          medical and mental health services.                    Ensure that Youth Offenders have
housing units, OPSO shall either: maintain sight and                       2.   Housing plan; classification plan.                     no Physical or Visual Contact with
sound separation between youthful prisoners and adult                      3.   Observation
prisoners, or provide direct staff supervision when
                                                                                                                                       Adult Offenders.
                                                                           4.   Interview with youthful inmates.
youthful prisoners and adult prisoners have sight, sound,                  5.   Review of recreation and program schedules.
or physical contact. OPP shall ensure that youthful                        6.   Review of inmate files (developmentally disabled,      Desired Outcome: Remove Youth
prisoners in protective custody status shall have no                            mental illness)                                        Offenders to city owned/run
contact with, or access to or from, non-protective custody                 7.   Review of housing unit logs, program schedules.        “Youth Studies Center”.
prisoners. OPP will develop policies for the provision of
developmentally appropriate mental health and                                                                                          While juvenile detainees are still
programming services.
                                                                                                                                       in our custody:

                                                                                                                                       Define, develop and implement
                                                                                                                                       Programs and Policies for the
                                                                                                                                       provision of developmentally
                                                                                                                                       appropriate OPSO Youthful
                                                                                                                                       Prisoners. Identify what the
                                                                                                                                       programming will entail. Identify
                                                                                                                                       stakeholders, volunteers and
                                                                                                                                       support groups who will support
                                                                                                                                       and facilitate programming.
                                                                                                                                       Identify who will recruit, and
                                                                                                                                       train volunteers? Will any
                                                                                                                                       resources be allocated for
                                                                                                                                       programming? Who will train
                                                                                                                                       Officers working with Youthful
                                                                                                                                       prisoners? Ensure that the
                                                                                                                                       structure and daily schedules for
                                                                                                                                       Youthful prisoners are made and
                                                                                                                                       operate as scheduled.



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                                                                            Desired Outcome
                                                                            OPSO Programming Department
                                                                            will define develop and
                                                                            implement programs and policies
                                                                            for the provision of
                                                                            developmentally appropriate
                                                                            programming services. OPSO
                                                                            Programming Department (along
                                                                            with support from
                                                                            Administration) will identify what
                                                                            programming will entail, identify
                                                                            and reach out to volunteers, and
                                                                            support organizations that will
                                                                            support and facilitate. OPSO will
                                                                            hire a Volunteer Coordinator who
                                                                            will recruit and train volunteers.
                                                                            Because of budget constraints
                                                                            very little resources (other than
                                                                            employees) have been allocated
                                                                            for programming. The OPSO
                                                                            Training Department will train
                                                                            Officers that work with Youthful
                                                                            prisoners. The Program
                                                                            Coordinator/Director will ensure
                                                                            the structure and daily schedule
                                                                            for Youthful prisoners are
                                                                            developed and operate as
                                                                            scheduled.

                                                                            Compliance Tasks to be Completed:

                                                                            Task #1: Agreement to remove
                                                                            Youth Offenders from OJC and
                                                                            place them in City “Youth Studies
                                                                            Center”.

                                                                            While juvenile inmates are still in
                                                                            custody:


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                                                                            Task #1: Program Development
                                                                            and Implementation
                                                                            The Youthful prisoners Program
                                                                            elements have been developed
                                                                            and implementation started
                                                                            which consists of the following:
                                                                            (1) Programming- Cognitive
                                                                            Behavior therapy (CBT), Moral
                                                                            Reconation Therapy (MRT) and
                                                                            the THINK Program. (2) Religious
                                                                            Programming – OPSO Volunteer
                                                                            Chaplains, New Orleans
                                                                            Archdiocese, Baptist, Islamic and
                                                                            other religious organizations. (3)
                                                                            Educational Programs – New
                                                                            Orleans School Board, Alternative
                                                                            Learning Institute (A.L.I.) Life
                                                                            skills and other educational
                                                                            programs will be taught by other
                                                                            NOLA Volunteers groups (4)
                                                                            Rehabilitative/Resource
                                                                            Programming - with such
                                                                            organization like Planned
                                                                            Parenthood, Urban League,
                                                                            Council on Alcohol and Drug
                                                                            Abuse (CADA) and Additional and
                                                                            additional stakeholders and
                                                                            Volunteers. A Volunteer
                                                                            Coordinator has been hired to
                                                                            recruit and train Volunteers of the
                                                                            program. The OPSO programming
                                                                            structure is in place and the daily
                                                                            schedule in place. Additional
                                                                            Volunteers, Resources, and other
                                                                            aforementioned program types
                                                                            will be added to advance the
                                                                            overall OPSO Youthful prisoners



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                                                                                                      program and ensure compliance
                                                                                                      by the Program
                                                                                                      Coordinator/Director. Expected
                                                                                                      completion date of 12/01/2016.

                                                                                                      Task #2: Written policies for the
                                                                                                      youthful prisoners. Expected
                                                                                                      completion date of 01/30/2017.

                                                                                                      Necessary Resources:

                                                                                                      To be determined.

                                                                                                      Benchmark Dates:

                                                                                                      To be determined for transfer of
                                                                                                      juveniles.

                                                                                                      Substantial Compliance Date:

                                                                                                      To be determined. To be
                                                                                                      determined for transfer of
                                                                                                      juveniles.

VI. The New Jail Facility
VI. A. The Parties anticipate that Defendant will build a   ✔                                         Responsible Party: N/A
new jail facility or facilities that will replace or
supplement the current facility located at 2800 Gravier                                               Substantial Compliance Date:
Street, New Orleans, Louisiana. This Agreement shall
apply to any new jail facility.                                                                       Already in compliance with this
                                                                                                      provision of the Consent
                                                                                                      Judgment as of 02/19/2016.

VI. B. Defendant shall obtain the services of a qualified   ✔                                         Responsible Party: N/A
professional to evaluate, design, plan, oversee, and
implement the construction of any new facility. At each                                               Substantial Compliance Date:
major stage of the facility construction, Defendant shall
provide the Monitor with copies of design documents.                                                  Already in compliance with this
                                                                                                      provision of the Consent Judgment as of
                                                                                                      02/19/2016.




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VI. C. Defendant shall consult with a qualified corrections        ✔                                   Responsible Party: Mr. Bruno
expert as to the required services and staffing levels
needed for any replacement facility. OPSO shall                                                        General Information:
complete a staffing study to ensure that any new facility is
adequately staffed to provide prisoners with reasonable                                                OPSO is currently understaffed.
safety.                                                                                                OPSO has engaged the services of
                                                                                                       a consultant to determine the
                                                                                                       staffing needs based on the
                                                                                                       population and setup of the
                                                                                                       facilities. Mr. Rod Miller is
                                                                                                       heading up this project and
                                                                                                       expects to be complete in the first
                                                                                                       quarter of 2017. The evaluation
                                                                                                       will include OJC as well as the
                                                                                                       courts.

                                                                                                       In the meantime OPSO is making
                                                                                                       every effort to get every non-
                                                                                                       commissioned officer their
                                                                                                       commission. This will provide
                                                                                                       them with a $6,000 increase in
                                                                                                       pay and also allow them to do
                                                                                                       details on their own time. OPSO is
                                                                                                       also putting in place an aggressive
                                                                                                       training plan to properly train the
                                                                                                       deputies in working in a direct
                                                                                                       supervision jail. OPSO believes
                                                                                                       that these measures will decrease
                                                                                                       increase the retention rate of our
                                                                                                       employees at OJC.

                                                                                                       Compliance Tasks to be Completed:

                                                                                                       Task #1: Complete and submit
                                                                                                       staffing report.

                                                                                                       Necessary Resources:

                                                                                                       No additional resources required.



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                                                                                                                                        Benchmark Dates:

                                                                                                                                        First quarter of 2017.

                                                                                                                                        Substantial Compliance Date:

                                                                                                                                        To be determined.

VI. D. Defendant will ensure that the new jail facility will    ✔                                                                       Responsible Party: Director Maynard
be built in accordance with: (1) the American
Correctional Association’s standards in effect at the time                                                                              Substantial Compliance Date:
of construction; (2) the American with Disabilities Act of
1990 (“ADA”), 42 U.S.C. §§ 12101-12213, including                                                                                       OPSO is compliant with this
changes made by the ADA Amendments of 2008 (P.L.                                                                                        provision.
110-325) and 47 U.S.C. §§ 225-661, and the regulations
thereunder; and (3) all applicable fire codes and
regulations.
VII. Compliance and Quality Improvement
VII. A. Within 120 days of the Effective Date, OPSO                 ✔       1. Policies and procedures manual.                          Responsible Party: Captain Peters
shall revise and/or develop its policies, procedures,                        Process/spreadsheet to identify all existing and planned
protocols, training curricula, and practices to ensure that                  written directives, dates when expected to be submitted    General Information:
they are consistent with, incorporate, address, and                                            for monitors’ review.
implement all provisions of this Agreement. OPSO shall                                                                                  We have already completed well
revise and/or develop, as necessary, other written                                                                                      over half of the CJ-related policies.
documents, such as screening tools, logs, handbooks,
manuals, and forms, to effectuate the provisions of this                                                                                Compliance Tasks to be Completed:
Agreement. OPSO shall send pertinent newly-drafted and
revised policies and procedures to the Monitor as they are                                                                              Task #1: Complete the remaining
promulgated. The Monitor will provide comments on the
policies to OPSO, SPLC, and DOJ within 30 days.
                                                                                                                                        CJ-related policies.
OPSO, SPLC, and DOJ may provide comments on the
                                                                                                                                        Necessary Resources:
Monitor’s comments within 15 days. At that point, the
Monitor will consider the Parties’ comments, mediate any
                                                                                                                                        No additional resources required. We
disputes, and approve the policies with any changes
within 30 days. If either party disagrees with the Monitor,                                                                             will continue utilizing VRJS which is
they may bring the dispute to the Court. OPSO shall                                                                                     already budgeted.
provide initial and in-service training to all Facility staff
with respect to newly implemented or revised policies and                                                                               Benchmark Dates:
procedures. OPSO shall document employee review and
training in new or revised policies and procedures.                                                                                     We are currently well over
                                                                                                                                        halfway through revising the CJ-
                                                                                                                                        specific policies.




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                         Section                             C   P   N                          Measures                             OPSO Compliance Plan
                                                                                                                              Substantial Compliance Date:

                                                                                                                              We are projecting having all of the
                                                                                                                              remaining CJ-related policies
                                                                                                                              completed by 07/30/2017. This
                                                                                                                              is a conservative estimate as the
                                                                                                                              review process involves the
                                                                                                                              transmission/review by multiple
                                                                                                                              parties to the Consent Judgment,
                                                                                                                              which is a time-consuming
                                                                                                                              process.

VI. B. (H.) Within 180 days of the Effective Date,                   ✔   1.    Written policy/procedure governing quality     Responsible Party: Captain Peters
Defendant shall develop and implement written quality                         improvement.
improvement policies and procedures adequate to identify                 2.   Written report.                                 General Information:
serious deficiencies in protection from harm, prisoner                          Results of action plan from written report.
suicide prevention, detoxification, mental health care,                                                                       OPSO has developed Policy
environmental health, and fire and life safety in order to                                                                    101.04, Administrative Reporting
assess and ensure compliance with the terms of this
Agreement on an ongoing basis. Within 90 days after
                                                                                                                              Requirements, which has been
identifying serious deficiencies, OPSO shall develop and                                                                      approved by the Monitors. OPSO
implement policies and procedures to address problems                                                                         has to develop and submit the
that are uncovered during the course of quality                                                                               necessary quality improvement
improvement activities. These policies and procedures                                                                         reports as specified in the policy.
shall include the development and implementation of                                                                           At present, OPSO does submit the
corrective action plans, as necessary, within 30 days of                                                                      requested reports, however, more
each biannual review.
                                                                                                                              analysis is needed as well as
                                                                                                                              corrective action plans and
                                                                                                                              management reviews.
                                                                                                                              Finalize OPSOPolicy 101.04,
                                                                                                                              Administrative Reporting
                                                                                                                              Requirements and disseminate to
                                                                                                                              responsible parties at OPSO.
                                                                                                                              Produce more meaningful reports
                                                                                                                              with detailed analysis and
                                                                                                                              trending of data of time. Schedule
                                                                                                                              regular management reviews of
                                                                                                                              reports and complete corrective
                                                                                                                              action plans, where needed.




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                         Section                              C   P   N          Measures                   OPSO Compliance Plan
                                                                                                      Compliance Tasks to be Completed:

                                                                                                      Task #1: Finalize OPSO Policy
                                                                                                      101.04, Administrative Reporting
                                                                                                      Requirements, and disseminate to
                                                                                                      all responsible parties at OPSO
                                                                                                      and medical provider.
                                                                                                      Completion by 12/31/2016.

                                                                                                      Task #2: Meet to discuss
                                                                                                      enhanced reporting with more
                                                                                                      detailed analysis. Completion by
                                                                                                      04/15/2017.

                                                                                                      Necessary Resources: N/A

                                                                                                      Substantial Compliance Date:

                                                                                                      04/15/2017.

VI. C. (I.) The Parties agree that OPSO will hire and         ✔                                       Responsible Party: Captain Peters
retain, or reassign a current OPSO employee for the
duration of this Agreement, to serve as a full-time OPSO                                              Substantial Compliance Date:
Compliance Coordinator. The Compliance Coordinator
will serve as a liaison between the Parties and the Monitor                                           OPSO is already compliant with this
and will assist with OPSO’s compliance with this                                                      provision.
Agreement. At a minimum, the Compliance Coordinator
will: coordinate OPSO’s compliance and implementation
activities; facilitate the provision of data, documents,
materials, and access to OPSO’s personnel to the Monitor,
SPLC, DOJ, and the public, as needed; ensure that all
documents and records are maintained as provided in this
Agreement; and assist in assigning compliance tasks to
OPSO personnel, as directed by the Sheriff or his or her
designee. The Compliance Coordinator will take primary
responsibility for collecting information the Monitor
requires to carry out the duties assigned to the Monitor.

VI. D. (J.) On a bi-annual basis, OPSO will provide the           ✔                                   Responsible Party: Captain Peters
public with a self-assessment in which areas of significant
improvement or areas still undergoing improvement are                                                 General Information:
presented either through use of the OPSO website or



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                         Section                             C   P   N           Measures                    OPSO Compliance Plan
through issuance of a public statement or report.                                                     Director Maynard and Sheriff
                                                                                                      Gusman are working on a plan to
                                                                                                      provide a bi-annual public self-
                                                                                                      assessment. Director Maynard
                                                                                                      has already met with various
                                                                                                      public and community
                                                                                                      organizations to discuss
                                                                                                      compliance plans with members
                                                                                                      of the community.

                                                                                                      Compliance Tasks to be Completed:

                                                                                                      Task #1: Conduct bi-annual public
                                                                                                      self-assessments on the status of
                                                                                                      compliance and operations at
                                                                                                      OPSO.

                                                                                                      Necessary Resources:

                                                                                                      No additional resources required
                                                                                                      for this.

                                                                                                      Substantial Compliance Date:

                                                                                                      We expect to be compliant after
                                                                                                      the second bi-annual self-
                                                                                                      assessment in 2017.

VIII. Reporting Requirements and Right of Access
VIII.A. OPSO shall submit periodic compliance reports to         ✔                                    Responsible Party: Captain Peters
the Monitor. These periodic reports shall be provided to
the Monitor within four months from the date of a                                                     General Information:
definitive judgment on funding; and every six months
thereafter until termination of this Agreement. Each                                                  OPSO currently submits a
compliance report shall describe the actions Defendant                                                quarterly compliance matrix to
has taken during the reporting period to implement this
Agreement and shall make specific reference to the
                                                                                                      the Monitors as well as semi-
Agreement provisions being implemented. The report                                                    annual and annual reports.
shall also summarize audits and continuous improvement
and quality assurance activities, and contain findings and                                            The OJC Facility (Major Louque)
recommendations that would be used to track and trend                                                 now tracks all incidents in the



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                           Section                            C   P   N          Measures                    OPSO Compliance Plan
data compiled at the Facility. The report shall also                                                  facility. Major Louque produces
capture data that is tracked and monitored under the                                                  monthly analytical reports based
reporting provisions of the following provisions: Use of                                              on this data.
Force; Suicide Prevention; Health Care Delivered;
Sanitation and Environmental Conditions; and Fire and
Life Safety.                                                                                          Chief Laughlin now produces FIT,
                                                                                                      ISB and Shakedown analytical
                                                                                                      reports. Some have already been
                                                                                                      seen by the Monitors.

                                                                                                      Compliance Tasks to be Completed:

                                                                                                      Task #1: Begin submitting new
                                                                                                      analytical reports, described
                                                                                                      above.

                                                                                                      Necessary Resources:

                                                                                                      No additional resources required.

                                                                                                      Substantial Compliance Date:

                                                                                                      06/30/2017 pending Monitor’s
                                                                                                      review and acceptance of reports.

VIII.B. OPSO shall, within 24 hours, notify the Monitor       ✔                                       Responsible Party: N/A
upon the death of any prisoner. The Monitor shall
forward any such notifications to SPLC and DOJ upon                                                   Substantial Compliance Date:
receipt. OPSO shall forward to the Monitor incident
reports and medical and/or mental health reports related to                                           OPSO is already in compliance with this
deaths, autopsies, and/or death summaries of prisoners, as                                            provision of the Consent Judgment as of
well as all final SOD and IAD reports that involve                                                    02/19/2016.
prisoners. The Monitor shall forward any such reports to
SPLC and DOJ upon receipt.
VIII.C. Defendant shall maintain sufficient records to        ✔                                       Responsible Party: N/A
document that the requirements of this Agreement are
being properly implemented and shall make such records                                                Substantial Compliance Date:
available to the Monitor within seven days of request for
inspection and copying. In addition, Defendant shall                                                  OPSO is already in compliance with this
maintain and provide, upon request, all records or other                                              provision of the Consent Judgment as of
documents to verify that they have taken the actions                                                  02/19/2016.
described in their compliance reports (e.g., census
summaries, policies, procedures, protocols, training



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                           Section                               C   P   N         Measures             OPSO Compliance Plan
materials, investigations, incident reports, tier logs, or use
of force reports).




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                       This plan was developed by CCS and has not been validated by the Compliance Director. It is subject to further revision and refinement.




                                                         CCS Medical/Mental Health Remedial Action Plan – 12/15/2016

                          Section                                  C         P            N                                 Measures                                 OPSO Notes/Updates
IV.B. Mental Health Care OPSO shall ensure constitutionally adequate intake, assessment, treatment, and monitoring of prisoners’ mental health
needs, including but not limited to, protecting the safety of and giving priority access to prisoners at risk for self-injurious behavior or suicide. OPSO
shall assess, on an annual or more frequent basis, whether the mental health services at OPP comply with the Constitution. In order to provide mental
health services to prisoners, OPSO, at a minimum, shall:
IV.B.1. Screening and Assessment
IV.B.1.a. Develop and maintain comprehensive policies             ✔                                                       Attachments:                       Responsible Party: Dr. Arceneaux
and procedures for appropriate screening and assessment
of prisoners with mental illness. These policies should                                                           Revised Staff Referral Form                Compliance Actions (10/16 – 12/16):
include definitions of emergent, urgent, and routine
mental health needs, as well as timeframes for the                                                                    Revised Intake SOP                     Currently in compliance
provision of services for each category of mental health
needs.                                                                                                                                                       Proposed Activities (1/17 - 3/17)

                                                                                                                                                             On-going monitoring of CQI process for
                                                                                                                                                             compliance

                                                                                                                                                             Expected Date of Compliance:
                                                                                                                                                             Request Compliance




IV.B.1.b. Develop and implement an appropriate                   ✔                                                     Attachment:                           Responsible Party: Dr. Arceneaux
screening instrument that identifies mental health needs,
and ensures timely access to a mental health professional                                              Initial Behavioral Health Assessment Form             Compliance Actions (10/16 – 12/16):
when presenting symptoms require such care. The
screening instrument should include the factors described                                                                                                    Currently in Compliance
in Appendix B. The screening instrument will be
validated by a qualified professional approved by the                                                                                                        Proposed Activities (1/17 - 3/17)
Monitor within 180 days of the Effective Date and every
12 months thereafter, if necessary.                                                                                                                          On-going monitoring of CQI process for
                                                                                                                                                             compliance

                                                                                                                                                             Expected Date of Compliance:
                                                                                                                                                             Request compliance
IV.B.1.c. Ensure that all prisoners are screened by              ✔                                                     Attachment:                           Responsible Party: Dr. Arceneaux
Qualified Medical Staff upon arrival to OPP, but no later
than within eight hours, to identify a prisoner’s risk for                                                         Staff Referral Form                       Compliance Actions (10/16 – 12/16):
suicide or self-injurious behavior. No prisoner shall be
held in isolation prior to an evaluation by medical staff.                                                             Intake SOP                            Currently in Compliance



                                                                                                                                                                                     1
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                          Section                                C          P          N                               Measures                                     OPSO Notes/Updates

                                                                                                                                                            Proposed Activities (1/17 - 3/17)

                                                                                                                                                            On-going monitoring of process for
                                                                                                                                                            continued compliance

                                                                                                                                                            Expected Date of Compliance:
                                                                                                                                                            Request Compliance

IV.B.1.d. Implement a triage policy that utilizes the           ✔                                                     Attachment:                           Responsible Party: Dr. Arceneaux
screening and assessment procedures to ensure that
prisoners with emergent and urgent mental health needs                                                            Staff Referral Form                       Compliance Actions (10/16 – 12/16):
are prioritized for services.
                                                                                                                                                            Currently in Compliance

                                                                                                                                                            Proposed Activities (1/17 - 3/17)

                                                                                                                                                            On-going monitoring of CQI process for
                                                                                                                                                            compliance

                                                                                                                                                            Expected Date of Compliance:
                                                                                                                                                            Request Compliance


IV.B.1.e. Develop and implement protocols,                      ✔                                                     Attachment                            Responsible Party: Dr. Arceneaux
commensurate with the level of risk of suicide or self-
harm, to ensure that prisoners are protected from                                              Initial Behavioral Health Assessment Form (includes the      Compliance Actions (10/16 – 12/16):
identified risks for suicide or self-injurious behavior. The                                                      prisoner’s risk level)
protocols shall also require that a Qualified Mental Health                                                                                                 Currently in Compliance
Professional perform a mental health assessment, based                                                        MHP staff notification SOP
on the prisoner’s risk.                                                                                                                                     Proposed Activities (1/17 - 3/17)

                                                                                                                                                            On-going monitoring of CQI process for
                                                                                                                                                            compliance

                                                                                                                                                            Expected Date of Compliance:
                                                                                                                                                            Request Compliance

IV.B.1.f. For prisoners with emergent or urgent mental                     ✔                                          Attachment                            Responsible Party: Dr. Arceneaux
health needs, search the prisoner and monitor with
constant supervision until the prisoner is transferred to a                                    Tracking Tool (tracks custody compliance with directive      Compliance Actions (10/16 – 12/16):
Qualified Mental Health Professional for assessment.                                                           of constant supervision)
                                                                                                                                                            Continue to reinforce with OPSO and
                                                                                                                                                            ongoing monitoring of process



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                         Section                                C          P          N                               Measures                                     OPSO Notes/Updates

                                                                                                                                                           Proposed Activities (1/17 - 3/17)

                                                                                                                                                           Continue to monitor compliance trough
                                                                                                                                                           tracking tool

                                                                                                                                                           CQI of effectiveness

                                                                                                                                                           Expected Date of Compliance:
                                                                                                                                                           3/31/17
IV.B.1.g. Ensure that a Qualified Mental Health                ✔                                                     Attachment:                           Responsible Party: Dr. Arceneaux
Professional conducts appropriate mental health
assessments within the following periods from the initial                                                        Staff Referral Form                       Compliance Actions (10/16 – 12/16):
screen or other identification of need:
(1) 14 days, or sooner, if medically necessary, for                                                                                                        Currently in Compliance
     prisoners with routine mental health needs;
(2) 48 hours, or sooner, if medically necessary, for                                                                                                       Proposed Activities (1/17 - 3/17)
     prisoners with urgent mental health needs; and
(3) immediately, but no later than two hours, for                                                                                                          On-going monitoring of CQI process for
     prisoners with emergent mental health needs.                                                                                                          compliance

                                                                                                                                                           Expected Date of Compliance:
                                                                                                                                                           Request Compliance

IV.B.1.h. Ensure that a Qualified Mental Health                ✔                                                     Attachment:                           Responsible Party: Dr. Arceneaux
Professional performs a mental health assessment no later
than the next working day following any adverse                                                               Suicide Prevention Policy                    Compliance Actions (10/16 – 12/16):
triggering event (i.e., any suicide attempt, any suicide
ideation, or any aggression to self resulting in serious                                                 Suicide Watch Treatment Plan form                 Currently in Compliance
injury).
                                                                                                                                                           Proposed Activities (1/17 - 3/17)

                                                                                                                                                           On-going monitoring of CQI process for
                                                                                                                                                           compliance

                                                                                                                                                           Expected Date of Compliance:
                                                                                                                                                           Request Compliance

IV.B.1.i. Ensure that a Qualified Mental Health                           ✔                                          Attachment                            Responsible Party: Dr. Arceneaux
Professional, as part of the prisoner’s interdisciplinary
treatment team, maintains a risk profile for each prisoner                                                Suicide Watch Risk Profile form                  Compliance Actions ((10/16 – 12/16):
on the mental health case load based on the Assessment
Factors identified in Appendix B, and develops and                                                                                                         Newly implemented form with Risk
implements a treatment plan to minimize the risk of harm                                                                                                   Profile added



                                                                                                                                                                                   3
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                          Section                               C          P          N                               Measures                                       OPSO Notes/Updates
to each of these prisoners.
                                                                                                                                                           Proposed Activities (1/17 - 3/17)

                                                                                                                                                           CQI to monitor for form effectiveness

                                                                                                                                                           Expected Date of Compliance:
                                                                                                                                                           3/31/17
IV.B.1.j. Ensure adequate and timely treatment for                        ✔                                          Attachment                            Responsible Party: Dr. Arceneaux
prisoners, whose assessments reveal mental illness and/or
suicidal ideation, including timely and appropriate                                                     Basic Mental Health Services Policy                Compliance Actions ((10/16 – 12/16):
referrals for specialty care and visits with Qualified                                                         Intake Process SOP
Mental Health Professionals, as clinically appropriate.                                                                                                    Continue to implement more enhanced
                                                                                                                                                           appointment tracking measures

                                                                                                                                                           Proposed Activities (1/17 - 3/17)

                                                                                                                                                           Scheduling in ERMA

                                                                                                                                                           Continue to track treatment timeliness
                                                                                                                                                           through CQI

                                                                                                                                                           Expected Date of Compliance:
                                                                                                                                                           3/31/17
V.B.1.k. Ensure crisis services are available to manage                   ✔                                          Attachment                            Responsible Party: Dr. Arceneaux
psychiatric emergencies. Such services include licensed
in-patient psychiatric care, when clinically appropriate.                                                    Mental Health Unit Policy                     Compliance Actions (10/16 – 12/16):

                                                                                                                                                           Immediate Assessment and medical
                                                                                                                                                           clearance to HSU2 Acute care unit

                                                                                                                                                           Proposed Activities (1/17 - 3/17)

                                                                                                                                                           Continue to evaluate patient meeting
                                                                                                                                                           criteria for HSU2 transfer

                                                                                                                                                           Expected Date of Compliance:
                                                                                                                                                           3/31/17
IV.B.1.l. On an annual basis, assess the process for           ✔                                                     Attachment                            Responsible Party: Dr. Arceneaux
screening prisoners for mental health needs to determine
whether prisoners are being appropriately identified for                                      See Meeting Minutes (full minutes are available on site)     Compliance Actions (10/16 – 12/16):
care. Based on this assessment, OPSO shall recommend
changes to the screening system. The assessment and                                                                                                        Currently in Compliance
recommendations will be documented and provided to the
Monitor.                                                                                                                                                   Proposed Activities (1/17 - 3/17)



                                                                                                                                                                                   4
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                          Section                               C          P          N                               Measures                                     OPSO Notes/Updates

                                                                                                                                                           Review Annually

                                                                                                                                                           Expected Date of Compliance:
                                                                                                                                                           Request compliance
IV.B.2. Treatment
IV.B.2.a. Review, revise, and supplement its existing          ✔                                                     Attachment                            Responsible Party: Dr. Arceneaux
policies in order to implement a policy for the delivery of
mental health services that includes a continuum of                                                    Mental Health Services Treatment Plan               Compliance Actions (10/16 – 12/16):
services, provides for necessary and appropriate mental
health staff, includes a treatment plan for prisoners with                                                                                                 Currently in Compliance
serious mental illness, and collects data and contains
mechanisms sufficient to measure whether care is being                                                                                                     Proposed Activities (1/17 - 3/17)
provided in a manner consistent with the Constitution.
                                                                                                                                                           Perform Treatment Planning CQI -
                                                                                                                                                           ongoing

                                                                                                                                                           Expected Date of Compliance:
                                                                                                                                                           Request compliance


IV.B.2.b. Ensure that treatment plans adequately address       ✔                                                     Attachment                            Responsible Party: Dr. Arceneaux
prisoners’ serious mental health needs and that the
treatment plans contain interventions specifically tailored                                            Mental Health Services Treatment Plan               Compliance Actions (10/16 – 12/16):
to the prisoner’s diagnoses and problems.
                                                                                                                                                           Currently in Compliance

                                                                                                                                                           Proposed Activities (1/17 - 3/17)

                                                                                                                                                           Perform Treatment Planning CQI -
                                                                                                                                                           ongoing

                                                                                                                                                           Expected Date of Compliance:
                                                                                                                                                           Request compliance


IV.B.2.c. Provide group or individual therapy services by      ✔                                                     Attachment                            Responsible Party: Dr. Arceneaux
an appropriately licensed provider where necessary for
prisoners with mental health needs.                                                                           Attach Groups Schedule                       Compliance Actions (10/16 – 12/16):

                                                                                                                                                           Currently in Compliance

                                                                                                                                                           Proposed Activities (1/17 - 3/17)




                                                                                                                                                                                   5
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                          Section                               C          P          N                               Measures                                     OPSO Notes/Updates

                                                                                                                                                           Will continue to add groups as staff and
                                                                                                                                                           space becomes available.

                                                                                                                                                           Expected Date of Compliance:

                                                                                                                                                           Requested Compliance
IV.B.2.d. Ensure that mental health evaluations that are                  ✔                                          Attachment                            Responsible Party: Dr. Arceneaux
done as part of the disciplinary process include
recommendations based on the prisoner's mental health                                                       Altercation/Disciplinary SOP                   Compliance Actions (10/16 – 12/16):
status.
                                                                                                           Disciplinary Notification Form                  A list is being provided daily to OPSO
                                                                                                                                                           with mental health cases load

                                                                                                                                                           Proposed Activities (1/17 - 3/17)

                                                                                                                                                           CQI to monitor for effectiveness of
                                                                                                                                                           process

                                                                                                                                                           Expected Date of Compliance:
                                                                                                                                                           3/31/17
IV.B.2.e. Ensure that prisoners receive psychotropic                      ✔                                          Attachment                            Responsible Party: Dr.
medications in a timely manner and that prisoners have                                                                                                     Arceneaux/Parker
proper diagnoses and/or indications for each psychotropic                                                   Medication Verification SOP
medication they receive.                                                                                                                                   Compliance Actions (10/16 – 12/16):

                                                                                                                                                           Added an additional staff resource to
                                                                                                                                                           obtain ROI for medication verification

                                                                                                                                                           Proposed Activities (1/17 - 3/17)

                                                                                                                                                           On-going CQI monitoring of continuity
                                                                                                                                                           of medication screen

                                                                                                                                                           Expected Date of Compliance:
                                                                                                                                                           3/31/17
IV.B.2.f. Ensure that psychotropic medications are             ✔                                                     Attachment                            Responsible Party: Dr.
administered in a clinically appropriate manner as to                                                                                                      Arceneaux/Parker
prevent misuse, overdose, theft, or violence related to the                                               Medication Administration SOP
medication.                                                                                                                                                Compliance Actions (10/16 – 12/16):

                                                                                                                                                           Currently in Compliance




                                                                                                                                                                                   6
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                         Section                                C          P          N                               Measures                                     OPSO Notes/Updates
                                                                                                                                                           Proposed Activities (1/17 - 3/17)

                                                                                                                                                           On-going monitoring of CQI process for
                                                                                                                                                           compliance

                                                                                                                                                           Expected Date of Compliance:
                                                                                                                                                           Request Compliance
IV.B.2.g. Ensure that prescriptions for psychotropic           ✔                                                     Attachment                            Responsible Party: Dr.
medications are reviewed by a Qualified Mental Health                                                                                                      Arceneaux/Parker
Professional on a regular, timely basis and prisoners are
properly monitored.                                                                                        Sapphire Renewal/Refill queue                   Compliance Actions (10/16 – 12/16):

                                                                                                                                                           Currently in Compliance

                                                                                                                                                           Proposed Activities (1/17 - 3/17)

                                                                                                                                                           On-going monitoring of CQI process for
                                                                                                                                                           compliance

                                                                                                                                                           Expected Date of Compliance:
                                                                                                                                                           Request Compliance


IV.B.2.h. Ensure that standards are established for the        ✔                                                     Attachment                            Responsible Party: Dr. Arceneaux
frequency of review and associated charting of
psychotropic medication monitoring, including                                                                        CQI Screen                            Compliance Actions (10/16 – 12/16):
monitoring for metabolic effects of second generation
psychotropic medications                                                                                                                                   Currently in Compliance

                                                                                                                                                           Proposed Activities (1/17 - 3/17)

                                                                                                                                                           On-going monitoring of CQI process for
                                                                                                                                                           compliance

                                                                                                                                                           Expected Date of Compliance:
                                                                                                                                                           Request Compliance

IV.B.3. Counseling
IV.B.3.a. OPSO shall develop and implement policies and                   ✔                                          Attachment                            Responsible Party: Dr. Arceneaux
procedures for prisoner counseling in the areas of general
mental health/therapy, sexual-abuse counseling, and                                                     Basic Mental Health Services Policy                Compliance Actions (10/16 – 12/16):
alcohol and drug counseling. This should, at a minimum,
include some provision for individual services.                                                        OPSO Volunteer Programing Services                  Identified four (4) perspective




                                                                                                                                                                                   7
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                        Section                                C          P          N                               Measures                                      OPSO Notes/Updates
                                                                                                                                                          community service type agencies that
                                                                                                                Women’s Program                           provide long term services post
                                                                                                                                                          incarceration

                                                                                                                                                          Proposed Activities (1/17 - 3/17)

                                                                                                                                                          Collaboration with OPSO Volunteer
                                                                                                                                                          Programming Services

                                                                                                                                                          Expected Date of Compliance:
                                                                                                                                                          3/31/17

IV.B.3.b. Within 180 days of the Effective Date, and          ✔                                                     Attachment                            Responsible Party: Dr. Arceneaux
quarterly thereafter, report all prisoner counseling
services to the Monitor, which should include:                                                                 Monthly HRIS Report                        Compliance Actions (10/16 – 12/16):
(1) the number of prisoners who report having
     participated in general mental health/therapy                                                                                                        Currently in Compliance
     counseling at OPP;
(2) the number of prisoners who report having                                                                                                             Proposed Activities (1/17 - 3/17)
     participated in alcohol and drug counseling services
     at OPP;                                                                                                                                              On-going monitoring of CQI process for
(3) the number of prisoners who report having                                                                                                             compliance
     participated in sexual-abuse counseling at OPP; and
(4) the number of cases with an appropriately licensed                                                                                                    Expected Date of Compliance:
     practitioner and related one-to-one counseling at                                                                                                    Request Compliance
     OPP.
IV.B.4. Suicide Prevention Training Program
IV.B.4.a. OPSO shall ensure that all staff who supervise                 ✔                                          Attachment                            Responsible Party: Dr.
prisoners have the adequate knowledge, skill, and ability                                                                                                 Arceneaux/Parker
to address the needs of prisoners at risk for suicide.                                               Observing The Suicidal Offender handout
Within 180 days of the Effective Date, OPSO shall review                                                                                                  Compliance Actions (10/16 – 12/16):
and revise its current suicide prevention training                                            Sample Observation/Restraint Checklist & Worksheet
curriculum to include the following topics:                                                                                                               Suicide Video- presented in Orientation
(1) suicide prevention policies and procedures (as
     revised consistent with this Agreement);                                                                                                             Proposed Activities (1/17 - 3/17)
(2) analysis of facility environments and why they may
     contribute to suicidal behavior;                                                                                                                     Ongoing and at New Hire
(3) potential predisposing factors to suicide;
(4) high-risk suicide periods;                                                                                                                            Expected Date of Compliance:
(5) warning signs and symptoms of suicidal behavior;
(6) case studies of recent suicides and serious suicide                                                                                                   3/31/17
     attempts;
(7) mock demonstrations regarding the proper response




                                                                                                                                                                                   8
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                           Section                              C          P          N                               Measures                                      OPSO Notes/Updates
     to a suicide attempt;
(8) differentiating suicidal and self-injurious behavior;
     and
(9) the proper use of emergency equipment.
IV.B.4.b. Ensure that all correctional, medical, and mental    ✔                                                     Attachment                            Responsible Party: Dr.
health staff are trained on the suicide screening instrument                                                                                               Arceneaux/Parker
and the medical intake tool.                                                                         7 Minute to Save – Suicide Risk Reduction
                                                                                                                                                           Compliance Actions (10/16 – 12/16):
                                                                                                                 Staff Referral Form
                                                                                                                                                           CCS suggests eliminating correctional
                                                                                                                 Medical Intake Tool                       staff from this specific training as they
                                                                                                                                                           do not need to be trained in the use of
                                                                                                                                                           the tool.

                                                                                                                                                           Proposed Activities (1/17 - 3/17)

                                                                                                                                                           On-going training

                                                                                                                                                           Expected Date of Compliance:
                                                                                                                                                           Request Compliance




IV.B.4.c. Ensure that multi-disciplinary in-service            ✔                                          Currently Implemented - Ongoing                  Responsible Party: Dr.
training is completed annually by all correctional,                                                                                                        Arceneaux/Parker
medical, and mental health staff, to include training on
updated policies, procedures, and techniques. The                                                                                                          Compliance Actions (10/16 – 12/16):
training will be reviewed and approved by the Monitor.
                                                                                                                                                           Currently in compliance

                                                                                                                                                           Proposed Activities (1/17 - 3/17)
                                                                                                                                                           On-going training

                                                                                                                                                           Expected Date of Compliance:

                                                                                                                                                           Request Compliance
IV.B.4.d. Ensure that staff are trained in observing                   ✔                                             Attachment                            Responsible Party: Dr.
prisoners on suicide watch and step-down unit status.                                                                                                      Arceneaux/Parker
                                                                                                      Observing The Suicidal Offender handout
                                                                                                                                                           Compliance Actions (10/16 – 12/16):
                                                                                               Sample Observation/Restraint Checklist & Worksheet




                                                                                                                                                                                    9
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                         Section                                C          P          N                               Measures                                     OPSO Notes/Updates
                                                                                                                                                           Suicide Video- presented in Orientation

                                                                                                                                                           Proposed Activities (1/17 - 3/17)

                                                                                                                                                           Ongoing at least annually, quarterly,
                                                                                                                                                           and as needed

                                                                                                                                                           Expected Date of Compliance:
                                                                                                                                                           3/31/17

IV.B.4.e. Ensure that all staff that have contact with         ✔                                                     Attachment                            Responsible Party: Walker/Navarro
prisoners are certified in cardiopulmonary resuscitation
(“CPR”).                                                                                                       Site Credentialing Logs                     Compliance Actions (10/16 – 12/16):

                                                                                                                    CPR Calendar                           Currently in compliance
                                                                                                                                                           CPR Calendar

                                                                                                                                                           Proposed Activities (1/17 - 3/17)

                                                                                                                                                           Update of staff credentialing monthly


                                                                                                                                                           Expected Date of Compliance:

                                                                                                                                                           Request Compliance
IV.B.4.f. Ensure that an emergency response bag, which                    ✔                                          Attachment                            Responsible Party:
includes a first aid kit and emergency rescue tool, is in                                                                                                  Walker/Parker/Lampard
close proximity to all housing units. All staff that has                                                   Emergency Response Training
contact with prisoners shall know the location of this                                                                                                     Compliance Actions (10/16 – 12/16):
emergency response bag and be trained to use its contents.
                                                                                                                                                           Emergency Response Bag with
                                                                                                                                                           emergency equipment –Completed
                                                                                                                                                           during Annual “Skills Competency
                                                                                                                                                           Training 12/16

                                                                                                                                                           OPSO – first aid kits and cut down kits
                                                                                                                                                           on tiers

                                                                                                                                                           Proposed Activities (1/17 - 3/17)

                                                                                                                                                           OPSO has six (6) AED’s to be mounted
                                                                                                                                                           by each housing area, IPC and
                                                                                                                                                           Transport holding area




                                                                                                                                                                                 10
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                                                                                                                                                            Expected Date of Compliance:
                                                                                                                                                            1/31/17

IV.B.4.g. Randomly test five percent of relevant staff on       ✔                                          Currently Implemented - Ongoing                  Responsible Party: Walker
an annual basis to determine their knowledge of suicide
prevention policies. The testing instrument and policies                                                                                                    Compliance Actions (10/16 – 12/16):
shall be approved by the Monitor. The results of these
assessments shall be evaluated to determine the need for                                                                                                    Currently compliant
changes in training practices. The review and conclusions
will be documented and provided to the Monitor.                                                                                                             Proposed Activities (1/17 - 3/17)

                                                                                                                                                            Ongoing monitoring and annual review

                                                                                                                                                            Expected Date of Compliance:
                                                                                                                                                            Request compliance




IV.B.5. Suicide Precautions
IV.B.5.a. OPSO shall implement a policy to ensure that          ✔                                                     Attachment                            Responsible Party: Dr. Arceneaux
prisoners at risk of self-harm are identified, protected, and
treated in a manner consistent with the Constitution.                                                                OPSO Policy                            Compliance Actions (10/16 – 12/16):

                                                                                                              Suicide Precautions Policy                    Currently in compliance

                                                                                                                                                            Proposed Activities (1/17 - 3/17)
                                                                                                                                                            On-going training

                                                                                                                                                            Expected Date of Compliance:

                                                                                                                                                            Request Compliance
IV.B.5.b. Ensure that suicide prevention procedures                        ✔                                          Attachment                            Responsible Party: Dr. Arceneaux
include provisions for constant direct supervision of
current suicidal prisoners and close supervision of special                                                                                                 Compliance Actions (10/16 – 12/16):
needs prisoners with lower levels of risk (at a minimum,                                                  Suicide Prevention Program Policy                 :
15 minute checks). Correctional officers/CNA shall                                                                                                          Re-education on Blank CNA sheet
document their checks in a format that does not have pre-                                              Observing The Suicidal Offender handout              sample of staggered times
printed times.
                                                                                                Sample Observation/Restraint Checklist & Worksheet          SW/DO Handout on documentation
                                                                                                                                                            process




                                                                                                                                                                                  11
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                          Section                               C          P          N                               Measures                                     OPSO Notes/Updates
                                                                                                                                                           Proposed Activities (1/17 - 3/17)

                                                                                                                                                           CNA Skills Competency Training 12/16

                                                                                                                                                           Expected Date of Compliance:

                                                                                                                                                           1/31/17
IV.B.5.c. Ensure that prisoners on suicide watch are                      ✔                                          Attachment                            Responsible Party:
immediately searched and monitored with constant direct                                                                                                    Colvin/Arceneaux
supervision until a Qualified Mental Health Professional                                      Tracking Tool (tracks custody compliance with directive
conducts a suicide risk assessment, determines the degree                                                     of constant supervision)                     Compliance Actions (10/16 – 12/16):
of risk, and specifies the appropriate degree of
supervision.                                                                                                        OPSO Policy                            OPSO Policy

                                                                                                                                                           Proposed Activities (1/17 - 3/17)

                                                                                                                                                           Continue to monitor compliance trough
                                                                                                                                                           tracking tool

                                                                                                                                                           CQI of effectiveness
                                                                                                                                                           Expected Date of Compliance:
                                                                                                                                                           3/31/17

IV.B.5.d. Ensure that all prisoners discharged from            ✔                                          Currently Implemented - Ongoing                  Responsible Party: Arceneaux
suicide precautions receive a follow-up assessment within
three to eight working days after discharge, as clinically                                                                                                 Compliance Actions (10/16 – 12/16):
appropriate, in accordance with a treatment plan                                                                                                           Currently compliant
developed by a Qualified Mental Health Care                                                                                                                Excel Tracking
Professional. Upon discharge, the Qualified Mental                                                                                                         EOM Stats
Health Care Professional shall conduct a documented in-
person assessment regarding the clinically appropriate                                                                                                     Proposed Activities (1/17 - 3/17)
follow-up intervals.
                                                                                                                                                           CQI to validate monthly compliance

                                                                                                                                                           Expected Date of Compliance:

                                                                                                                                                           Request Compliance
IV.B.5.e. Implement a step-down program providing                         ✔                                          Attachment                            Responsible Party: Arceneaux
clinically appropriate transition for prisoners discharged
from suicide precautions.                                                                                                                                  Compliance Actions (10/16 – 12/16):
                                                                                                                    Transfer form
                                                                                                                                                           New for implemented for Secondary
                                                                                                                                                           Gain identification




                                                                                                                                                                                 12
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                          Section                               C          P          N                               Measures                                     OPSO Notes/Updates

                                                                                                                                                           Proposed Activities (1/17 - 3/17)

                                                                                                                                                           Develop a Rubric scale based on risk
                                                                                                                                                           profile to determine appropriateness of
                                                                                                                                                           step down unit referral

                                                                                                                                                           CQI to determine form effectiveness

                                                                                                                                                           CQI to assess appropriateness of Mental
                                                                                                                                                           Health Step Down Referrals

                                                                                                                                                           Expected Date of Compliance:
                                                                                                                                                           3/31/17

IV.B.5.f. Develop and implement policies and procedures        ✔                                                     Attachment                            Responsible Party: Dr. Arceneaux
for suicide precautions that set forth the conditions of the
watch, incorporating a requirement of an individualized                                                      Suicide Prevention Program                    Compliance Actions (10/16 – 12/16):
clinical determination of allowable clothing, property, and
utensils. These conditions shall be altered only on the                                                 Behavioral Health Precautions Sheet                Currently in compliance
written instruction of a Qualified Mental Health
Professional, except under emergency circumstances or                                                                                                      Proposed Activities (1/17 - 3/17)
when security considerations require                                                                                                                       On-going training

                                                                                                                                                           Expected Date of Compliance:

                                                                                                                                                           Request Compliance
IV.B.5.g. Ensure that cells designated by OPSO for                        ✔                                          Attachment                            Responsible Party: Colvin/Arceneaux
housing suicidal prisoners are retrofitted to render them
suicide-resistant (e.g., eliminating bed frames/holes,                                                                                                     Compliance Actions (10/16 – 12/16):
sprinkler heads, water faucet lips, and unshielded lighting                                                         OPSO Policy                            4 cells have been completed on 2A and
or electrical sockets).                                                                                                                                    3D; 2 still needing retrofit

                                                                                                                                                           Proposed Activities (1/17 - 3/17)

                                                                                                                                                           Consult with OPSO on timeline for
                                                                                                                                                           completion

                                                                                                                                                           Expected Date of Compliance:

                                                                                                                                                           3/31/17
IV.B.5.h. Ensure that every suicide or serious suicide         ✔                                         Currently Implemented – Ongoing                   Responsible Party: Walker/Arceneaux
attempt is investigated by appropriate mental health and




                                                                                                                                                                                 13
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                           Section                               C          P          N                             Measures                                      OPSO Notes/Updates
correctional staff, and that the results of the investigation                                         Documents are available on site for review            Compliance Actions (10/16 – 12/16):
are provided to the Sheriff and the Monitor.
                                                                                                 M&M’s are conducted and reviewed as events occur           CCE reports are conducted
                                                                                                                                                            Currently in compliance

                                                                                                                                                            Proposed Activities (1/17 - 3/17)

                                                                                                                                                            On-going as appropriate

                                                                                                                                                            Expected Date of Compliance:
                                                                                                                                                            Request compliance

IV.B.5.i. Direct observation orders for inmates placed on       ✔                                          Currently Implemented - Ongoing                  Responsible Party: Dr. Arceneaux
suicide watch shall be individualized by the ordering
clinician based upon the clinical needs of each inmate,                                                                                                     Compliance Actions (10/16 – 12/16):
and shall not be more restrictive than is deemed necessary
by the ordering clinician to ensure the safety and well-                                                                                                    Currently in compliance
being of the inmate.
                                                                                                                                                            Proposed Activities (1/17 - 3/17)
                                                                                                                                                            On-going training

                                                                                                                                                            Expected Date of Compliance:

                                                                                                                                                            Request Compliance
IV.B.5.j. Provide the Monitor a periodic report on suicide      ✔                                          Currently Implemented - Ongoing                  Responsible Party: Dr. Arceneaux
and self-harm at the Facility. These periodic reports shall
be provided to the monitor within four months of the                                                                                                        Compliance Actions (10/16 – 12/16):
Effective Date; and every six months thereafter until
termination of this Agreement. The report will include                                                                                                      Currently compliant
the following:
(1) all suicides;                                                                                                                                           Proposed Activities (1/17 - 3/17)
(2) all serious suicide or self-harm attempts; and
(3) all uses of restraints to respond to or prevent a                                                                                                       On-going and updated daily
     suicide attempt.
                                                                                                                                                            Expected Date of Compliance:
                                                                                                                                                            Request compliance
IV.B.5.k. Assess the periodic report to determine whether       ✔                                                     Attachment                            Responsible Party: Dr.Arceneaux
prisoners are being appropriately identified for risk of
self-harm, protected, and treated. Based on this                                               Initial Behavioral Health Assessment Form (includes the      Compliance Actions (10/16 – 12/16):
assessment, OPSO shall document recommended changes                                                               prisoner’s risk level)
to policies and procedures and provide these to the                                                                                                         OPSO receives a list of all patients on
Monitor.                                                                                                                                                    SW/DO daily.




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                          Section                                C          P          N                               Measures                                     OPSO Notes/Updates
                                                                                                                                                            A representative from OPSO attends
                                                                                                                                                            MDT where suicide patients are
                                                                                                                                                            discussed weekly

                                                                                                                                                            Proposed Activities (1/17 - 3/17)

                                                                                                                                                            Graph monthly true SI versus
                                                                                                                                                            Secondary gain to be submitted to
                                                                                                                                                            OPSO to review for recommendation

                                                                                                                                                            Expected Date of Compliance:

                                                                                                                                                            Request compliance
IV.B.6. Use of Restraints
IV.B.6.a. OPSO shall prevent the unnecessary or                 ✔                                                     Attachment                            Responsible Party: Arceneaux/Walker
excessive use of physical or chemical restraints on
prisoners with mental illness.                                                                        CCS Restraint Policy Pending Approval                 Compliance Actions (10/16 – 12/16):

                                                                                                                                                            CCS Restraint Policy Pending Approval

                                                                                                                                                            Proposed Activities (1/17 - 3/17)

                                                                                                                                                            Contingent of Policy Approval
                                                                                                                                                            Expected Date of Compliance:

                                                                                                                                                            3/31/17
IV.B.6.b. Maintain comprehensive policies and                              ✔                                          Attachment                            Responsible Party: Arceneaux/Walker
procedures for the use of restraints for prisoners with
mental illness consistent with the Constitution.                                                      CCS Restraint Policy Pending Approval                 Compliance Actions (10/16 – 12/16):

                                                                                                                                                            CCS Restraint Policy Pending Approval

                                                                                                                                                            Proposed Activities (1/17 - 3/17)

                                                                                                                                                            Contingent of Policy Approval
                                                                                                                                                            Expected Date of Compliance:

                                                                                                                                                            3/31/17
IV.B.6.c. Ensure that approval by a Qualified Medical or                   ✔                                          Attachment                            Responsible Party: Arceneaux/Walker
Mental Health Professional is received and documented
prior to the use of restraints on prisoners living with                                                                                                     Compliance Actions (10/16 – 12/16):
mental illness or requiring suicide precautions.                                                      CCS Restraint Policy Pending Approval
                                                                                                                                                            CCS Restraint Policy Pending Approval




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                          Section                               C          P          N                               Measures                                     OPSO Notes/Updates
                                                                                                                                                           Proposed Activities (1/17 - 3/17)

                                                                                                                                                           Contingent of Policy Approval
                                                                                                                                                           Expected Date of Compliance:

                                                                                                                                                           3/31/17
IV.B.6.d. Ensure that restrained prisoners with mental                    ✔                                          Attachment                            Responsible Party:
illnesses are monitored at least every 15 minutes by                                                                                                       Arceneaux/Walker/Colvin
Custody Staff to assess their physical condition.                                                    CCS Restraint Policy Pending Approval
                                                                                                                                                           Compliance Actions (10/16 – 12/16):
                                                                                                           OPSO Policy Pending Approval
                                                                                                                                                           CCS Restraint Policy Pending Approval

                                                                                                                                                           Proposed Activities (1/17 - 3/17)

                                                                                                                                                           Contingent of Policy Approval
                                                                                                                                                           Expected Date of Compliance:

                                                                                                                                                           3/31/17
IV.B.6.e. Ensure that Qualified Medical or Mental Health                  ✔                                          Attachment                            Responsible Party:
Staff document the use of restraints, including the basis                                                                                                  Arceneaux/Walker/Colvin
for and duration of the use of restraints and the
performance and results of welfare checks on restrained                                              CCS Restraint Policy Pending Approval                 Compliance Actions (10/16 – 12/16):
prisoners.
                                                                                                           OPSO Policy Pending Approval                    CCS Restraint Policy Pending Approval

                                                                                                                                                           Proposed Activities (1/17 - 3/17)

                                                                                                                                                           Contingent of Policy Approval
                                                                                                                                                           Expected Date of Compliance:

                                                                                                                                                           3/31/17
IV.B.6.f. Provide the Monitor a periodic report of restraint              ✔                                          Attachment                            Responsible Party:
use at the Facility. These periodic reports shall be                                                                                                       Arceneaux/Walker/Colvin
provided to the monitor within four months of the                                                    CCS Restraint Policy Pending Approval
Effective Date; and every six months thereafter until                                                                                                      Compliance Actions (10/16 – 12/16):
termination of this Agreement. Each report shall include:                                                       OPSO Policy Pending
(1) A list of prisoners whom were restrained;                                                                                                              CCS Restraint Policy Pending Approval
(2) A list of any self-injurious behavior observed or
     discovered while restrained; and                                                                                                                      Proposed Activities (1/17 - 3/17)
(3) A list of any prisoners whom were placed in
     restraints on three or more occasions in a thirty (30)                                                                                                Contingent of Policy Approval
     day period or whom were kept in restraints for a                                                                                                      Expected Date of Compliance:
     period exceeding twenty-four (24) hours.



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                          Section                               C          P          N                               Measures                                       OPSO Notes/Updates
                                                                                                                                                           3/31/17
IV.B.6.g. Assess the periodic report to determine whether                 ✔                                          Attachment                            Responsible Party:
restraints are being used appropriately on prisoners with                                                                                                  Arceneaux/Walker/Colvin
mental illness. Based on this assessment, OPSO shall                                                 CCS Restraint Policy Pending Approval
document recommended changes to policies and                                                                                                               Compliance Actions (10/16 – 12/16):
procedures and provide these to the Monitor.                                                                    OPSO Policy Pending
                                                                                                                                                           CCS Restraint Policy Pending Approval

                                                                                                                                                           Proposed Activities (1/17 - 3/17)

                                                                                                                                                           Contingent of Policy Approval
                                                                                                                                                           Expected Date of Compliance:

                                                                                                                                                           3/31/17
IV.B.7. Detoxification and Training
IV.B.7.a. OPSO shall ensure that all staff who supervise       ✔                                                     Attachment                            Responsible Party: Walker/Parker
prisoners have the knowledge, skills, and abilities to
identify and respond to detoxifying prisoners. Within 180                                                Currently Implemented – Ongoing
days of the Effective Date, OPSO shall institute an annual
in-service detoxification training program for Qualified                                                           Intoxication/                           Compliance Actions (10/16 – 12/16):
Medical and Mental Health Staff and for correctional                                                              Withdrawal NDP
staff. The detoxification training program shall include:                                                                                                  Deputy Training occurs at hire and
(1) annual staff training on alcohol and drug abuse                                                                                                        annually
      withdrawal;
(2) training of Qualified Medical and Mental Health                                                                                                        Proposed Activities (1/17 - 3/17)
      Staff on treatment of alcohol and drug abuse
      conducted by the Chief Medical Officer or his or her
      delegate;                                                                                                                                            Currently implementing and monitoring
(3) oversight of the training of correctional staff,
      including booking and housing unit officers, on the                                                                                                  Expected Date of Compliance:
      policies and procedures of the detoxification unit, by
      the Chief Medical Officer or his or her delegate;                                                                                                    Request Compliance
(4) training on drug and alcohol withdrawal by Qualified
      Medical and Mental Health Staff;
(5) training of Qualified Medical and Mental Health
      Staff in providing prisoners with timely access to a
      Qualified Mental Health Professional, including
      psychiatrists, as clinically appropriate; and
(6) training of Qualified Medical and Mental Health
      Staff on the use and treatment of withdrawals, where
      medically appropriate.
IV.B.7.b. Provide medical screenings to determine the          ✔                                                     Attachment                            Responsible Party: Parker/Penn
degree of risk for potentially life-threatening withdrawal
from alcohol, benzodiazepines, and other substances, in                                                  Currently Implemented – Ongoing                   Compliance Actions (10/16 – 12/16):



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                       Section                                  C          P          N                               Measures                                     OPSO Notes/Updates
accordance with Appendix B.
                                                                                                                                                           Currently in compliance (1/17 - 3/17)
                                                                                                                    Intoxication/
                                                                                                                  Withdrawal NDP
                                                                                                                   Intake Screen                           Proposed Activities

                                                                                                                                                           On-going monitoring

                                                                                                                                                           Expected Date of Compliance:

                                                                                                                                                           Request Compliance


IV.B.7.c. Ensure that the nursing staff complete               ✔                                                     Attachment                            Responsible Party: Parker/Penn
assessments of prisoners in detoxification on an
individualized schedule, ordered by a Qualified Medical                                                  Currently Implemented – Ongoing                   Compliance Actions (10/16 – 12/16):
or Mental Health Professional, as clinically appropriate,
to include observations and vital signs, including blood                                                                                                   Currently in compliance (1/17 - 3/17)
pressure.                                                                                                                                                  Proposed Activities
                                                                                                           Intoxication /Withdrawal NDP
                                                                                                                    Intake Screen                          On-going monitoring

                                                                                                                                                           Expected Date of Compliance:

                                                                                                                                                           Request Compliance


IV.B.7.d. Annually, conduct a review of whether the            ✔                                                     Attachment                            Responsible Party: Walker
detoxification training program has been effective in
identifying concerns regarding policy, training, or the                                                                                                    Compliance Actions (10/16 – 12/16):
proper identification of and response to detoxifying                                                           MAC Meeting Minutes
prisoners. OPSO will document this review and provide                                                                                                      Currently in compliance (1/17 - 3/17)
its conclusions to the Monitor.
                                                                                                                                                           Proposed Activities

                                                                                                                                                           On-going monitoring

                                                                                                                                                           Expected Date of Compliance:

                                                                                                                                                           Request Compliance


IV.B.8. Medical and Mental Health Staffing




                                                                                                                                                                                 18
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                           Section                              C         P           N                             Measures                                       OPSO Notes/Updates
IV.B.8.a. OPSO shall ensure that medical and mental                       ✔                                    Key Positions Vacant                        Responsible Party:
health staffing is sufficient to provide adequate care for                                                                                                 Walker/Parker/Arceneaux
prisoners’ serious medical and mental health needs, fulfill                                                        Vacancy Report
constitutional mandates and the terms of this Agreement,                                                                                                   Compliance Actions (10/16 – 12/16):
and allow for the adequate operation of the Facility,
consistent with constitutional standards.                                                                                                                  Psych NP - Hired 11/21/16

                                                                                                                                                           Proposed Activities (1/17 - 3/17)

                                                                                                                                                           Site Medical Director – Hired (start date
                                                                                                                                                           2/17)

                                                                                                                                                           Recruit hire MHP’s, MH Coordinator

                                                                                                                                                           Continue to recruit as vacancies become
                                                                                                                                                           available
                                                                                                                                                           Expected Date of Compliance:
                                                                                                                                                           3/31/17

IV.B.8.b. Within 90 days of the Effective Date, OPSO           ✔                                                     Attachment                            Responsible Party:
shall conduct a comprehensive staffing plan and/or                                                                                                         Walker/Parker/Arceneaux
analysis to determine the medical and mental health                                                                Vacancy Report
staffing levels necessary to provide adequate care for                                                                                                     Compliance Actions (10/16 – 12/16):
prisoners’ mental health needs and to carry out the
requirements of this Agreement. Upon completion of the                                                                                                     Psych NP - Hired 11/21/16
staffing plan and/or analysis, OPSO shall provide its
findings to the Monitor, SPLC, and DOJ for review. The                                                                                                     Proposed Activities (1/17 - 3/17)
Monitor, SPLC, and DOJ will have 60 days to raise any
objections and recommend revisions to the staffing plan                                                                                                    Site Medical Director – Hired (start date
                                                                                                                                                           2/17)

                                                                                                                                                           Recruit hire MHP’s, MH Coordinator

                                                                                                                                                           Continue to recruit as vacancies become
                                                                                                                                                           available
                                                                                                                                                           Expected Date of Compliance:
                                                                                                                                                           3/31/17

IV.B.9. Risk Management/Robert Greifinger
IV.B.9.a. OPSO shall develop, implement, and maintain a        ✔                                                     Attachment:                           Responsible Party: Arceneaux
system to ensure that trends and incidents involving
avoidable suicides and self-injurious behavior are                                                   Initial Behavioral Health Assessment Form             Compliance Actions (10/16 – 12/16):
identified and corrected in a timely manner. Within 90




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                            Section                             C          P          N                               Measures                                     OPSO Notes/Updates
days of the Effective Date, OPSO shall develop and                                                                                                         Currently in compliance
implement a risk management system that identifies
levels of risk for suicide and self-injurious behavior and                                                                                                 Proposed Activities (1/17 - 3/17)
requires intervention at the individual and system levels to
prevent or minimize harm to prisoners, based on the                                                                                                        Ongoing CQI
triggers and thresholds set forth in Appendix B.
                                                                                                                                                           Expected Date of Compliance:
                                                                                                                                                           Request Compliance
IV.B.9.b. The risk management system shall include the         ✔                                                     Attachment:                           Responsible Party: Arceneaux
following processes to supplement the mental health
screening and assessment processes: incident reporting,                                              Initial Behavioral Health Assessment Form             Compliance Actions (10/16 – 12/16):
data collection, and data aggregation to capture sufficient
information to formulate a reliable risk assessment at the                                                                                                 Currently in compliance
individual and system levels; identification of at-risk
prisoners in need of clinical treatment or assessment by                                                                                                   Proposed Activities (1/17 - 3/17)
the Interdisciplinary Team or the Mental Health
Committee; and development and implementation of                                                                                                           Ongoing CQI
interventions that minimize and prevent harm in response
to identified patterns and trends.                                                                                                                         Expected Date of Compliance:
                                                                                                                                                           Request Compliance

IV.B.9.c. OPSO shall develop and implement an                  ✔                                         Currently Implemented – Ongoing                   Responsible Party: Arceneaux
Interdisciplinary Team, which utilizes intake screening,
health assessment, and triggering event information for                                                                                                    Compliance Actions (10/16 – 12/16):
formulating treatment plans. The Interdisciplinary Team
shall:                                                                                                                                                     Currently in compliance
(1) include the Medical and Nursing directors, one or
      more members of the psychiatry staff, counseling                                                                                                     Proposed Activities (1/17 - 3/17)
      staff, social services staff, and security staff, and
      other members as clinical circumstances dictate;                                                                                                     Ongoing CQI
(2) conduct interdisciplinary treatment rounds, on a
      weekly basis, during which targeted patients are                                                                                                     Expected Date of Compliance:
      reviewed based upon screening and assessment                                                                                                         Request Compliance
      factors, as well as triggering events; and
(3) provide individualized treatment plans based, in part,
      on screening and assessment factors, to all mental
      health patients seen by various providers.
IV.B.9.d. OPSO shall develop and implement a Mental            ✔                                                     Attachment:                           Responsible Party: Arceneaux
Health Review Committee that will, on a monthly basis,
review mental health statistics including, but not limited                                                                                                 Compliance Actions (10/16 – 12/16):
to, risk management triggers and trends at both the                                                          MH MAC Meeting Minutes
individual and system levels. The Mental Health Review                                                                                                     Currently in compliance
Committee shall:




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                             Section                            C          P          N                               Measures                                     OPSO Notes/Updates
(1) include the Medical and Nursing Director, one or                                                                                                       Proposed Activities (1/17 - 3/17)
     more members of the psychiatry staff and social
     services staff, the Health Services Administrator, the                                                                                                Ongoing CQI
     Warden of the facility housing the Acute Psychiatric
     Unit, and the Risk Manager.                                                                                                                           Expected Date of Compliance:
(2) identify at-risk patients in need of mental health case                                                                                                Request Compliance
     management who may require intervention from and
     referral to the Interdisciplinary Team, the OPSO
     administration, or other providers.
(3) conduct department-wide analyses and validation of
     both the mental health and self-harm screening and
     assessment processes and tools, review the quality of
     screenings and assessments and the timeliness and
     appropriateness of care provided, and make
     recommendations on changes and corrective actions;
(4) analyze individual and aggregate mental health data
     and identify trends and triggers that indicate risk of
     harm;
(5) review data on mental health appointments,
     including the number of appointments and wait times
     before care is received; and
(6) review policies, training, and staffing and
     recommend changes, supplemental training, or
     corrective actions.
IV.B.9.e. OPSO shall develop and implement a Quality           ✔                                         Currently Implemented – Ongoing                   Responsible Party: Walker
Improvement and Morbidity and Mortality Review
Committee that will review, on at least a quarterly basis,                                                                                                 Compliance Actions (10/16 – 12/16):
risk management triggers and trends and quality
improvement reports in order to improve care on a Jail-                                                                                                    Currently in compliance
wide basis.
(1)         The Quality Improvement Committee shall                                                                                                        Proposed Activities (1/17 - 3/17)
            include the Medical Director, the Director of
            Psychiatry, the Chief Deputy, the Risk                                                                                                         Ongoing Training
            Manager, and the Director of Training. The
            Quality Improvement Committee shall review                                                                                                     Expected Date of Compliance:
            and analyze activities and conclusions of the
            Mental Health Review Committee and pursue                                                                                                      Request Compliance
            Jail-wide corrective actions.
(2)         The Quality Improvement Committee shall:
         i.      monitor all risk management activities of
                 the facilities through the review of risk
                 data, identification of individual and
                 systemic trends, and recommendation and
                 monitored implementation of investigation



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                          Section                               C          P          N                               Measures                                       OPSO Notes/Updates
               or corrective action; and
        ii.    generate reports of risk data analyzed and
               corrective actions taken.
IV.B.9.f. OPSO shall review mortality and morbidity            ✔                                         Currently Implemented – Ongoing                   Responsible Party: Walker
reports quarterly to determine whether the risk
management system is ensuring compliance with the                                                                                                          Compliance Actions (10/16 – 12/16):
terms of this Agreement. OPSO shall make
recommendations regarding the risk management system                                                                                                       Currently in compliance
or other necessary changes in policy based on this review.
The review and recommendations will be documented                                                                                                          Proposed Activities (1/17 - 3/17)
and provided to the Monitor.
                                                                                                                                                           Ongoing

                                                                                                                                                           Expected Date of Compliance:

                                                                                                                                                           Request Compliance

IV.C. Medical Care OPSO shall ensure constitutionally adequate treatment of prisoners’ medical needs. OPSO shall prevent unnecessary risks to
prisoners and ensure proper medication administration practices. OPSO shall assess on an annual or more frequent basis whether the medical services
at OPP comply with the Constitution. At a minimum, OPSO shall:
IV.C.1. Quality Management and Medication Administration
IV.C.1.a. Within 120 days of the Effective Date, ensure        ✔                                      Currently Implemented – Ongoing                      Responsible Party: Parker
that medical and mental health staff are trained on proper
medication administration practices, including                                                                                                             Compliance Actions (10/16 – 12/16):
appropriately labeling containers and contemporaneously                                                  Medication Training Modules
recording medication administration;                                                                                                                       Currently in compliance

                                                                                                                                                           Proposed Activities (1/17 - 3/17)

                                                                                                                                                           Ongoing Training

                                                                                                                                                           Expected Date of Compliance:

                                                                                                                                                           Request Compliance

IV.C.1.b. Ensure that physicians provide a systematic          ✔                                         Currently Implemented – Ongoing                   Responsible Party: Parker/Penn
review of the use of medication to ensure that each
prisoner’s prescribed regimen continues to be appropriate                                                                                                  Compliance Actions (10/16 – 12/16):
and effective for his or her condition;
                                                                                                                                                           Currently in compliance

                                                                                                                                                           Proposed Activities (1/17 - 3/17)




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                          Section                                C          P          N                               Measures                                      OPSO Notes/Updates
                                                                                                                                                            On-going Provider documentation on
                                                                                                                                                            the acute care provider visit sheet

                                                                                                                                                            Monitoring per CQI screens

                                                                                                                                                            Expected Date of Compliance:

                                                                                                                                                            Request Compliance

IV.C.1.c. Maintain medication administration protocols          ✔                                         Currently Implemented – Ongoing                   Responsible Party: Parker
that provide adequate direction on how to take
medications, describe the names of the medications, how                                                                                                     Compliance Actions (10/16 – 12/16):
frequently to take medications, and identify how prisoners
taking such medications are monitored; and                                                                                                                  Currently in compliance

                                                                                                                                                            Proposed Activities (1/17 - 3/17)

                                                                                                                                                            On-going education on documentation;
                                                                                                                                                            MAR Review, and Adherence to meds

                                                                                                                                                            Expected Date of Compliance:

                                                                                                                                                            Request Compliance
IV.C.1.d. Maintain medication administration protocols          ✔                                                     Attachment:                           Responsible Party: Parker
that prevent misuse, overdose, theft, or violence related to
medication.                                                                                                                                                 Compliance Actions (10/16 – 12/16):
                                                                                                             Medication Training Modules
                                                                                                                                                            Currently in compliance

                                                                                                                                                            Proposed Activities (1/17 - 3/17)

                                                                                                                                                            On-going education on documentation;
                                                                                                                                                            MAR Review, and Adherence to meds

                                                                                                                                                            Expected Date of Compliance:

                                                                                                                                                            Request Compliance
IV.C.2. Health Care Delivered
IV.C.2.a. Provide the Monitor a periodic report on health       ✔                                         Currently Implemented – Ongoing                   Responsible Party: Parker
care at the Facility. These periodic reports shall be
provided to the Monitor within four months of the                                                                 Monthly Route Log                         Compliance Actions (10/16 – 12/16):
Effective Date; and every six months thereafter until
termination of this Agreement. Each report will include:                                                                                                    Currently in compliance




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                         Section                                C          P          N                               Measures                                       OPSO Notes/Updates
(1) number of prisoners transferred to the emergency
     room for medical treatment related to medication                                                                                                      Proposed Activities (1/17 - 3/17)
     errors;
(2) number of prisoners taken to the infirmary for non-                                                                                                    Continue to track monthly and analyze
     emergency treatment related to medication errors;
(3) number of prisoners prescribed psychotropic                                                                                                            Expected Date of Compliance:
     medications;
(4) number of prisoners prescribed “keep on person”                                                                                                        Request Compliance
     medications; and
(5) occurrences of medication variances.
IV.C.2.b. Review the periodic health care delivery reports                ✔                              Currently Implemented – Ongoing                   Responsible Party: Walker
to determine whether the medication administration
protocols and requirements of this Agreement are                                                                OPSO POST ORDER                            Compliance Actions (10/16 – 12/16):
followed. OPSO shall make recommendations regarding
the medication administration process, or other necessary                                                                                                  OPSO Documentation – POST Orders
changes in policy, based on this review. The review and
recommendations will be documented and provided to the                                                                                                     Proposed Activities (1/17 - 3/17)
Monitor.
                                                                                                                                                           Ongoing monitoring and tracking

                                                                                                                                                           Expected Date of Compliance:

                                                                                                                                                           3/31/17
IV.C.3. Release and Transfer
IV.C.3.a. OPSO shall notify Qualified Medical or Mental        ✔                                                     Attachment:                           Responsible Party: Parker/Arceneaux
Health staff regarding the release of prisoners with serious
medical and/or mental health needs from OPSO custody,                                                                AS 400 Tag                            Compliance Actions (10/16 – 12/16):
as soon as such information is available.
                                                                                                                                                           Currently in compliance

                                                                                                                                                           Proposed Activities (1/17 - 3/17)

                                                                                                                                                           Continue to track monthly and analyze

                                                                                                                                                           Ongoing CQI

                                                                                                                                                           Expected Date of Compliance:
                                                                                                                                                           Request compliance
IV.C.3.b. When Qualified Medical or Mental Health staff        ✔                                                     Attachment:                           Responsible Party: Parker/Arceneaux
are notified of the release of prisoners with serious
medical and/or mental health needs from OPSO custody,                                                               AS 400 Tag                             Compliance Actions (10/16 – 12/16):
OPSO shall provide these prisoners with at least a seven-                                                        Release Med Police
day supply of appropriate prescription medication, unless                                                        Release Med Form                          Currently in compliance




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                           Section                              C          P          N                              Measures                                      OPSO Notes/Updates
a different amount is necessary and medically appropriate                                                          Release Med IP
to serve as a bridge until prisoners can reasonably arrange                                                                                                Proposed Activities (1/17 - 3/17)
for continuity of care in the community.
                                                                                                                                                           Continue to track monthly and analyze

                                                                                                                                                           Ongoing CQI

                                                                                                                                                           Expected Date of Compliance:
                                                                                                                                                           Request compliance
IV.C.3.c. For all other prisoners with serious medical         ✔                                                     Attachment:                           Responsible Party: Parker/Arceneaux
and/or mental health needs who are released from OPSO
custody without advance notice, OPSO shall provide the                                                              AS 400 Tag                             Compliance Actions (10/16 – 12/16):
prisoner a prescription for his or her medications, printed                                                      Release Med Police
instructions regarding prescription medications, and                                                             Release Med Form                          Currently in compliance
resources indicating where prescriptions may be filled in                                                         Release Med IP
the community.                                                                                                                                             Proposed Activities (1/17 - 3/17)

                                                                                                                                                           Continue to track monthly and analyze

                                                                                                                                                           Ongoing CQI

                                                                                                                                                           Expected Date of Compliance:
                                                                                                                                                           Request compliance
IV.C.3.d. For prisoners who are being transferred to           ✔                                         Currently Implemented – Ongoing                   Responsible Party: Walker/Parker
another facility, OPSO shall prepare and send with a
transferring prisoner, a transition summary detailing                                                                                                      Compliance Actions (10/16 – 12/16):
major health problems and listing current medications and                                     Out of Parish: Attach Criteria and form (Transfer form)
dosages, as well as medication history while at the                                                                                                        Currently in compliance
Facility. OPSO shall also supply sufficient medication for
the period of transit for prisoners who are being                                                                                                          Proposed Activities (1/17 - 3/17)
transferred to another correctional facility or other
institution, in the amount required by the receiving                                                                                                       Ongoing process
agency.
                                                                                                                                                           Expected Date of Compliance:
                                                                                                                                                           Request compliance
IV. D. 1.h. Maintain an infection control plan that                       ✔                   1.   Written policy and procedures for an infection          Responsible Party: Penn/Parker/Green
addresses contact, blood borne, and airborne hazards and                                           control plan and policy following Center for
infections. The plan shall include provisions for the                                              Disease Control’s recommendations.                      Compliance Actions (10/16 – 12/16):
identification, treatment, and control of Methicillin-                                        2.   Lesson plans/curriculum - evidence of training of
Resistant Staphylococcus Aureus (“MRSA”) at the                                                    all officers, staff and inmates responsible for         CCS provided Inmate Training on
Facility.                                                                                          cleaning and disinfecting all medical and dental        Infection Control
                                                                                                   areas within OPSO.
                                                                                              3.   Demonstration of knowledge of the policy and            OPSO Sanitarium attending CCS




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  Section                                C          P          N                              Measures                                      OPSO Notes/Updates
                                                                            plan.                                                   CQI/Infection Control monthly
                                                                       4.   Observation                                             meetings
                                                                       5.   Inmate interview, inmate grievances.
                                                                                                                                    Proposed Activities (1/17 - 3/17)

                                                                                                                                    Continue to provide Training as new
                                                                                                                                    inmate workers are identified

                                                                                                                                    Expected Date of Compliance:

                                                                                                                                    3/31/17




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